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Attorneys for Defendants
UNITED STATES DISTRICT COURT ,

CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

PUBLIC'EMPLOYEES_’ , -_...M n W\,Vv CASE NO.:
LGCAL NO. ’25 PENSION FUND, A @V l 1"" 1 55 811 R"[ …Liz><)
WYOMING STATE TREASURER, ' " " "

LOS ANGELES CCUNTY Action is ending in another district:

EMPLOYEES RETIREMENT Southern istrict of New York
ASSOCIATION, CONNECTICUT

 

 

 

 

 

 

CARPENTERS PENSION FUND, & CASE NO.: 08 Civ.`10841 (JSR)
CONNECTICUT CARPENTERS
ANNUITY FUND,

_ _ ' DEFENDANTS’ NOTICE OF

Plalntiffs, MOTION AND MOTION TO v
- ENFORCE SUBPOENA AGAINST
v. NON-PARTY DEPONENT PACIFIC

` INVESTMENT MANAGEMENT

l\/fERRlLL LYNCH & CO., INC., COMPANY, LLC

MERRILL LYNCH MORTGAGE
INVESTORS, INC., 1\/[ERRILL
LYNCH P[ERCE FENNER & SMITH Judge: ’1’\} C \< € \/

INCORPQRATED, MATTHEW Courcroom: 10 A ®[
WHALEN, PAUL PARK, BRIAN T. Hearing Dare; ,\) o\) @M~B@“- 11 id l
SULLIVAN, MICHAEL M. Hearing Time: (/G 100 A_M _

MCGOVERN, DONALD J. PUGLISI,
& DONALD C. HAN,

Defendants,
V.

PACIFIC INVESTMENT
MANAGEl\/[ENT COl\/IPANY, LLC,

V.

Non-Party Deponent.

 

 

NOTICE OF MOTION AND MOTION TO ENFORCE SUBPOENA

 

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_ TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL
PARTIES, AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Defendants Merrill Lynch & Co., Inc., Merrill
Lynch Mortgage Investors, Inc., Merrill Lynch Pierce Fenner & Smith Incorporated, .
MattheW Whalen, Paul Park, Brian T. Sullivan, Michael M. McGovern? Donald J.
Puglisi, and Donald C. Han, by and through undersigned counsel and upon the
accompanying motion, Will move this Court, before a Judge to be assigned, on a
hearing date and time to be set by the Court, to enforce a subpoena against non-party
deponent Paciflc Asset Management Company, LLC.

DATED: October 12, 2011
Respectfully submitted, ~

SKADDE&ATE, WAGIDR & FLOM LLP
By: M--¢Q_/? 4

ThomasDJd{Nolan "

Atto_rneys for Defendants errill Lynch & C_o., Inc.,
Merrill Lynch Mortgage InVestors, Inc., Merrill Lynch
Plerce Fenner & Smrth Incorporated, Matthew Whalen,

Paul Park, Br1an T. Suili_Van, Michael M. McGovern,

Donald J. Pug11s1, and Donald C. Han

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Pursuant to Federal Rules of Civil Procedure 37(a)(2) and 45(0)(2)(B)(i) and
Local Rules 37 and 45, Defendants Merrill Lynch & Co., Inc., Merrill Lynch
Mortgage Investors, Inc., Merrill Lynch Pierce Fenner & Smith Incorporated,
MattheW Whalen, Paul 'Park, Brian T. Sullivan, Michael M. McGovern, Donald Ji
Puglisi, and Donald C. Han (collectively, “Defendants”), by and through
undersigned counsel, move to compel compliance With a subpoena issued to non-
party deponent Pacifie Investment Management Company, LLC (“PIMCO”). In
support of this motion, Defendants state as follows: `

I. The Southern District Of New York Deferred To' T'his Court.

This miscellaneous case is brought to enforce a subpoena in the above-
captionedv action, Which is pending in the United States District Court for the »
Southern District of New York before the Honorable J ed S. Rakoff. '_l`his action Was
certified as a class action on June 16, 2011, and the fact discovery deadline is
currently October 31, 2011.

In this case, Plaintiffs assert claims against -Defendants under Sections 11,
12(a)(2) and 15 of the Securities Act of ~1933, on behalf of themselves and all
persons Who purchased or otherwise acquired mortgage pass-through certificates in
any one of eighteen Merrill Lynch Mortgage Investor, Inc. offerings. (_S_;c_e Am.
Class Action .C_ornpl., attached hereto as Exhibit A.) Plaintiffs allege that the
offering documents contained misrepresentations and omissions concerning the
quality of mortgage loans and the adequacy of collateral Within the loan pools. In
particular, ‘Plaintiffs allege that the companies that originated the underlying
mortgages, such as Countryvvide Home Loans, Inc. (“Countrywide”), Fremont
Investment & Loan, and Accredited Home Lenders, Inc., Were “systematically
disregarding” their underwriting standards. Defendants contend, among other things,
that Plaintiffs’ claims are barred by the statute of limitations because investors had or
should have With diligence discovered the alleged untrue statements more than a year

before the suit Was filed in the first quarter of 2009, due to, inter B, the availability

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of information regarding Countrywide’s underwriting practices in first quarter of
2008 and earlier. See, e.g., Stichting Pensioenfonds ABP v. Countrvwide Fin. Corp.,
- F. Supp. 2d -, No. lO-cv-07275 MRP (MANX), 2011 WL 3558173, at *8 & n.9
(C.D. cai. Aug. 9, 2011)(Pfaeizer,1.). ' '

Although PIMCO is nota party to the litigation, it acted as a money manager
and fiduciary to Plaintiff Wyoming State Treasurer (“Wyoming”), as well as other
absent class members. On March 3, 2011, Defendants caused to be issued from the
_United States District Court for the Southern District of New York a subpoena
commanding PIMCO to produce documents in the litigation (the "‘New York
Subpoena”). Defendants served the New York Subpoena on National Registered
Agents, PIMCO’s registered agent for service in New York.

On March 17, 2011, PIMCO objected to the New York Subpoena because,
i_nteij alia, it was issued out of the 'Southern District of New York rather than the
Central District of California, where the documents are located.

On March 31, 2011, in an abundance of caution, Defendants caused to be
issued from the United States District Court for the Central District of California a
nearly identical subpoena commanding non-party PIMCO to appear for a deposition
and produce documents in the litigation (the “California Subpoena,” and together
with the New York Subpoena, the “Subpoenas”). A true and correct copy of the
California Subpoena is attached to this motion as Exhibit B. _

PIMCO ultimately produced approximately 500 documents responsive to the
Subpoenas. However, PIMCO’s document production failed to respond to the
Subpoenas in many respects.' In particular and without limitation, PIMCO has not
produced a single internal communication or other document containing an analysis
or discussion of, or otherwise relating to, PIMCO’s investigation into the housing
market, despite ample evidence that such documents exist. See, e.g., THEFINANCIAL
CRIsIs INQUIRY CoMM’N REPoRT at 4 (Jan. 2011), available at

http://fcic.law.stanford.edu/report (“[PIMCO] sent out credit analysts to 20 cities to

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do . . ‘old-fashioned shoe-leather research,’ talking to real estate brokers,- mortgage
brokers, and local investors about the housing and mortgage markets. They
witnessed. . . ‘the outright degradation of underwriting standards. . . .”’ (quoting
Paul McCulley, a PIMCO managing director)). Documents of this sort are relevant
to critical issues and defenses at the very heart of the litigation - including but not
limited to Defendants’ asserted actual knowledge and statute of limitations defenses
- because PIMCO’s knowledge is imputable to Wyoming and other absent class
members who are PIMCO clients.

On both March 30, 2011, and July 11, 2011, Defendants advised PIMCO of
the deficiencies in its (production. Moreover, on multiple_occasions from March 30,
2011, to July 21, 2011, Defendants offered to discuss a reasonable search protocol
and accommodate PIMCO’s various concerns regarding the Subpoenas by narrowing .
the scope, including suggesting that PIMCO search for and produce only certain
“high-level” reports, limit its search for documents to personnel of PIMCO’s
mortgage-backed securities desk (or a subset thereof), and limit the timeframe of the
search. PIMCO has steadfastly refused to cooperate.

On July 29, 2011, Judge Rakoff held a telephonic hearing at which counsel for
Defendants and Pll\/ICO appeared. During the hearing, Judge Rakoff directed that
Defendants submit a letter brief in support of a motion to compel PIMCO’s
compliance with the New York Subpoena. Defendants submitted their letter brief on
August 4, 2011; PIMCO submitted its response on August 17, 2011; Defendants
submitted a reply on August 24, 2011; and, with permission of the court, PIMCO
submitted a surreply on September 8, 2011. k

On October 3, 2011, Judge Rakoff issued an Order denying Defendants’
motion to compel because the New York Subpoena “is duplicative” of the California
Subpoena. This denial Was “Without prejudice to [Defendants] pursuing their
subpoena in the Central District of California.” A true and correct copy of the

October 3, 2011 Order is attached to this motion as Exhibit C.

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Accordingly, the Southern District of New York_has deferred to this Court as
to the enforceability of the California Subpoena, and Defendants respectfully request
that the Court order PIMCO to comply with its terms. v
II. Defendants Request Waiver of Local Rule 37-2.

Because the parties have already fully briefed the relevant issues before Judge
Rakoff, Defendants respectfully request that Court waive the filing of 4 the joint
stipulation required by Central District Local Rule 37-2. In lieu of the joint
stipulation and in support of this motion, Defendants request that the Court allow
Defendants to file under seal, within one week of entry of Proposed Order A, filed
herewith, the complete set of confidential letter briefs submitted in the Southern
District of New York. Defendants further request that the Court allow each party to
file under seal, within one week of entry of Proposed Order A, a five-page
supplemental letter brief, in Which the parties may address any issues unique to the
California Subpoena.

Alternatively, Defendants request that the Court order the parties to jointly
submit the Local Rule 37-2 stipulation within one week of entry of Proposed Order
B, filed herewith. ' j

Defendants further request that the Court set this matter for hearing as soon as
practicable following the paities’ submissions
DATED: October 12, 2011

Respectiiilly submitted,

SKADDEN, l ATE, l\/IEAGI'IER & FLOM LLP
By: j M

’ ' Th’oma Nolar'i \
Attorneys for Defenda errill Lynch & Co., Inc.,

l\_/[errill Lynch Mortgage nvestors, Inc., Merrill Lynch
Pierce Fenner & Smith Incorporated, Matthew Whalen,
Paul Park, Brian T. Sulli_van, Michael M. McGovern,
Donald J. Pug11s1, and Donald C. Han

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EXHIBIT A

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PUBLIC EMPLOYEES’ RETIREMENT .
SYSTEM OF MISSISSIPPI, et al.,

Plaintiffs,
v.
MERRILL LYNCH & CO. INC., et al.,

Defendants.

 

 

Civil Action No. 08 CIV. 10841 (JSR)
ECF Case

AMENDED cLAss AcrIoN
coMPLAINT FoR vioLATIoN oF
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sECURITIEs ACT oF 1933

DEMAND FOR JURY TRIAL

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Plaintiffs, as defined below in paragraph 1, allege the following upon personal knowledge
as to themselves and their own acts and upon information-and belief as to all other matters.
Plaintiffs’ information'”'and belief are based on the investigation of their undersigned counsel, 7
which investigation continues. Many of the facts related to Plaintiffs’ allegations are vknown
only by the Defendants named herein, or are exclusively within their custody or control.
Plaintiffs believe that substantial additional evidentiary support for the allegations set forth
below will be developed after a reasonable opportunity for discovery.

I. sUl\/n\/IARY oF THE ACTIoN l '

1. Lead Plaintiff, the Public Employees’ Retirement System of Mississippi
(“MissPERS”), and Plaintiffs Iron Workers Local No. 25 Pension Fund (“Iron Workers”), the
Wyoming State Treasurer (“Wyoming”), the Los Angeles County Employees Retirement
Association (“LACERA”), and the Connecticut Carpenters Pension Fund and Connecticut
Carpenters Annuity Fund (“Connecticut Carpenters”) (collectively, “Plaintiffs”) bring this class
action on behalf of themselves and all persons or entities who purchased or otherwise acquired
mortgage pass-through certificates (“Certificates”) in any of the nineteen (19) offerings
identified below in 1[1137-39 pursuant or traceable to Merrill Lynch Mortgage Investors, Inc.’s
Registration Statements.l

2. v By this action, Plaintiffs seek redress pursuant to. the Securities Act of 1933 (the
“Securities Act”) against Defendants Merrill Lynch & Co., Inc. (“Merrill Lynch”), Merrill
Lynch Mortgage Investors, Inc. (the “Merrill Depositor”), Merrill Lynch, Pierce, Fenner &
Smith Incorporated (“Merrill Lynch PFS”), J.P. Morgan Securities, Inc. (“J.P. Morga_n”), ABN

 

1 “Registration Statements” refers'collectively to the 'February 2, 2007 Registration Statement, as
amended (“March Registration Statement”), December 21, 2005 Registration Statement, as
amended (“December Registration Statemen ”), and August 5, 2005 Registration Statement, as
amended (“August Registration Statement”).. The Registration Statements, Prospectuses and
each of the respective Prospectus Supplements are collectively referred to herein as the “Offering
Documents.”

Exhibit A
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AMRO, Incorporated (“ABN AMRO”) and Matthew Whalen, Paul Park, Brian T. Sullivan,
Michael M. McGovern, Donald J. Puglisi and Donald C. Han (the “Individual Defendants”).
3. ' Plaintiffs assert claims for violations of Sections 11, 12(a)(2) and 15 of the
. Securities Act, 15 U.S.C. §§ 77k, 77l(a)(2) and 770. Accordingly, this action involves solely `
strict liability and negligence claims brought pursuant to the Securities Act. Plaintiffs
specifically disclaim any allegations of fraud on the part of any Defendant.

4. This action arises from Defendants’ sale of asset-backed pass-through
certificates (or, as commonly referred, mortgage pass-through certificates). Asset-backed pass-
through certificates are securities entitling the holder to income payments from pools of loans
and/or asset-backed or mortgage-backed securities (“ABS” or “MBS,” respectively).
Fundamentally, the value for pass-through certificates depends on the ability of borrowers to
repay the principal and interest on the underlying loans and the adequacy of the collateral in the
event of default. As alleged below, however, the Offering Documents contained untrue
statements and omissions concerning the quality of loans and the adequacy of collateral within
the loan pools.

5. The Certificates were supported by pools of mortgage loans that the Merrill
Depositor acquired from Merrill Lynch Mortgage Lending, Inc. (the “Merrill Sponsor”), First
Franklin Financial Corporation (“First Franklin”) and Credit-Based Asset Serv'icing and
Securitization LLC (“C-BASS”). The Merrill Sponsor, First Franklin and C-BASS originated
and/or purchased the mortgage loans from various mortgage originators, including, among
others, Countrywide Home Loans, Inc. (“Countrywide”), American Home Mortgage Corp.
(“American Home Mortgage”), Ownit Mortgage Solutions, Inc. (“Ownit”), New Century
Mortgage Corporation (“New Century”), IndyMac Bank, F.S.B. (“IndyMac”), WMC Mortgage
Corporation (“WMC”), ResMAE Mortgage Corporation (“ResMAE”) and Fremont Investment
& Loan (“Fremont”).

6. Moody’s, a division of Moody’s Corp., and McGraw-Hill Companies, through

its division, Standard & Poor’s (“S&P”) (the-“Rating Agencies”), provided ratings for the

Exhibif A
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Certificates. Ratings are supposed to reflect the risk associated with investment alternatives
Here, the Offering Documents included these ratings, which determined, in part, the price at
which these Certificates were offered to Plaintiffs and the Class. Moody’s highest investment
rating is “Aaa.” S&P’s highest rating is “AAA.” These ratings signify the highest investment-
grade, and are considered to be of the “best quality,” and carry the smallest degree of
investment risk. Ratings of “AA,” “A,” and “BBB” represent high credit quality, upper-
medium credit quality and medium credit quality, respectively. These ratings are considered
“investment-grade ratings.” Any instrument rated lower than BBB is considered below
investment-grade Moody’s and S&P originally assigned investment-grade ratings on most
tranches of the Certificates. As alleged below, however, the Offering Documents
misrepresented the quality of the loans in the loan pools and included ratings that were
unjustifiably high.

7. The Offering Documents contained untrue statements of material fact, or omitted
to state material facts necessary to make the statements therein not misleading, regarding: (l)
the underwriting standards purportedly used in connection with the origination of the underlying
mortgages; (2) the maximum loan-to-value ratios used to qualify borrowers; (3) the appraisals
of the properties underlying the mortgages; (4) the debt-to-income ratios permitted on the loans;
and (5) the ratings of the Certificates.

8. The true facts which were omitted f`rom the Offering Documents were:

¢ The loan originators, including First Franklin, Countrywide, Ownit, American
Home Mortgage, New Century, IndyMac, WMC, ResMAE, and Fremont had not
followed their stated underwriting standards when issuing loans to borrowers;

¢ The Merrill Sponsor, C-BASS and First Franklin failed to follow their loan
purchasing guidelines when acquiring many of the underlying mortgage loans;

0 The underlying mortgages were based on collateral appraisals that overstated the
value of the underlying properties; and

0 The ratings stated in the Prospectus Supplements were based on outdated
assumptions, relaxed ratings criteria, and inaccurate loan information

Exhibif A
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9. As a result of these untrue statements and omissions in the Offering Documents,
Plaintiffs and the Class purchased Certificates that were far riskier than represented and that
were not of the “best quality,” or even “medium credit quality” and were not equivalent to other
investments with the same credit ratings Contrary to representations in the Offering
Documents, the Certificates exposed purchasers to increased risk with respect to absolute cash
flow and the timing of payments The Rating Agencies have now downgraded nearly all of the
Certificates. Virtually all of the Certificates represented to be investment-grade instruments in
the Offering Documents have been downgraded to below investment-grade instruments The
Certificates, therefore, are no longer marketable near the prices paid by Plaintiffs and the Class.
II. JURISDICTION AND VENUE

10. The claims asserted herein arise under and pursuant to Sections 11, 12(a)(2), and
15 of the Securities Act, 15 U.`S.C. §§ 77k, 77l(a)(2) and 770. This Court has jurisdiction over
the subject matter of this action pursuant to Section 22 of then Securities Act, 15 U.S.C. § 77v
and 28 U.s.c. § 1331.

11. Venue is proper in this District pursuant to Section 22 of the Securities Act and
28 U.S.C. § 1'391(b) and (c). Many of the acts and conduct complained of herein occurred in
substantial part in this District, including the dissemination of the materially false and
misleading statements complained of herein. In addition, Defendants conduct business in this
District.

12. In connection with the acts and conduct alleged herein, Defendants, directly or
indirectly, used the means and instrumentalities of interstate commerce, including the mails and
telephonic communications
III. THE PARTIES

A. Lead Plaintiff

13. Lead Plaintiff the Public Employees’ Retirement System of Mississippi
(“MissPERS”) is a governmental defined benefit pension plan qualified under Section 401(a) of

the Internal Revenue Code, and is the retirement system for nearly all non-federal public

Exh`ibit A
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employees in the State of Mississippi. Established by the Mississippi Legislature in 1952,
MissPERS provides benefits to over 75,000 retirees and future benefits to more than 250,000
current and former public employees MissPERS acquired Certificates pursuant and/or
traceable to the Offering Documents. MissPERS purchased Series 2007-A Mortgage Pass-
Through Certificates issued by the Merrill Lynch First Franklin Mortgage Loan Trust, Series
MLCC 2006-2, and 2006-Al Mortgage Pass-Through Certificates issued by the Merrill Lynch
Mortgage Investors Trust, as well as Series 2007 -Fl Mortgage Pass-Through Certificates issued
by the Merrill Lynch Alternative Note Asset Trust, as reflected in the certification attached to
the Consolidated Complaint filed on May 20, 2009. On April 23, 2009, the Court appointed
MissPERS as Lead Plaintiff

B. Additional`Named Plaintiffs

14. Plaintiff Iron Workers Local No. 25 Pension Fund (“Iron Workers”)_ is a Taft-
Hartley pension fund. Iron Workers has approximately 4,000 participants and $622 million in
assets Iron Workers acquired Certificates pursuant to the Offering Documents. Iron Workers
purchased Mortgage Pass-Through Certificates issued by the C-BASS 2007-CB4 Trust, as
reflected in the certification attached to the Consolidated Complaint filed on May 20, 2009.

15. Plaintiff Wyoming State Treasurer (“Wyoming”) manages and invests all funds
of the State of Wyoming (with the exception of the State Retirement Fund). Wyoming currently
manages over v1310 billion in non-pension funds Wyoming acquired Certificates pursuant
and/or traceable to the Offering Documents. Wyoming purchased Series 2006-WMC1, 2006-
Al, 2006-WMC2, 2006-AHL1, 2006-MLN1, 2006-RM3, 2006-FM1, and 2006-RM5
Certificates issued by Merrill Lynch Mortgage Investors Trust, as well as Series 2007-2,
_2007-3, and 2007-4 Certificates issued by Merrill Lynch First Franklin Mortgage Loan Trust, as
reflected in the certification attached to the Consolidated Complaint filed on May 20, 2009.

16, Plaintiff Los Angeles County Employees Retirement Association (“LACERA”)
administers defined retirement plan benefits for the employees of Los Angeles County and

participating agencies As of June 30, 2008, LACERA had 158,000 members, including more

~ Exhibit A
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than 52,000 benefit recipients and maintained over $38 billion in net assets LACERA acquired
Certificates pursuant and/or traceable to the Offering Documents. LACERA purchased Series
2006-WMC2, 2006-A1, and 2006-FF1 Certificates issued by Merrill Lynch Mortgage Investors
Trust, as well as Series 2007-A3 and'2007-AF1 Certificates issued by Merrill Lynch Alternative
Note Asset Trust, as reflected in the certification attached to the Consolidated Complaint filed
on May 20, 2009.

17 . Plaintiffs Connecticut Carpenters Pension Fund and Connecticut Carpenters
Annuity Fund (“Connecticut Carpenters”) are Taft-Hartley pension fund systems Connecticut
Carpenters acquired Certificates pursuant to the Offering Documents. Connecticut Carpenters
purchased Series 2006-2 Certificates issued by Ownit Mortgage Loan Trust,.as reflected in the
certification attached to the Consolidated Complaint filed on May 20, 2009.

18. Plaintiff`s purchased the following Certificates in the below Offerings directly
from Defendant Merrill Lynch PFS:

Pro. Supp. Purchase Purchased

Date Plaintiff Date From

3/28/07 MissPERS 3/29/07 Merrill Lynch PFS

 

Merrill Lynch Alternative Note
Asset Trust, Series 2007-F1

Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-A
¥r:;:us];r>;::g§§§‘_t§:ge Investors 3/29/06 MissPERS 3/9/06 Merrill Lynch PFS
Merrill Lynch Mortgage Investors
Trust, Series 2006-FF1

Merrill Lynch Alternative Note
Asset Trust, Series 2007-A3
Merrill Lynch Mortgage Investors

 

9/7/07 MissPERS 8/30/07 Merrill Lynch PFS

 

 

12/22/06 LACERA 12/14/06 Merrill Lynch PFS

 

4/30/07 LACERA l 4/20/07` Merrill Lynch PFS

 

 

Trust, Series 2006_RM5 10/27/06 Wyomlng 10/19/06 Merrill Lynch PFS
Merrill Lynch Mortgage Investors ’ . . .
Trust, Series 2006_AHL1 6/29/06 Wyoming 6/16/06 Merrill Lynch PFS

 

_¥:l;:llls:§::l;g§;‘;g§gle Investors 6/29/067 Wyoming 6/23/06 Merrill Lynch PFS
Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-2
Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-3
Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-4

 

4/27/07 Wyoming 4/16/07 Merrill Lynch PFS

 

5/3 0/07 Wyoming 5/23/07 Merrill Lynch PFS

 

 

 

 

 

 

 

 

‘ 6/26/07 Wyoming 6/18/07 Merrill Lynch.PFS

Exhibif A
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Pro. Supp.

Purchase Purchased

 
   

Trust Plaintiff

 

 

 

 

 

 

 

7 7 77 7 Date Date From
c-BAss 2007-034 Trust 4/26/07 er°n 4/23/07 7 Merrill Lynch PFS

orkers v
Ownit Mortgage Loan Trust, Series 3/9/06 Connect1cut 3/1/06 Merrill Lynch PFS
2006-2 Carpenters _

 

C. Defendants

19. Defendant Merrill Lynch & Co., Inc. (defined above as “Merrill Lynch”) is a
Delaware Corporation with its principal executive office located at 250 Vesey Street, 4 World
Financial Center, New York, New York, Merrill Lynch is a holding company which, through
its subsidiaries purports to l be a leading global trader and underwriter of securities and
derivatives across a broad range of asset classes and serves as a strategic advisor to
corporations governments institutions and individuals worldwide. On January 1, 2009, Merrill
Lynch became a wholly-owned subsidiary of Bank of America Corporation.

20, Defendant Merrill Lynch Mortgage Investors Inc. (defined above as the “Merrill
Depositor”) is a Delaware corporation and a limited purpose, indirect wholly-owned subsidiary
`of Merrill Lynch, with its principal place of business at 250 Vesey Street, 4 World Financial
Center, New York, New York. The Merrill Depositor is an affiliate of the Merrill Sponsor, First
Franklin and Merrill Lynch PFS, The Merrill Depositor served in the role as “Depositor” in the
securitization of the Issuing Trusts and was an “lssuer” of the Certificates within the meaning
of Section 2(a)(4) of the Securities Act, 15 U.S.C. § 77b(a)(4).

21. Defendant'Merrill Lynch, Pierce, Fenner & Smith Incorporated (defined above
as “Merrill Lynch PFS”) is a Delaware corporation with its principal place of business located
at 250 Vesey Street, 4 World Financial Center, New York, New York. Merrill Lynch PFS is an
affiliate of the Merrill Sponsor, First Franklin and the Merrill Depositor. Merrill Lynch PFS
acted as an “Underwriter” of the Certificates within the meaning of the Securities Act, 15
U.S.C. §77b(a)(1l). As an underwriter, Merrill Lynch PFS participated in the drafting and

7 dissemination of the Prospectus Supplements pursuant to which the Certificates were sold to

Exhlbit A
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Plaintiffs and other Class members Merrill Lynch PFS acted as an underwriter for each of the l
offerings at issue in this action.

22. Defendant J.P. Morgan Securities 'Inc. (defined above as “J.P. Morgan”) was
one of the underwriters for the C-BASS 2007-CB4 Trust, J.P. Morgan drafted and disseminated
the Offering Documents for the offering of Certificates in the 2007-CB4 Trust and acted as an
“Underwriter” of the Certificates within the meaning of the Securities Act, 15 U.S.C.
§ 77b(a)(1l). 7 7

23. Defendant ABN AMRO Incorporated (defined above as “ABN AMRO”) was
one of the underwriters for the C-BASS 2007-CB4 Trust, ABN AMRO drafted and
disseminated the Offering Documents for the offering of Certificates by the 2007-CB4 Trust
and acted as an “Underwriter” of the Certificates within the meaning of the Securities Act, 15
U.S.C. § 77b(a)(1 l). 7

24. Defendants Merrill Lynch PFS, J.P. Morgan, and ABN' AMRO are collectively
referred to herein as the “Underwriter Defendants.”

25. Defendant Matthew Whalen (“Whalen”) was at relevant times President and
Chairman of the Board of Directors of the Merrill Depositor. Defendant Whalen signed the
December and August Registration Statements.

26. Defendant Paul Park (“Park”) was at relevant times the President and Chairman
of the Board of Directors of the Merrill Depositor. While serving as President and Chairman of
the Merrill Depositor, defendant Park was concurrently a managing partner of defendant Merrill
Lynch. Defendant Park signed the March Registration Statement,

27. Defendant Brian T. Sullivan (“Sullivan”) was at relevant times the Vice
President, Treasurer (Principal Financial Officer) and Controller of the Merrill Depositor.
Defendant Sullivan signed the Registration Statements. l v

28. Defendant Michael M. McGovern (“McGovern”) was at relevant times a

Director of the Merrill Depositor. Defendant McGovern signed the Registration Statements.

Exhibit A
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While serving as a Director of the Merrill Depositor, defendant McGovern was concurrently a
Director and Senior Counse`l of defendant Merrill Lynch,

29. Defendant Donald J. Puglisi (“Puglisi”) was at relevant times a Director of the
Merrill Depositor. Defendant Puglisi signed the Registration Statements.

30. Defendant Donald C. Han (“Han”) was at relevant times the Treasurer of the
Merrill Depositor. Defendant Han signed the August Registration Statement._

31. Defendants Whalen, Park, Sullivan, McGovern, Puglisi, and Han are collectively
referred to herein as the “Individual Defendants.”

IV. FACTUAL BACKGROUND

A. The Mechanics Of Structuring Asset-Backed Pass-Through Certificates

32. Asset-backed pass-through certificates (or mortgage pass-through certificates as
they are more commonly referred) are securities in which the holder’s interest represents an
equity interest in the “issuing trust.” The pass-through certificates entitle the holder to income
payments from pools of mortgage loans and/or MBS. Although the structure and underlying
collateral of the mortgages and MBS vary, the basic principle is the same.

33. Wall Street banks including Merrill Lynch, entered into the complex, high-
margin business of packaging mortgages and selling them to investors as MBS, including
mortgage pass-through certificates To derive profits from the securitization business Wall
Street Banks including Merrill Lynch, created and controlled special-purpose entities (“SPEs;’),
wholly-owned subsidiaries that purchased residential mortgage loans for securitization and sale
to investors

34. First, Wall Street Banks create a “depositor” that acquires an inventory of loans
from a “sponsor”/“seller,” who either originated the loans or acquired the loans from other loan
originators in exchange for cash. The type of loans in the inventory may vary, including
conventional, fixed or adjustable rate mortgage loans (or mortgage participations), secured by

first liens junior liens or a combination of first and junior liens with various lifetimes to

EXhibit A
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maturity. The depositor then transfers or deposits the acquired pool of loans to the issuing
trust.

35. The depositor then securitizes the pool of loans so that the rights to the cash-
flows from the inventory can be sold to investors The securitization transactions are structured
such that the risk of loss is divided among different levels of investment, or “tranches.”
Tranches are related MBS offered as part of the same pass-through certificate offering, each
with a different level of risk and reward. Any losses to the underlying loans due to default,
delinquency or otherwise, are applied in reverse order of seniority. As such, the most senior
tranches of pass-through certificates are often rated as the best quality, or “AAA.” Junior
tranches, which usually obtain lower ratings ranging from “AA” to “BBB-,” are less insulated
from risk, but offer greater potential returns

36. By working together, the underwriters the depositor, and the rating agencies are
able to ensure that each particular mortgage pass-through certificate tranche will receive a pre-
determined credit rating at the time of offering. Once the tranches are established, the issuing
trust passes the certificates back to the depositor, who then passes the certificates to one or more
underwriters The underwriters offer the various certificates to investors in exchange for cash

that will be passed back to the depositor, minus any fees owed to the underwriters

 

 

 

 

 

 

 

 

Sponsor O_ffered Underwriter
Cemficates
Mortgage Loans l 1 Cash
Cash Offered

Deposi‘or Certificates Casli

 

Mortgage Lonns l T Certificates

 

 

Issuing Entify

/ Tmst Investors

 

 

 

 

 

 

 

 

 

37. Each purchased or acquired certificate represents an equity interest in the issuing
trust and the right to future payments of principal and interest on the underlying loans Those
payments are collected by the loan servicer and distributed, through the issuing trust, to

investors at regular distribution intervals throughout the life of the loans Mortgage pass-

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Exhibit A
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through certificates must be offered to the public pursuant to a registration statement and
prospectus in accordance with the provisions of the Securities Act.

-38. With respect to the March Registration Statement, the following-chart identifies
the following: (1) each Issuing Trust; (2) the stated value of the Certificates issued; and (3) the

Prospectus Supplement dates pursuant to which the Certificates were issued and sold.

 

 

 

 

 

 

 

 

 

 

 

. Approximate SEC Filing Date of
Issuing Tr“st Amount ($$$) Prospectus Supplement

Merrill Lynch Altemative Note Asset Trust,
Series 2007-A3 483,874,100 7 4/30/2007
Merrill Lynch Alternative Note Asset Trust,
Series 2007-AF1 680,620,637 6/1/2007
Merrill Lynch First Franklin Mortgage Loan
Trust, Series 200.7-2 1,937,062, 100 4/27/2007
Merrill Lynch First Franklin Mortgage Loan j
Trust, Series 2007-3 1,835,617,100 ' 5/30/2007

` Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-4 1,547,200,100 6/26/2007
Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-A 219,636,100 9/7/2007

 

39. With respect to the December Registration Statement, the following chart
identifies the following: (1) each Issuing Trust; (2) the stated value of the Certificates issued;

and (3) the Prospectus Supplement dates pursuant to which the Certificates were issued and

 

 

 

 

 

 

 

 

 

 

 

 

 

sold.
. Approximate SEC Filing Date of '

Issumg Trust Amount ($$$) Prospectus Supplement
C-BASS 2007-CB4 Trust 476,443,000 4/26/2007
Merrill Lynch Alternative Note Asset Trust,
Series 2007-F1 439,565,336 3/28/2007
Merrill Lynch Mortgage Investors Trust, Series
2006-MLN1 787,216,100 9/28/2006
Merrill Lynch Mortgage Investors Trust, Series
2006-FM1 424,683,100 6/29/2006
Merrill Lynch Mortgage Investors Trust, Series
2006-FF1 2,280,872,100 12/22/2006
Merrill Lynch Mortgage Investors Trust,~ Series
2006-RM5 520,625,100 10/27/2006
Merrill Lynch Mortgage Investors Trust Series
MLCC 2006-2 628,422,100 4/27/2006

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Exhibit A
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. Approximate SEC Filing Date of
Issuing Trust Amount ($$$) Prospectus Supplement
Merrill Lynch Mortgage Investors Trust, Series '
2006-AHL1 413,329,100 6/29/2006
Merrill Lynch Mortgage Investors Trust, Series
2006-RM3 740,607,100 6/27/2006

40. With respect to the August Registration Statement, the following chart identifies
the following: (1) each Issuing Trust; (2) the stated value of the Certificatesissued; and (3) the

Prospectus Supplement dates pursuant to which the Certificates were issued and sold.

 

 

 

 

 

 

_ Approximate n SEC Filing Date of
Issuing Trust Amount ($$$) Prospectus Supplement
Merrill Lynch Mortgage Investors Trust, Series y 4
2006-WMC1 1,204,884,100 2/14/2006

_ Merrill Lynch Mortgage Investors Trust, Series
2006-WMC2 1,205,046,100 3/28/2006
Merrill Lynch Mortgage Investors Trust, Series n
2006-Al ` 7 656,531,100 3/29/2006
Ownit Mortgage_Loan Trust, Series 2006-2 533,541,100 3/9/2006

 

 

 

 

B. Assessing The Oualitv Of Mortgage Pass-Through Certificates

41. The fundamental basis upon which certificates are valued is the ability of the
borrowers to repay the principal and interest on the underlying loans and the adequacy of the
collateral. Thus, proper loan underwriting is critical to assessing the borrowers’ ability to repay
the loans and a necessary consideration when purchasing and pooling loans If the loans
pooled in the MBS suffer defaults and delinquencies in excess of the assumptions built into the
certificate payment structure,7 certificate owners suffer more than expected losses because the
cash flow from the certificates would necessarily diminish.

42. Likewise, independent and accurate appraisals of the collateralized real estate are
essential to ensure that the mortgage or home equity loan can be satisfied in th'e event of' a
default and foreclosure on a particular property. 7An accurate appraisal is necessary to determine
the likely price at which the foreclosed property can be sold and, thus, the amount of money

available to pass through to certificate holders

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EXhibit A

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43. An accurate appraisal is also critical to calculating the loan-to-value (“LTV”)
ratio, which is a financial metric commonly used to evaluate the price and risk of MBS and
mortgage pass-through certificates The LTV ratio expresses the amount of mortgage or loan as
a percentage of the appraised value of the~ collateral property. For example, if a borrower seeks
to borrow $90,000 to purchase a home worth $100,000, the LTV ratio is equal to $90,000
divided by $100,000, or 90%. If, however, the appraised value of the house has been artificially
inflated to $100,000 from $90,000, the real LTV ratio would be 100% ($90,000 divided by

' $90,000).

44. From an investor’s perspective, a high LTV ratio represents a greater risk of
default on the loan. First, borrowers with a small equity position in the underlying property
have “less to lose” in the event of a default. Second, even a slight drop in housing prices might
cause a loan with a high LTV ratio to exceed the value of the underlying collatera~l, which might
cause the borrower to default and would prevent the issuing trust from recouping its expected
return in the case of foreclosure and subsequent sale of the property.

45. Consequently, the LTV ratios of the loans underlying mortgage pass-through
certificates are important to investors’ assessment of the value of such certificates Indeed,
prospectuses typically provide information regarding theLTV ratios and even guarantee certain
LTV ratio limits for the loans that will support the certificates

46. The underwriting standards and appraisals of the pooled loans are critically
important considerations when setting assumptions and parameters for each certificate tranche.
The‘assumed amount of expected payments of principal and interest will necessarily affect the
total available funds and potential yield to investors In addition, the assumed amount of
expected payments will affect the offered credit enhancement, such as overcollateralization,

l excess interest, shifting of interests and subordination.

47. Overcollateralization is the amount by which the aggregate stated principal

balance of the mortgage loans exceeds the aggregate class principal balance for the certificate

tranches. In other words overcollateralization serves as a cushion, so that in the case of default

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Exhiblt A

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on certain loans the remaining payments would be adequate to cover the yield on all certificates
without any tranche taking a loss

48. A similar cushion is provided by the interest generated by the loans in excess of
what is needed to pay the interest on the certificates and related expenses of the trust. Often, the
tranches are structured so that the weighted average interest rate of the mortgage loans is higher
than the aggregate of the weighted average pass-through rate on the certificates plus servicing
fee rates on_the mortgage loans If the assumed underwriting standards and appraisals are
inaccurate, the stated credit enhancement parameters will be inaccurate, and investors will not
receive the level of protection set forth in the respective registration statement and
prospectus(es).

49. Traditionally, rating agencies published ratings to reflect an unbiased assessment
of risk associated with a particular'investment instrument `The rating of any particular MBS
was critical to its issuance because of regulations requiring many institutional investors such as
banks mutual funds and public pension funds to hold only “investment-grade” bonds and
securitized interests Indeed, many MBS _ including mortgage pass-through certificates - were t
promoted to institutional investors
V. THE MERRILL LYNCH CERTIFICATE OFFERINGS

50. On August 5, 2005, Defendants filed with the Securities and Exchange
Commission (“SEC”) on Forrn S-3 a Registration Statement under the Securities Act, as
amended on August 17, 2005 (the “August Registration Statement”), with which Defendants
indicated their intention to sell 315 billion mortgage pass-through certificates On December
21, 2005, Defendants filed with the SEC on Form S-3 a Registration Statement under the
Securities Act, as amended on February 24, 2006, March 21, 2006 and March 28, 2006 (the
“December Registration Statement”), with which Defendants indicated their intention to sell
$35 billion mortgage pass-through certificates On February 2, 2007, Defendants filed with the
SEC on Form S-3 a Registration Statement under the Securities Act, as amended (the “March

Registration Statement”), with which Defendants indicated their intention to sell $85 billion

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Exhibit A
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mortgage pass-through certificates The Certificates would be issued pursuant to the
Registration Statements and accompanying prospectuses also filed with the SEC (the
“Prospectuses”), generally explaining the structure of the Issuing Trusts and providing an
overview of the Certificates. The Registration Statements were prepared by the Merrill
Depositor and the Underwriter Defendants and signed by the Individual Defendants

51. Subsequently, the Prospectus Supplementswere filed with the SEC containing a
detailed description of the mortgage pools underlying the Certificates and containing
representations about the loan origination process and the quality of the loans The respective
Prospectus Supplements provided the specific terms of the particular Certificate series offering.
Each Prospectus Supplement included tables with data concerning the loans underlying the
Certificates including (but not limited to) the type of loans the number of loans the mortgage
rate and net mortgage rate, the aggregate scheduled principal balance of the loans the purported
weighted average of original combined LTV ratio, and the geographic concentration of the
mortgaged properties

52. _ The Merrill Depositor and the Underwriter Defendants prepared the Prospectus
Supplements As a condition of the issuance of the Certificates the Offering Documents
represented that the Certificates received pre-determined investment-grade ratings The
Underwriter Defendants sold the Certificates pursuant ,to the Prospectus Supplements The
Registration Statements incorporated by reference the subsequently filed Prospectus
Supplements l
VI. THE OFFERING DOCUMENTS CONTAINED

MATERIAL MISSTATEMENTS AND OMISSIONS

REGARDING UNDERWRITING STANDARDS

53. The Offering Documents contained material statements regarding, inter alia,
(i) the underwriting process and standards by which the loans held in the respective Issuing
Trusts were originated, including the type of loan and documentation level; (ii) the standards
and guidelines used by First Franklin, the Merrill Sponsor and/or C-BASS when evaluating and

acquiring the loans; (iii) representations concerning the value of the underlying real-estate

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. Exhibit A
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securing the loans pooled in the respective Issuing Trusts, in terms of LTV averages and the
appraisal standards by which such real estate values Were measured; (iv) the level of credit
enhancement, such as overcollateralization and excess interest, calculated to afford a certain
pre-determined level of protection to` investors; and (v) the credit rating of the Certificates.

54. The Offering Documents emphasized the underwriting standards used to
originate the underlying mortgage loans Indeed, each Prospectus Supplement set forth the
underwriting standards.for the originators who originated 20% or more of the underlying loans
in that Issuing Trust. Contrary to these representations many of these originators of the
underlying mortgages did not originate loans in accordance with their stated underwriting
standards. Rather, as set forth below, these originators extended loans that did not comply with
their underwriting standards in order to increase loan volume regardless of the borrower’s

1 ability to meet its obligations Merrill Lynch created the Merrill Depositor to acquire these
mortgage loans deposit them into the Issuing Trusts and sell the securitized Certificates to
7 investors

55. Although the percentages vary among the Issuing Trusts, the Prospectus
Supplements stated that First Franklin originated, or that the Merrill Sponsor or C-BASS
acquired, most of the mortgage loans underlying the Certificates. For example, the MLFFML .
Trust, Series'200'7-A7, Prospectus Supplement stated that “All of the Mortgage Loans were
originated by the Sponsor [First Franklin]. Certain of the Mortgage Loans were subsequently
purchased by [the Merrill Sponsor] from the Sponsor in bulk acquisition. All of the Mortgage
Loans will be transferred and assigned by either [First Franklin or the Merrill Sponsor] to [the
Merrill Depositor] on the Closing Date.”

56. The Prospectus Supplements represented that the mortgage loans underlying the
Certificates “were originated generally in accordance with the underwriting guidelines
described in ‘Underwriting Guidelines”’ in this Prospectus Supplement As represented in the

, Prospectus Supplements, the Sponsor’s underwriting and acquisition underwriting standards

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Exhibit A
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were primarily intended to assess the ability and willingness of the borrower to repay the debt
and to evaluate the adequacy of the mortgaged property as collateral for the mortgaged loan.

57. Regarding acquired loans the Prospectus Supplements' represented that the
Merrill Sponsor’s standards required that the underwriting of the mortgages was conducted with
a view toward the resale of the loans in the secondary mortgage market. The Merrill Sponsor’s
stated guidelines required third-party originators to consider, among other things the
mortgagor’s credit history, repayment ability, and debt-to-income ratio, as well as the type and
use of the‘mortgaged property. In addition, the Prospectus Supplements represented that each
of the loan originators must have met First Franklin’s and/or the Merrill Sponsor’s minimum
standards based on certain acquisition guidelines in order to submit loan packages and that
those loans must have been in compliance with the terms of a signed mortgage loan purchase
agreement n

- 58. Furthermore, the Prospectus Supplements represented that third-party originators
of loans acquired by First Franklin (or indirectly by the Merrill Sponsor, through First Franklin)
were originated in accordance with the underwriting program called the Direct Access Program,
which relied upon a borrower’s credit score to determine a borrower’s likely future credit
performance First Franklin’s acquisition guidelines required that the third-party originator
approve the mortgage loan using the Direct Access Program risk-based pricing matrix.

59. The Registration Statements and the Prospectuses stated the “Underwriting
Guidelines” concerning the loans underlying each of the Certificates offered pursuant to the
Registration Statements Specifically, the Prospectus Supplements state that “All of the
Mortgage Loans were required to meet the underwriting criteria substantially similar to that
described in this prospectus supplement.” Each of the Prospectus Supplements identified loan
originators in the mortgage pools underlying the Certificates for that particular Issuing Trust
and provided representations regarding the underwriting standards utilized by the originators of

20% or more of the underlying loans

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EXhibit A

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60. The representations regarding the underwriting standards utilized by the
identified loan originators Were untrue and omitted material facts Indeed, as detailed below,

many of the identified loan originators systematically disregarded their stated underwriting

 

guidelines
A. Countrywide Home Loans Inc.’s Underwriting Practices
61. The Prospectus Supplements misrepresented and omitted material facts regarding

the underwriting practices of Countrywide, which was an originator of mortgage loans
identified for the following Issuing Trusts:

Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1
Merrill Lynch Mortgage Investors Trust, Series 2006-A1

62. The Prospectus Supplements for each of the above Issuing Trusts stated that:

As part of its evaluation of potential borrowers Countrywide
Home Loans generally requires a description of income. If
required by its underwriting guidelines Countrywide Home Loans
obtained employment verification providing current and historical
income information and/or telephonic employment
confirmation. . . .

Countrywide Home Loans’ underwriting standards are applied
by or on behalf of Countrywide Home Loans to evaluate the
prospective borrower ’s credit standing and repayment ability and
the value and adequacy of the mortgaged property as collateral
Under those standards a prospective borrower must generally
demonstrate that the ratio of the borrower’s monthly housing
expenses (including principal and interest on the proposed
mortgage loan and, as applicable, the related monthly portion of
property taxes hazard insurance and mortgage insurance) to the
borrower’s monthly gross income and the ratio of total monthly
debt to the monthly gross income (the “debt-to-income”) ratios are
within acceptable limits . . .

Countrywide Home Loans may provide secondary financing to a
borrower contemporaneously with the origination of a mortgage
loan, subject to the following limitations The Loan-to-Value
Ratio of the senior (i.e. first) lien may not exceed 80% and the
combined Loan-to-Value Ratio may not exceed 100%.

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Exhibit A
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In addition to Countrywide Home Loans.’ standard underwriting
guidelines (the “Standard Underwriting Guidelines”), which are
consistent in many respects with the guidelines applied to
mortgage loans purchased by Fannie Mae and Freddie Mac,
Countrywide Home Loans uses underwriting guidelines featuring
expanded criteria (the “Expanded Underwriting Guidelines”). . . .

Countrywide Home Loans’ Standard Underwriting Guidelines for

7 mortgage loans with non-conforming original principal balances
generally allow Loan-to-Value Ratios at origination of up to 95%
for purchase money or rate and term refinance mortgage loans With
original principal balances of up to $400,000, up to 90% for
mortgage loans with original principal balances up to $650,000, up
to 75% for mortgage loans with original principal balances up to
$1,000,000, up to 65% for mortgage loans with original principal
balances of up to $1,500,000, and up to 60% for mortgage loans
with originalprincipal balances of up to $2,000,000. . ..

Mortgage loans which are underwritten pursuant to the Expanded
Underwriting Guidelines may have higher Loan-to-Value Ratios t
higher loan amounts and different documentation requirements
than those associated with the Standard Underwriting Guidelines.
The Expanded Underwriting Guidelines also permit higher debt-to-
income ratios than mortgage loans underwritten pursuant to the -
Standard Underwriting Guidelines.

Countrywide Home Loans’ Expanded Underwriting Guidelines for
mortgage loans with non-conforming original principal balances
generally allow Loan-to-Value Ratios at origination of up to 95%
for purchase money or rate and term refinance mortgage loans with
original principal balances of up to $400,000, up to 90% for
mortgage loans with original principal balances up to $650,000, up
to 80% for mortgage loans with original principal balances up to
$1,000,000, up to 75% for mortgage loans with original principal
balances of up to $1,500,000, and up to 70% for mortgage loans
with original principal balances of up to $3,000,000. Under certain
circumstances however, Countrywide Home Loans’ Expanded
Underwriting Guidelines allow for Loan-to-Value Ratios of up to
100% for purchase money mortgage loans with original principal
balances of up to $375,000. '

63. While the Offering Documents represented that Countrywide’s underwriting of
mortgages was designed to ensure a prospective borrower’s credit standing and repayment

ability and the value and adequacy of the mortgaged property as collateral, the Offering

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Exhibit A
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Documents contained untrue statements of material fact and material omissions Countrywide’s
underwriting standards were designed to originate as many mortgage loans as possible without
regard to the ability of the borrower to repay such mortgages Indeed, it has now been revealed
that Countrywide’s loan originators systematically disregarded and/or manipulated the income,
assets and employment status of borrowers seeking mortgage loans

64. Attomeys General from various states have now initiated investigations into
Countrywide’s lending practices and also have alleged that Countrywide systematically
departed from the underwriting standards it professed using for originating residential loans
For example, the Illinois Attorney General began an investigation into Countrywide’s loan
practices and, on June 25, 2008, filed an action in the Chancery Division of the Circuit Court of '
Cook County, Illinois, entitled The People of the State of Illinois v. Countrywide Financial
Corporation, et al., No. 08CH22994 (the “Illinois AG Complaint”).

65. According to the Illinois AG Complaint, Countrywide employees who the
Illinois AG interviewed stated that Countrywide originated loans that did not meet its
underwriting criteria because Countrywide employees were incentivized to increase the number
of loan originations without concern for whether the borrower was able to repay the loan. With
respect to stated income loans Countrywide employees explained to the Illinois AG that, while
the company had a “reasonableness standard” in order to check fraudulent stated income,
employees were only required to use their judgment in deciding whether or not a stated income
loan seemed reasonable. To supplement an_employee’s judgment as to whether or not a
potential borrower’S income was “reasonable,” beginning in 2005, Countrywide required its
employees to utilize a website, www.salary.com, to determine the reasonableness of a potential
borrower’s stated income. Even if the stated salary was outside of the range provided by the
website, Countrywide employees could still approve the loan. The Illinois AG contends that the
foregoing “reasonableness” test contravened proper underwriting practices

66. The Illinois AG Complaint also alleges that Countrywide employees did not

properly ascertain whether a potential borrower could afford the offered loan, and many of

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Exhibit A
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Countrywide’s stated income loans were based on inflated estimates of borrowers’ income. For
example, according to the Illinois AG Complaint: (1) a Countrywide employee estimated that
approximately 90% of all reduced documentation loans sold out of a Chicago office had inflated
incomes; and (2) one of Countrywide’s mortgage brokers One Source Mortgage Inc., routinely
doubled the amount of the potential borrower’s income on stated income mortgage applications
67 . The California Attorney General also commenced an investigation into
Countrywide’s lending activities and filed a complaint in the Northwest District of the Superior
Court for Los Angeles County, entitled T he People of the State of California v. Countrywide
Financial Corporation, et al., No. LC081846 (the “California AG Complaint”). Similar to the
Illinois AG Complaint, the California AG Complaint also alleged that Countrywide departed
from its stated underwriting standards. For example, the Complaint alleged that employees
were pressured to issue loans to unqualified borrowers by permitting exceptions to underwriting
standards incentivizing employees to extend more loans without regard to the underwriting
standards for such loans and failing to verify documentation and information provided by
borrowers that allowed them to qualify for loans The absence of readily obtainable asset
verifications was also reported in an April 6, 2008 article in The New York Times. The article
noted that even though Countrywide had the right to verify stated income on an application
through the IRS (and this check took less than one day to complete), income was verified with
the IRS on only 3%-5% of all loans funded by Countrywide in 2006. l
68. According to the California AG Complaint,( Countrywide used a system called
CLUES or Countrywide Loan Underwriting Expert System, to provide a loan-analysis report
that indicated whether the loan was within Countrywide’s underwriting guidelines CLUES
reports indicating a loan was not Within Countrywide’s underwriting guidelines often were
ignored in order to effectuate the loan.
1 69. Moreover, like the Illinois AG Complaint, the California AG Complaint
contained statements from Countrywide ` employees that they utilized Www.salary.com

purportedly to confirm a borrower’s stated income. According to the California AG Complaint,

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Exhibit A
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California employees would know ahead of time the range of salaries that Www.salary.com
would provide for a particular job and, therefore, knew by how much they»~ could overstate a
borrower’s income. A former California loan officer for Countrywide further explained that its
loan officers typically explained to potential borrowers that “with your credit score of X, for this
house, and to make X payment, X is the income that you need to make” after which the
borrower would state that he or she made X amount of income. v

70. Likewise, then Connecticut Attorney General (the “Connecticut AG”) filed a
complaint in Superior Court, Judicial District of Hartford, entitled State of Connecticut v.
Countrywide Financial Corporation,v et al., No. CV08-40390945, alleging that Countrywide’s
employees inflated borrowers’ incomes in order to qualify them for loans they otherwise would
not have received. l

71. Many of the allegations in the Illinois California and Connecticut complaints
were confirmed by investigations in other states such as Washington, West Virginia, Indiana
and Florida. Significantly, on October 6, 2008, Countrywide announced that it had settled the
claims brought by 11 states including California and Illinois for an estimated $8.4 billion.

72. Countrywide’s underwriting standards are also the subject of an investigation by
the Federal Bureau of Investigation (“FBI”), which The Wall Street Journal first reported on
March 8, 2008,' in an»article entitled “FBI Investigates Countrywide - U.S. Scrutinizes Filings
on` Financial Strength, Loan Quality for Fraud.” According to the article, the FBI investigation
is focused on “whether company officials made misrepresentations about the company’s
financial position and the quality of its mortgage loans in securities filings.”

73. On March 11, 2008, The Wall Street Journal published another article further
detailing the FBI’s investigation of Countrywide’s lending practices According to the sources
interviewed by T he Wall Street Journal, federal investigators were finding that “Countrywide’s

` loan documents often were marked by dubious or erroneous information about its mortgage

clients according to people involved in the matter. The company . . . packaged many of those

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Exhibif A
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mortgages into securities and sold them to investors raising the additional question of whether
Countrywide understated the risks such investments carried.”

74. ' 7 Press reports and articles highlight the excess lending and failure to follow stated
underwriting standards that existed throughout Countrywide during the time the Merrill
Depositor was issuing Certificates with underlying Countrywide loans 7For example, on
August 26, 2007, in an article entitled “Inside the Countrywide 7_Lending Spree,” the New York
Tirnes described how Countrywide’s focus on underwriting was not the ability of a borrower to
repay a loan, but the amount of fees Countrywidecould generate. Thus Countrywide steered
borrowers to loans with higher interest rates and the most fees resulting in greater \
delinquencies

75 . Indeed, in a May 7, 2007 letter to the Office of Thrift Supervision, Countrywide
Home Loans stated that in the fourth quarter of 2006 alone “almost 60% of the borrowers who l
obtained subprime hybrid ARMS would not have qualified at the fully indexed rate” and that
“25% of the borrowers would not have qualified for any other [Countrywide] product.” The
fully indexed rate (“FIR”) is the amount of interest that is payable on an ARM once the teaser
rate is removed._ The “teaser rate,” typically 1.%-1.25%, is only applied to the loan for the first
month. Once the teaser rate is removed, the interest on7the mortgage begins accruing according
to the FIR.

76. The FIR can change over time and is dependent on fluctuations in the current
value of the chosen rate index, such as the llth District Cost of Funds Index (“COFI”), the 12
Month Treasury Average Index or the London Interbank Offer Rate. The FIR is calculated by
taking the current value of the rate index (which fluctuates monthly) and adding the margin

. agreed to by the borrower. The margin remains static for the life of the loan. The margin on
Countrywide loans could be as high as 4%. Th_us, if the Countrywide ARM identifies the rate
index as COFI (which was at 218% in July 2008) and the margin as 4%, then once the cap or
“teaser rate” has expired, the borrower will be subject to an interest rate equal to the FIR or

6.8% rortharmonth. `

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Exhibit A
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77. Because the borrower has the option of making monthly payments as though the
interest rate had not changed, most of those who had Countrywide ARMs paid only the
“minimum” payment - a payment that is based on the teaser rate of 1% to 1.25% as opposed to
the FIR of 6.8%, meaning that borrowers were making payments that were less than the amount
of interest accruing on the loan-after the teaser rate expired. The unpaid interest that accrued
while the borrower was making payments based on the teaser rate was tacked onto the principal.
Once the principal was 115% of the original loan, then the borrower’s monthly payment
immediately was raised to a level that would pay off the new balance (original principal plus the
unpaid interest) of the loan. This was called “payment shock.”

78. Countrywide admitted to the Office of Thrift Supervision that, even though 60%
of its potential borrowers Would not have qualified for a Countrywide loan with an interest rate '
of 6.8%, these same borrowers nevertheless were approved for a loan whose interest rate
reached 6.8% once the teaser rate of 1.25% expired.

79. Moreover, on February 23, 2008, The Wall Street Journal published an article
entitled “Mortgage Chief Picked by BofA .Sparks Worries - Countrywide Executive
Spearheaded Pursuit of Subprir_ne Business.” The article reported that Countrywide’s stated
underwriting standards were not followed and warnings from Countrywide’s risk-control
managers were not heeded.

80. Indeed, according to Confidential Witness (“CW”) 1, an underwriter for
Countrywide in the Jacksonville, Florida, processing center between June 2006 and April 2007,
as much as 80% of the loans originated involved significant variations from the underwriting
standards that necessitated a signoff by management According to CWl, Countrywide was very
lax when it came to underwriting guidelines Management pressured underwriters to approve
loans and this came from “up top” because management was paid based, at least in part, on the
volume of loans originated CWl ’s manager told CWl to approve as many loans as possible and

push loans through. According to CWl, most loans declined by underwriters would “come back

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to life” when new information would “miraculously appear” - which indicated to CWl that
Countrywide was not enforcing its underwriting standards.

81. According to CW2, a Senior Underwriter in Roseville, California, from
September 2002 t_o September 2006, Countrywide would regularly label loans as “prime” even if
made to unqualified borrowers (including those who had recently gone through a bankruptcy and
were still having credit problems). According to CW2, Countrywide’s lending practices got
riskier in 2006 and Countrywide was more lax in enforcing its underwriting policies during that
year. 7 l

82. According to CW3; an Underwriter from Long Island, New York, between March
2000 and January 2007, Countrywide extended loans to individuals with increasing debt-to-
income ratios Initially, Countrywide limited debt-to-income ratios to 38%, but this rose to 5 0%.
According to CW3, Countrywide branch managers’ compensation was tied to loan origination
volume and not the quality of the loans Thus, according to CW3, branch managers pushed
originators to sell more loans despite the riskiness of these loans

83. In addition, according to CW4, an Executive Vice President of Production
Operations and later an Executive Vice President of Process Improvement, who worked at
Countrywide for 17 years before leaving in October 2005, Countrywide created a computer
system (or “rules engine”) that routed highly risky loans out of the normal loan approval process
to a central underwriting group for evaluation The system was called the Exception Processing
System. According to CW4, the Exception Processing System identified loans that violated
Countrywide’s underwriting requirements However, according to CW4, loans identified by the
Exception Processing System as violating underwriting standards were not rejected. Rather,
according to CW4, Countrywide executives wanted the Company’s Central Underwriting group
to review such loans to evaluate Whether these loans should require a higher price (up front
points) or a higher interest rate in light of the violation at issue. Central Underwriting entered
information into the Exception Processing System about its decisions to approve such loans and

charge additional fees to the borrower.

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Exhib"it A
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84. Moreover, according to Mark Zachary, a former Regional Vice President of
Countrywide’s joint venture _with KB Home, Countrywide Mortgage Ventures, LLC,
Countrywide blatantly ignored its underwriting policies and procedures Mr. Zachary stated that
there was a problem with appraisals performed on KB Homes being purchased with
Countrywide loans According to Mr. Zachary, the appraiser was being strongly encouraged to
inflate appraisal values by as much as 6% to allow the homeowner to “roll up” all closing costs

-7 According to vMr. Zachary, this inflated value put the buyer “upside down” on the home
immediately after purchasing it, i.e., the borrower owed more than the home’s worth. Thus, the
borrower was more susceptible to default. It also put the lender and secondary market investor at
risk because they were unaware of the true value lof their asset. According to Mr. Zachary,
Countrywide performed an audit in January 2007 into these matters which corroborates his story.

85. On September 30, 2008, MBIA Insurance Corp. (“MBI ”) filed a complaint
against Countrywide in New York state court, entitled MBLA Insurance Corp. v. Countrywide,
et al., No. 08/602825. The MBIA complaint alleges that Countrywide fraudulently induced it to
provide insurance for certain investment certificates MBIA was able to obtain approximately
19,000 loan files for the Certificates it insured as a result of its contractual agreements with
Countrywide. After reviewing the portfolios and re-underwriting each loan provided by
Countrywide, MBIA discovered-that there was “an extraordinarily high incidence of material
deviations from the underwriting guidelines Countrywide represented it would follow.” MBIA
discovered that many of the loan applications “lack[ed] key documentation, such as a
verification of borrower assets or income; include[d] an invalid or incomplete -appraisal;
demonstrate[d] fraud by the borrower on the face of the application; or reflect[ed] that any of
borrower income, FICO score, or debt, or DTI [debt-to-income] or CLTV, fail[ed] to meet
stated Countrywide guidelines (without any permissible exception).” Significantly, “MBIA’s
re-underwriting review . . . revealed that almost 90% of defaulted or delinquent loans in the

Countrywide Securitizations show material discrepancies”

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Exhibit A
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B. American Home Mortgage Corn.’s Underwriting Practices 7

86. The Prospectus Supplements misstated and omitted material facts regarding the
underwriting practices of American Home Mortgage Corp. (“American Home”), which was an
originator identified for the Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1.'

87. For example, the Prospectus Supplement stated that:

The [“conforming or “prime”] mortgage loans have been

purchased or originated, underwritten and documented in '
accordance with the guidelines of Fannie Mae, Freddie Mac, the

Federal Housing Administration (FHA), the U.S. Department of

Veterans Affairs (VA), the U.S. Department of Agriculture

Guaranteed Rural Housing Program (GRH), Ginne Mae, the
underwriting guidelines of specific private investors and the non-

conforming or Alt-A underwriting guidelines of the Originator.

The Originator’s non-conforming underwriting guidelines are
similar to those of the government sponsored enterprises Fannie
Mae and Freddie Mac,` but these loans are “non-conforming”-in
that the may not conform to the maximum loan amounts and in
some cases underwriting guidelines of Fannie Mae and Freddie
Mac, These non-conforming loans do not conform to and are not
insurable by the Federal Housing Administration nor can they be
guaranteed by the U.S. Department of Veterans Affairs.

The Originator’s underwriting philosophy is to weigh all risk
factors inherent in the loan file, giving consideration to the
individual transaction, borrower profile, the level of documentation
provided and the property used to collateralize the debt.l

Every mortgage loan is secured by a property that has been
appraised by a licensed appraiser in accordance with the Uniform
Standards of Professional Appraisals Practice adopted by the
Appraisal Standard Board of Appraisal Foundation. The
appraisers perform on-site inspections of the property and report .
on the neighborhood and property condition in factual and specific
terms Each appraisal contains an opinion of value that represents
the appraiser’s professional conclusion based on market data of
sales of comparable properties and a logical analysis with
adjustments for differences between the comparable sales and the
subject property and the appraiser’s judgment In addition, each
appraisal is reviewed for accuracy and consistency by the
Originator’s vendor management company or an underwriter of the
Originator or a mortgage insurance company contract underwriter.

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The appraiser’s value conclusion is used to calculate the ration
(loan-to-value) of the loan amount to the value of the property.
For loans made to purchase a property, this ratio is based on the
lower of the sales price of the property and the appraised value.
The Originator sets various maximum loan-to-value ratios based
on the loan amount, property type, loan purpose and occupancy of
the subject property securing the loan.

88. American Home greatly reduced and/or eliminated its underwriting standards in
order to approve as many mortgages as possible. For example, an internal American Home
“Credit Update” presentation dated from October 2005 set forth revised credit factors which
made clear that American Home’s underwriting guidelines were to be either relaxed substantially
or essentially rendered meaningless in order to allow American Home to make loans to high-risk
borrowers’ Specifically, the Credit Update sets forth the previous “interpretation” of..the
underwriting guidelines under a heading entitled “What we observed in [our] prior history”
alongside the new “interpretation” under a heading entitled “Where We Are Now.” These new

“guideline interpretations” included:

o Not requiring verification of income sources on stated income loans;

0 Reducing the time that need have passed since the borrower was in bankruptcy or
credit counseling;

0 Reducing the required documentation for self-employed borrowers; and

0 Brp`adening the acceptable use of second and third loans to cover the full property
va ue.

89. Indeed, an internal American Home e-mail sent on November 2, 2006, from Steve
Somerman, an American Home Senior Vice President of Product and Sales Support in California
and co-creator of the American Home’s “Choice Point Loans” program, to loan officers
nationwide, stated that American Home would make a loan to virtually any borrower, regardless
of the borrower’s ability to verify income, assets oreven employment That e-mail specifically
encouraged loan officers to make a Variet_y of` loans that were inherently risky and extremely
susceptible to delinquencies and default, including (l) stated income loans where both the

income and assets of the borrower were taken as stated on the credit application without -

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Exhiblf A
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verification; (2) “NINA” or No Income, No Asset loans which allowed for loans to be made
without any disclosure of the borrower’s income or assets; and (3) “No Doc” loans which
allowed loans to be made to borrowers who did not disclose their income,~assets or employment
history.

90. According to CWS, a former Senior Underwriter at American Home from 2002 to
2007, underwriters’ objections to loans were frequently vetoed. CW5 stated that underwriters
would “say[] ‘no way’ on a lot of things ‘I would never give a borrower a loan like this’” but
the loans would be approved nonetheless According to CW5, loans would be approved over the
underwriter’s objection if he refused to put his name on a loan, “lt happened more than it should

~ have.”

91. Moreover, American Home permitted numerous “exceptions” to its underwriting
standards. CW6, an Assistant Vice President for Direct Consumer Lending in American Home’s
loan origination business segment between July 2006 and August 2007, explained that
exceptions were always being made to the underwriting guidelines When CW6’s staff raised
concern with the sales department about loans that did not meet the underwriting guidelines the
sales department would contact the Melville, New York, headquarters to approve an exception to
those guidelines so that the loan could be completed. Examples of such exceptions included
reducing the required credit score or increasing the loan-to-value ratio. CW6 stated that, when
the exception at issue involved acceptinga reduced credit score, it was commonplace to overrule
the objections of the underwriters in order to complete the loan.

92. According to CW7, whose job at American Home from July 2005 through April
2007 was to review the underwriting of loans before they were sold to secondary market
investors exceptions to underwriting guidelines were made “all the time.” For example,
borrowers who claimed to be self-employed were not required to prove that they had been in

business for a specified period of time, as required by the underwriting guidelines

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EXhibit A
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93. On April 30, 2007, American Home filed for bankruptcy. In connection with its
bankruptcy, American Home filed a List of Creditors Holding 30 Largest Unsecured Claims.

The list included the Merrill Sponsor as a creditor with a $5,137,161 repurchaser'claim.

C. Ownit Mortgage Solutions, Inc.’s Underwriting Practices

94. The Prospectus Supplements misstated and omitted material facts about the
underwriting practices of Ownit Mortgage Solutions Inc. (“Ownit”), which was an originator of
mortgages identified for the Ownit Mortgage Loan Trust, Series 2006-'2.

95.- For example, the Prospectus Supplements represented that:

Ownit (headquartered in Agoura Hills, Califomia) was a
wholesaler consumer finance company that originated non-
conforming mortgage loans.... Ownit is the originator of the
“RightLoan”, a proprietary loan product that focuses on purchase,
owner occupied, full documentation loans.... Ownit risk-based 7 -
priced each loan by combining the credit score and loan-to-value
price to price the loan.

The underwriting Guidelines and Credit Matrices of the
RightLoan are designed to be used as a guide in determining the
credit worthiness of the borrower and his/her ability to repay.
The guidelines a reasonable loan amount and the RightLoan itself
offer a solution that also facilitates making logical exceptions to
those guides Exceptions to the guidelines were made if the Loan
met the primary criteria of the RightLoan and offers supported
compensating factors when 7a deviation occurred. In all cases the
exception(s) and compensating factor(s) were clearly documented
in the file and required branch manager approval and a second
signature from the corporate underwriter.

Using the three components capacity, credit and collateral, the
underwriter analyzed the loan profile. Capacity, which is the
borrower’s ability to repay, was determined by cash flow; It was
required to be clearly shown that the borrower had a proven,
historical cash flow, which will support the requested loan amount.

Several aspects are considered in determining the borrower’s
capacity or ability to repay the loan. The key factors used by
Ownit were employment documentation, history and amount of
income used to derive debt,to income ratios . . .

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A satisfactory credit history is the most reliable criterion for
determining 7a borrower’s creditworthiness . . .

The collateral value and amount of equity in the subject property
were important factors in assessing the risk of a particular loan.

96. While the Prospectus Supplements represented that Ownit utilized guidelines and
credit-rating matrices in the underwriting of mortgages through its RightLoan product, Ownit "
did not comply with its underwriting standards and omitted to state that it lowered its
underwriting standards in order to increase loan volume by extending higher-yield, riskier loans

' 97. In 2005, Merrill Lynch purchased a 20% share in one of its primary loan
originators Ownit. Ownit originated $6 billion in loans from September 2005 to December
2006, In fact, Ownit’s founder and CEO William Dallas (“Dallas”) admitted that after Merrill
Lynch’s acquisition, Ownit lowered its underwriting standards to increase volume and
originated hi'gher-yield, riskier loans According to Dallas, Ownit originated $6 billion in loans
from September 2005 to December 2006.

98. According to CWS, a senior underwriter at the Atlanta, Georgia, branch of Ownit
from May 2005 to December 2006, appraisals were “absolutely” higher than the actual value of
properties For example,7 CWS described that appraisals were based on sales that were not true
comparables to the subject properties and that “for a good year or two, everyone was riding on
totally inflated values.”

99. CW9, a senior underwriter at Ownit’s Poltland, Oregon, branch from February
2006 until December 2006, stated that at Ownit “if you had a pulse or you could breathe, you
got a loan.” CW9 stated that all appraisals were supposed to go through some type of review.
According to CW9, the underwriters did a desk review, but they were not closely scrutinized
CW9 further stated that none of the appraisals went further than a desk review and if an
underwriter questioned the appraisal, management would just sign off on it.

100. Ownit filed for bankruptcy in December 2006 “amid reports that the subprime
lender had been hit by huge loan buyback requests from an investor” according to Workout

Wire, BuyBacks Appear to Shutter T wo Firms, December 85 2006. In connection with Ownit’s

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Exhibif A
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bankruptcy, Merrill Lynch LP Holdings, Inc. filed an unsecured repurchase claim for
$92,965,222.

101. .Nevertheless, according ton Janet Tavakoli, a derivatives expert and author of
“Dear Mr. Buffett:'What an Investor Learns 1,269 Miles From Wall *Street” (John Wiley &
Sons,~ 2009), the Merrill Depositor continued to issue mortgage pass-through certificates with
underlying Ownit loans well into 2007, after Ownit had collapsed and filed for bankruptcy amid
reports of huge loan buyback requests For example, Ownit was an originator of 16.95% of the
underlying loans in the Merrill Lynch Mortgage Investors Trust, Series 2007-SD1, prospectus

supplement dated June ll, 2007, v

D. First Franklin’s Underwriting Practices

-102. The Offering Documents misrepresented and omitted material facts about the
underwriting practices of First Franklin, which was the loan originator of all loans in the
following Trusts:

Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007 -A
Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2

Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-3

Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4

Merrill Lynch Mortgage Investors Trust, Series 2006-FF1

103. In regard to First Franklin’s underwriting standards these Prospectus
Supplements stated that:

' First Franklin Financial’s underwriting standards are primarily
intended to assess the ability and willingness of the borrower to
repay the debt and to evaluate the adequacy of the mortgaged
property as collateral for the mortgage loan. The standards
established by First Franklin Financial require that mortgage loans
of a type similar to the Mortgage Loans be underwritten by First
Franklin Financial with a view toward the resale of the mortgage
loans in the secondary mortgage market. In accordance with First
Franklin Financial’s underwriting guidelines First Franklin
Financial considers among other things a mortgagor’s credit ~
history, repayment ability and debt `service’to income ratio (“Debt
Ratio”), as Well as the value, type and use of the mortgaged

property.

32
EXhibit A

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Wholesale Origination. A significant majority of the Mortgage
Loans were originated by First Franklin Financial based on loan
application packages submitted to First Franklin Financial by
mortgage brokers that do not fund the mortgage loans themselves
These mortgage brokers must meet minimum standards set by First
Franklin Financial and, once approved, the mortgage brokers are
eligible to submit loan application packages in compliance with the
terms of their mortgage broker agreements . . .

Retail Origination. First Franklin Financial originates loans in its
retail channel based on loan applications submitted directly by
borrowers in its operation located in Lake Forest, California. The '
retail operation acquires customers primarily through online lead
generators but also relies to a small extent on direct mail and
phone contact to solicit borrowers

CORE Program. All of the Mortgage Loans were originated by
First Franklin Financial under an underwriting program called the
CORE Program (the “CORE Program”). Within the CORE
Program, there are four documentation programs.... While each
underwriting program is intended to assess the risk of default, the
CORE Program makes use of credit bureau risk scores (the “Credit
Bureau Risk Score”). The Credit Bureau Risk Score is a statistical
ranking of likely future credit performance developed by Fair,
Isaac & Company (“Fair Isaac”) and the three national credit
repositories Equifax, Trans Union and Experian. . . .

In accordance with First Franklin Financial’s guidelines under the
CORE Program, First Franklin Financial requires that the Credit
Bureau Risk Score be used to determine program eligibility. . .. The
Credit Bureau Risk Score, along with the loan-to-value ratio, is an
important tool in assessing the creditworthiness of a borrower in
the CORE Program, However, these two factors are not the only
considerations in underwriting a CORE Program mortgage loan.
First Franklin Financial requires a review of each CORE Program
mortgage loan to determine whether First Franklin Financial’s
guidelines for income, assets employment and collateral are met.

In accordance with First Franklin Financial’s Guidelines,'all of the
Mortgage Loans were required to be written by underwriters
having the appropriate signature authority. Each underwriter is
granted a level of authority commensurate with his or her proven
judgment, maturity and credit skills On a case by case basis an
underwriter may determine that, based upon compensating factors
a prospective mortgagor not strictly qualifying under the
underwriting risk category guidelines described below warrants an

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EXhibit A
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underwriting exception. Compensating factors may include, but
are not limited to, low loan-to-value ratio, low Debt Ratio,
substantial liquid assets good credit history, stable employment '
and time in residence at the applicant’s current address lt is
expected that a limited portion of the Mortgage Loans may
represent such underwriting exceptions

104. In regards to First Franklin’s acquisition underwriting standards the Prospectus
Supplements stated:

First Franklin Financial’s acquisition underwriting standards are
primarily intended to assess the ability and willingness of the
borrower to repay the debt and to evaluate the adequacy of the
mortgage property as collateral for the mortgage loan. The
standards established by First Franklin Financial require that the
mortgage loans of a type similar to the Mortgage Loans were
underwritten by the third party originators With a view toward the
resale of the mortgage loans in the secondary mortgage market. In
accordance with First Franklin Financial’s guidelines for
acquisition, the third party originators must consider, among other
things a mortgagor’s credit history, repayment ability and debt
service to income ratio-. (“Debt Ratio”), as well as the value, type
, and use of the mortgaged property. .

* >l< >l¢

The third party originators are required to conduct a number of
quality control procedures including a post funding compliance
audit as well as a full re-underwriting of a random selection of
loans to assure asset quality. Under the asset quality audit, all
loans are required to be reviewed to verify credit grading,
documentation compliance and data accuracy. Under the asset
quality procedure, a random selection of each month’s originations
must be reviewed by each third party originator.

The loan review is required to confirm the existence and accuracy
of credit documentation, appraisal analysis and underwriting
decision. A report detailing audit findings and level of error is sent
monthly to each branch for response. The audit findings must then
be reviewed by the third party originator’s senior management
Adverse findings are to be tracked monthly and over a rolling six
month period. This review procedure allows the third party
originator to assess the programs for potential guideline changes
program enhancements appraisal policies areas of risk to‘ be
reduced or eliminated and the need for additional staffing.

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Exhibit A
43

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Under the mortgage loan programs various risk categories are
used to grade the likelihood that the applicant will satisfy the
repayment conditions of the loan.

105. In regards to First Franklin’s underwriting and appraisal quality control
procedures the Prospectus Supplements stated: 7

In accordance with First Franklin Financial’s guidelines the
underwriters are required to verify the income of each applicant
under various documentation programs . . .

~ First Franklin Financial is required to comply with applicable
federal and state laws and regulations and generally requires an
appraisal of the mortgaged property which conforms to Freddie
Mac and/or Fannie Mae standards and if appropriate, a review
appraisal. Generally, appraisals are provided by appraisers
approved by First Franklin Financial, but all review appraisals may
only be provided by First Franklin Financial. . . .

First Franklin Financial 7 conducts a number of quality control
procedures including a post funding compliance audit as well as a
full re-underwriting of a random selection of mortgage loans to
assure asset quality. Under the asset quality audit, all mortgage
loans are required to be reviewed to verify credit grading,
documentation compliance and data accuracy. Under the asset
quality procedures First Franklin Financial reviews a random
selection of each month’s originations . . .

Under the CORE Program, Various risk categories are used to
assess the likelihood that the applicant will satisfy the repayment
conditions of the loan. These risk categories establish the
maximum permitted loan-to-value ratio and loan amount, given the
occupancy status of the mortgaged property and the applicant’s
credit history and Debt Ratio.

106. The Prospectus Supplements represented that First Franklin’s underwriting of
mortgages considered mortgagor’s credit history, repayment ability and debt service to income
ratio. However, First Franklin lacked such underwriting standards and approved loans from
wholesale originators without proper documentation and verification of mortgagor information
which resulted in loan defaults and repurchases.

107. CWlO, a Corporate Underwriter at First Franklin from 2006 until June 2007 who

audited appraisals estimated that one in four appraisals reviewed at First Franklin was

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EXhibit A
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overinflated. CWlO stated that most lenders maintained blacklists for appraisers who submitted
appraisals with overinflated values or unsupported comparables however, First Franklin had no
such lists Many times CW10 would reject loans with overinflated appraisals only to have
them approved by managers d

108. On December 30, 2006, Merrill Lynch purchased First Franklin from National
City Corporation (“National City”) for $l.3 billion. On April 13, 2007, National City received
a dispute notice from'Merrill Lynch asserting that the closing date net asset values and related
purchase price were overstated by $67 million. Merrill Lynch’s dispute notice alleged that
National City had breached certain representations or warranties concerning First Franklin’s
alleged losses associated with its claimed repurchase of loans On May 5, 2008, Merrill Lynch
announced that it would stop funding loans at First Franklin and explore selling the company.
Thereaf`ter, on June 30, 2008, National City was notified that the Chicago Regional Office of the
SEC was conducting an informal investigation of National City and requested that it provide the
SEC with certain documents concerning its loan underwriting experience, dividends bank
regulatory matters and the sale of First Franklin. First Franklin’s loans suffered from the same
problems as the rest of the mortgage industry, as explained below, and were negatively
impacted by lax underwriting, fraudulent home appraisals and borrowers who exaggerated their
incomes

E. ResMAE’s Underwriting Practices

109. ResMAE Mortgage Corporation (“ResMAE”) was an originator for the Merrill
Lynch Mortgage Investors Trusts 2006-RM3 and 2006-RM5. The Prospectus Supplements for
MLMI 2006-RM3 and MLMI 2006-RM5 stated the following about ResMAE’s underwriting

guidelines

The underwriting standards of Res.MAE are primarily intended
to assess the ability and willingness of the borrower to repay the
debt and to evaluate the adequacy of the mortgaged property as -
collateral for the mortgage loan. ResMAE considers among
other things a mortgagor’s credit history, repayment ability and

36 ' .
Exhibit A
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debt service-to income ratio (referred to herein as the Debt Ratio),
as well as the value, type and use of the mortgaged property. 7

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All of the mortgage loans were underwritten by ResMAE’s
underwriters having the appropriate signature authority. Each
underwriter is granted a level of authority commensurate with their
proven judgment, maturity and credit skills On a case by case
basis ResMAE may determine that, based upon compensating
factors a prospective mortgagor not strictly qualifying under the
underwriting risk category guidelines described below warrants an
underwriting exception. Compensating factors may include, but are
not limited to, low loan-to-value ratio, low Debt Ratio, substantial
liquid assets good credit history, stable employment and time in
residence at the applicant’s current address A substantial portion
of the Mortgage Loans represent such underwriting exceptions

110. The Offering Documents contained materially untrue statements and omissions
related to ResMAE’s underwriting standards because ResMAE systematically disregarded its
stated underwriting standards and regularly made exceptions to its underwriting guidelines in
the absence of sufficient compensating factors

111. According to CW19, a former area credit manager at ResMAE from 2004
through 2005, the sales department “push[ed] . . . through” stated income loans that listed
implausible incomes “[T]hat’s where things got ridiculous because as underwriters you were
told that things have to make sense, you can’t have somebody that is a waitress that is making
$5,000 a month and we would say we want to go ‘full documentation’ and sales would say ‘no’
and push it through.”

112. CW19 also stated that exceptions to ResMAE’s underwriting guidelines
accounted for “50 percent” of all underwritten loans “[L]oan officers and sales [department
employees],” mostly requested exceptions and would take the requests to sales managers for
approval~.” According to CWl9, this created a “dangerous” “conflict of interest” between sales
managers who had underwriting authority, and loan officers and sales employees who were

paid on commission.

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Exhibit A

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113. CW19 also witnessed numerous instances of “property flipping” and a lot of
“straw buyers” that would list the property as “owner occupied” on their loan applications when
in fact it was not. Underwriters were encouraged not to “dig [too] `deep” when they suspected
flipping was occurring There were even several instances where the property “didn’t even
exist, it was like a vacant lot, but yet we had an address and pictures but when the review
appraiser went out there was no property.”

114. CW20, a former Senior Vice President of ResMAE from 2003 through 2006,
confirmed that "‘exceptions were not luncommon, there were [a] significant [amount of]
exceptions . . . as much as 50%.”

115. CW21 was a former regional credit manager at ResMAE from March 2004
through March 2007, CW21 stated that exceptions to the underwriting guidelines were
commonplace and that “40% to 50%” of loans that were originated pursuant to exceptions
CW21 also noticed problems with stated income loans and appraisals especially in 2005 and
2006. CW21 saw “fraud from appraisers title companies and . . . borrowers Yeah, they were
altering documents and that kind of stuff; that was very big in 2005 and 2006. Especially the
stated income, they Would state that they made this income and they didn’t, it was [a]
misrepresentation.” During the last six months of CW2l’s employment at ResMAE, CW21 '
saw a large percentage of exceptions as the result of “an effort to increase [loan] production.”

F. WMC’s Underwriting Practices

116. `WMC Mortgage Corp. (“WMC”) was an originator for Merrill Lynch Mortgage
Investors Trusts 2006-WMC1 and 2006-WMC2 The Prospectus Supplements for MLM12006'-
WMCl and MLMI 2006-WMC2 stated the following about WMC’s underwriting guidelines

The Mortgage Loans have been either (i) originated generally in
accordance with the underwriting guidelines established by WMC
Mortgage Corp. (collectively, the “Underwriting Guidelines”) or
(ii) purchased by WMC Mortgage Corp. after re-underwriting the
Mortgage Loans generally in accordance with the Underwriting
Guidelines. WMC Mortgage Corp. also originates certain other
mortgage loans that are underwritten to the guidelines'of specific

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~Exhibit A
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investors however, such mortgage loans are not included among
those sold to the trust fund as described herein.

T he Underwriting Guidelines are primarily intended to (a)
determine that the borrower has the ability to repay the
[mortgage] in accordance with its terms and (b) determine that
the related mortgaged property will provide sufficient value to l
recover the investment if the borrower defaults

On a case-by-case basis WMC Mortgage Corp. may determine
that, based upon compensating factors a prospective mortgagor
not strictly qualifying under the underwriting risk category or other
guidelines described below warrants an underwriting exception.
Compensating factors may include, but are no_t limited to, low
debt-to-income ratio (“Debt Ratio”), good mortgage payment
history, an abundance of cash reserves excess disposable income,
stable employment and time in residence at the applicant’s current 7
address lt is expected that a substantial number of the Mortgage
Loans to be included in the trust fund will represent such
underwriting exceptions `

ll7.- The Offering Documents contained materially untrue statements and omissions
0 related to WMC’s underwriting standards because WMC systematically disregarded its stated
underwriting standards and regularly made exceptions .to its underwriting guidelines in the
absence of sufficient compensating factors
118. In 2004, General Electric purchased WMC, which was then the sixth-largest
subprime lender in the nation, from private equity firm Apollo Management WMC’s
concentration was in nonprime loans and jumbo loans up to $l million dollars According to a
March 2007 MortgageDaily. com article, WMC was faced with growing delinquencies in 2007,
and announced that it would no longer write mortgages with no down payments On September
20, 2007, General Electric closed WMC’s operations taking a $400 million charge as a result.
ll9. WMC’s reckless underwriting practices resulted in a large number of
foreclosures ranking WMC fourth in the Comptroller of the Currency’s “Worst Ten of the
Worst Ten” list presented in April 2010 to the FCIC. According to Reuters, WMC originated

“some of the worst-performing loans in the . . . `$575 billion market for home equity asset-

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Exhibit A
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backed securities.” See GE’s WMC Mortgage loans hit subprime index, Reuters March 9,
2007. ` '

120. On September 2, 2009, PMI Mortgage Insurance Co. (“PMI”) sued WMC in
California state court for misrepresentations and failure to adhere to its contractual repurchase
obligations relating to the securitization of a pool of WMC mortgage loans PMI Mortgage Ins.
Co., et al. v.- WMC Mortgage Corp., et al., BC-391072 (Los Angeles Super. Ct.). PMI alleged
that WMC “made extensive representations and warranties” about the underwriting of its
mortgage loans and the accuracy of the information underlying such loans According to PMI,
a Clayton Fixed Income Services Inc. (“Clayton”) investigation into a sample of thousands of
WMC-originated loans revealed that WMC “breached various representations and warranties . .
. because, inter alia, the loan-to-value ratio at the time of origination was greater than 100%;
fraud, errors misrepresentations or gross negligence took place on the part of WMC . . . ; the
loans did not comply with WMC’s own underwriting standards at the time of origination;
certain documents were missing; and/or WMC had failed 2 to utilize a methodology in
underwriting the loans that employed objective mathematical principles designed to determine
that, at the time of origination, the borrower had,the reasonable ability to make timely payments
on the [m]ortgage [l]oans.” According to the PMI Complaint, the Clayton investigation

' “demonstrate[d] a systemic failure by WMC to apply sound underwriting standards and
practices which cuts across all of the [loans in the securitization].”

121. In June 2008, the Washington State Department of Financial Institutions
Division of Consumer Services filed a Statement of Charges and Notice of Intention to Enter an
Order to Revoke License, Prohibit F_rom Industry, Impose Fine, Order Restitution and Collect
Investigation Fees against WMC Mortgage and its principal owners The Statement of Charges
was the result of a lengthy investigation in which WMC’s and its business partners’ books were
subpoenaed The investigation found that WMC had originated loans with unlicensed or
unregistered mortgage brokers understated amounts of finance charges on multiple loans

understated amounts of payments made to escrow companies understated annual percentage

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Exhibif A

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rates by almost .5%, and committed many other violations of Washington State deceptive and
unfair practices laws

G. Fremont’s Underwriting Practices

122. Fremont Investment & Loan (“Fremont”) was an originator for Merrill Lynch
Mortgage Investors Trust 2006-FMl. The Prospectus Supplement for MLMI 2006-FM1 stated
the following about Fremont’s underwriting guidelines:

Fremont’s Underwriting Standards. Substantially all of the
mortgage loans originated by Fremont are based on loan
application packages submitted through licensed mortgage brokers
These brokers must meet minimum standards set by Fremont based
on an analysis of the following information submitted with an
application for approval: applicable state license (in' good
standing), signed broker application and agreement, and signed
broker authorization Once approved, licensed mortgage brokers
are eligible to submit loan application packages in compliance with
the terms of a signed broker agreement.A

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Fremont’s underwriting guidelines are primarily intended to
assess the ability and willingness of the borrower to repay the
debt and to evaluate the adequacy of the mortgaged property as
collateral for the mortgage loan. The Scored Programs assess the
risk of default by using Credit Scores obtained from third party
credit repositories along with, but not limited to, past mortgage
payment history, seasoning on bankruptcy and/or foreclosure and
loan-to-value ratios as an aid to, not a substitute for, the
underwriter’s judgment All of the mortgage loans in the mortgage
pool were underwritten with a view toward the resale of the
mortgage loans in the secondary mortgage market.

123. The Offering Documents contained materially untrue statements and omissions
related to Fremont’s underwriting standards because Fremont_ systematically disregarded its
stated underwriting standards and regularly made exceptions to its underwriting guidelines in
the absence of sufficient compensating factors

124. Fremont originated subprime loans on a wholesale basis through independent

loan brokers in nearly all 50 states Fremont was one of the country’s largest subprime lenders

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Exhibit A
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until March 2007, when the Federal Deposit Insurance Corporation (“FDIC”) forced it out of
the lending business for extending credit “in an unsafe and unsound manner” and committing
violations of law and FDIC regulations

125. On March 7, 2007,`following_ an extensive investigation, the FDIC issued a
Cease & Desist Order to Fremont, concluding that Fremont was “operating with inadequate
underwriting criteria and excessive risk in'relation to the kind and quality of assets held by the
Bank,” “operating with a large volume of poor quality loans” and “engaging in unsatisfactory
lending practices” n

126. On October 4, 2007, the Massachusetts Attorney General brought an
enforcement action against Fremont for “unfair and deceptive business conduct,” “on a broad

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scale. Massachusetts v. Fremont Investment & Loan and Fremont General Corp., No. 07-
4373 (Sup. Ct. Mass.) (the “Massachusetts Action”). Specifically, the Massachusetts Action
alleged that Fremont abdicated its underwriting standards provided misleading or incomplete
information to borrowers made loans that it knew couldn’t be repaid and participated in
predatory lending.

127. According to the Massachusetts Action, Fremont’s loans were “structurally
unfair due to their multiple layers of risk with no meaningful consideration whether borrowers
[could] afford to pay the loans.»” Fremont “approve[ed] borrowers without considering or
verifying the relevant documentation related to the borrower’s credit qualifications including
the borrower’s income’7’; “approv[ed] borrowers for loans with inadequate debt-to-income
analyses that do not properly consider the borrowers’ ability to meet their overall level of
indebtedness and common housing expenses”; “failed to meaningfully account for [ARM]
payment adjustments in approving and selling loans”; “approved borrowers for these ARM
loans based only on the initial fixed ‘teaser’ rate, without regard for borrowers’ ability to pay
after the initial two year period”; “consistently failed to monitor or supervise brokers’ practices
or to independently verify the information provided to Fremont by brokers”; and “ma[de] loans

' based on information that Fremont knew or should have known was inaccurate or false,

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Exhibit A
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including, but not limited to, borrowers’ income, property appraisals and credit scores.” On
June 18, 2008, Fremont filed for bankruptcy.

128. Numerous confidential witnesses corroborate the FDIC’s findings and those in
the Massachusetts Action. For example, according to CW22, an Assistant Vice President,
Regulatory Risk Examiner at Fremont, who Was involved in the FDIC’s investigation of
Fremont, Fremont’s Regulatory Risk Management group (of which CW22 was a member)
submitted numerous adverse written findings to senior Fremont executives in 2005 and 2006,
which specifically highlighted unfair and deceptive acts that Fremont was engaging in, “pretty
obvious” poor lunderwriting, and problematic incentive compensation. CW22 stated that some
of the fraud was “so egregious” including “ridiculous” stated income applications yet nothing
was-being done about “obvious problems” including repeated broker fraud.

129. Fremont’s stated underwriting guidelines were not applied in a manner that
evaluated the borrower’s ability to replay. According to CW23, (an account executive at
Fremont’s Anaheim, California center from November 2005 to. June 2006), and CW24 (an
account manager at Fremont’s Downers Grove, Illinois center from August 2005 to January
2007), when borrowers were rejected for failing to meet Fremont’s underwriting criteria for
fully documented loans the loans were simply converted to “stated income” loans - with a
higher reported_income than previously documented - and approved. According to the separate
accounts of CW25 (an underwriter at Fremont’s Downers Grove, illinois center from August
2002 to January 2007) and CW26 (a senior account manager at Fremont’s Downers Grove,
Illinois center from July 2001 to February 2007), Fremont approved loans with unrealistic stated
incomes including “pizza delivery men” with reported monthly income of $5,000 or $6,000.
Fremont accepted claims that “landscapers and housekeepers” earned $10,000 in monthly
income, according to CW27 (a former senior underwriter at Fremont’s Anaheim and Ontario,
California centers from 2002 to 2007), and that “window washers” made $75,000 per year,

l according to CW26.

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Exhibit A

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130. According to CW28, an account manager from 2005 through l\/lay 2007, Fremont
continually ignored obviously fraudulent documents when approving loans j By way of
example, Fremont ignored a case where 40 loan files from the same broker had the exact same
banking statements according to CW29, a former quality control investigator at Fremont from
2002'until March 2007. Indeed, fraudulent bank statements and WZS were discovered and
ignored every day, according to CW30, a Fremont quality control auditor from May 2005 to
February 2007. According to CW31, an assistant operations manager at Fremont’s Anaheim,
California center from October 2003 to January 2007, when Fremont could not ignore
fraudulent information, such as a false pay stub, it simply removed the information from the file
or replaced it.

H. Wachovia’s Underwriting Practices

131. Wachovia Mortgage Corporation (“Wachovia”) was an originator for the Merrill
Lynch Alternative Note Asset Trust, Series 2007-F1. The Prospectus Supplement for MLALT-

2007-Fl stated the following about Wachovia’s underwriting guidelines

Wachovia manually underwrites every Jumbo A Fixed Rate,
Jumbo LIBOR ARM and Jumbo Alt A Fixed Rate/ARM loan and
generally follows Fannie Mae guidelines Wachovia uses Custom
Desktop Underwriter to supplement the underwriting of the Jumbo
A Fixed Rate and the Jumbo LIBOR ARM loans to ensure the
consistent and objective application of risk evaluation; however,
income/asset documentation, credit requirements collateral
documentation must be met for each product,

*>l¢*

The borrower’s capacity to repay, creditworthiness source of
funds for down payment and the adequacy of the collateral
securing the mortgage are evaluated per guidelines stated within
the Wachovia Mortgage Corporation online Products and
Underwriting Man ual.

*>l<*

Exception loans which are originated-outside of stated guidelines
are available to customers with demonstrated Wachovia
relationships and/or strong compensating factors Exception loans

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must be approved by exception officers within Wachovia, GBG or
the Wealth Management group.

132. The Offering Documents contained materially untrue statements and omissions
related to Wachovia’s underwriting standards because Wachovia systematically disregarded its
stated underwriting standards and regularly made exceptions to its underwriting guidelines in
the absence of sufficient compensating factors Wachovia’s underwriting was characterized by,
among other things: (a) widespread falsification of borrower income and employment
information; (b) regular use of “instant underwriting events” during Which high-risk loans Were
approved Without meaningful review. Additionally, Wachovia’s compensation structure
incentivized employees to increase the volume of loans originated, without regard to borrower
risk. d y

133. Wachovia was a nationwide mortgage lender which originated conforming and
non-conforming, conventional, FHA and VA loans On October 1, 2006, Wachovia’s parent
corporation, Wachovia Corporation, purchased Golden West, a California-based thrift which
specialized in residential mortgage lending.

134. Golden West principally originated adjustable-rate mortgages known as “Pick-A-
Pay” (“Option ARM”) loans which initially carried a low “teaser” interest rate, but later “reset”
to a higher rate. Additionally, these loans contained a “negative amortization” feature which
provided the borrower the option of paying less than the calculated monthly interest. If the
borrower elected negative amortization, the remaining interest would simply be added to the
principal balance (causing the balance to grow rather than shrink each month). These features
caused Option ARM loans to be potentially much riskier than traditional mortgage loans and
required conservative underwriting in order to limit risk.

135. After the Golden West acquisition, Wachovia expanded the origination of Option
ARM loans In a December 25, 2008 New York Times article, Russell W. Kettell, a former chief
financial officer of a Golden West subsidiary stated, “the merger created ‘pressure’ for ‘a pretty

“G

ood-sized increase in loan volume,”’ and Wachovia wanted volume and wanted rowth.”’ In
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2007, Wachovia extended $33.4 billion in Option ARM loans - a 34% increase over 2004 and
2005 .

1'36. According to CW32, a former Wachovia mortgage consultant from 2005 to 2008
in Connecticut: “One of the things we were taught to sell was our underwriting, that we could
make and break our own rules It was in our [sales] slides We would get [loans] done.”
CW33, a former Golden West and later Wachovia mortgage consultant and Territory Manager
during 2004 to 2007, described how a lot of “the wrong borrowers” were put into Pick-A-Pay
loans and that this was especially true after the merger: “Wachovia had people working for
them who didn’t understand the product,” and qualified many people in those loans “who didn’t
deserve them” at the minimum payment rate. ll

' 137 . Wachovia’s Option ARM personnel in California routinely held “instant
underwriting” events during which they collected large groups of the high-risk loans from
outside mortgage brokers and approved them en masse, without regard for stated underwriting
guidelines or credit risk. For example, CW34, a former senior account executive and manager
at Golden West and then Wachovia from 1997 to 2007, stated that “instant underwritings” Were
a method for account executives to “go out and tell brokers to bring in all your crap loans that
are sitting on your desk that you don’t want that you are having trouble getting through” so they
could be approved. Underwriters reviewed the loans but “had to underwrite loads and loads of
loans,” which fostered mistakes and easier underwriting ‘ CW35, a California-based Senior
Underwriter who worked first for Golden West and then Wachovia from 2001 to 2009, recalled
one of his managers asking instant underwriters to approve a large stack of mortgageswhere
many of the borrowers were delinquent on everything except their mortgage CW35 stated that
“instant underwriting” Was basically telling the brokers “Yeah, we can do the loan. We’ll bring
it back and get it done.”

I. C-BASS’s Underwriting Practices

138. Credit-Based Asset Servicing` and Securitization LLC’s (defined above as “C-

BASS”) was a mortgage investment and servicing company that specialized in the purchase and

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securitization of subprime mortgages FitchRatings described C-BASS’s general business
strategy of as one that “targeted investment in ‘scratch and dent’ sub-performing and non-
performing whole loans subprime whole'loans subordinate RMBS and servicing rights ”
7 Similarly, the American Banker described C~BASS as a firm “best known for buying ‘scratch-`
and-dent’ home loans.”_ “Scratch-and-dent loans’,’ are loans or mortgages that have one or more
combination of “defects” stemming from originations made outside a lender’s implemented
credit guidelines deficiencies in loan documentation, errors made in following regulatory
compliance laws irregular payment history or borrower defaults
139. C-BASS did not originate loans but frequently served as the “Sponsor” of
securitizations, including the C-BASS 2007-CB4 Trust. The Prospectus Supplement for C-
`BASS 2007-CB4 Trust stated that C-BASS purchased the mortgage loans underlying the
Certificates from “various originators” including New Century Financial Corporation (“New
Century”). The C-BASS 2007-CB4 Offering Documents stated that the loans C-BASS acquired
from these originators were “subjected to due diligence review” and that “[C-BASS] or a loan
reviewer has reviewed a majority of the files related to the Mortgage Loans in connection with
the acquisition of the Mortgage Loans for credit and compliance considerations” as follows:

In its review, the Sponsor evaluates the mortgagor ’s credit standing,
repayment ability and willingness to repay debt. A mortgagor ’s
ability and willingness to repay debts (including the Mortgage
Loans) in a timely fashion is determined by the Sponsor by reviewing
the quality, quantity and durability of income history, history of debt
management history of debt repayment and net worth accumulation
of the mortgagor to the extent such information is available.

In addition, the Sponsor may also obtain and review a current credit
report for the mortgagor. During its mortgage file review, the Sponsor
also confirms that the Mortgage Loan was originated in material
compliance with applicable federal, state and local laws and
regulations In connection with its review for property value '
considerations the Sponsor may obtain, for a portion of the Mortgage
Loans, a current appraisal, broker’s price opinion, automated valuation
methodology price (“AVM'”) and/or drive-by or desk review of such
property or any combination thereof, prepared within six months of the .
Sponsor’s purchase ‘ ~

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140. The Offering Documents contained materially untrue statements and omissions
related to C-BASS’s “due diligence review” procedures because C-BASS’s “due diligence
review” was ineffective and did not result in a determination of “the mortgagor’s ability and
willingness to repay debts.” Originators from whom C-BASS purchased loans including New
Century: (1) systematically disregarded their underwriting standards and originated mortgage
loans with the intent of increasing volume, rather than evaluating the mortgagor’s ability and
willingness to repay the loan; and (2) regularly made exceptions to their underwriting guidelines
in the absence of sufficient compensating factors 11143-47. As shown in the chart below at
paragraph 209, the percentage of loans in C-BASS 2007-CB4 that are currently either 60 days
or more delinquent, in foreclosure, or bank-owned is 46.76%.

141. Mortgage insurers MGIC Investment Corporation (“M§IC”) and Radian Group,
Inc. each owned a 46% interest in C-BASS. In 2006, MGIC’s interest was valued at $450

v million and C-BASS was responsible for 24% and 16%_ of MGIC’s 2006 profits respectively.
MGlC’s CFO sat on C-BASS’s Board of Directors. On April 12, 2007, C-BASS CEO Bruce
Williams explained in a MGIC conference call that MGIC would report a pretax loss primarily
attributable to C-BASS’s subprime loan portfolio:

This past quarter the subprime market experienced a substantial
repricing and increase in credit risk premium. This is primarily
due to the well-publicized issues with subprime loans, especially
the 2006 vintage to include ' poor underwriting, increasing
delinquencies and foreclosures

142. On July 31, 2007, C-BASS issued a press release stating that it paid $290 million
in lender margin calls “during the first 6 months of 2007.” On August l, 2007, MGIC filed a
Form 8-K which' stated that, on July 26, 2007, MGIC determined that C-BASS was materially
impaired. Specifically, the 8-K noted:

After considering the accelerating amount of margin calls to which
C-BASS was subject and C-BASS’s available resources to meet
such margin calls on July 26, 2007, the Company’s Chief
Financial 0fficer and its Chief Accou_nting Officer concluded
that a material charge for impairment of the Company’s '
investment in C-BASS was required under generally accepted

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accounting principles These officers determined that the
upper boundary of the impairment charge could be the Company’s
entire investment in C-BASS [$516 million].

Radian issued a similarly-worded v announcement, declaring its investment in C-BASS
“impaired.”

143. New Century originated nearly 20% of the loans that C-BASS purchased or
acquired for inclusion in the C-BASS 2007-CB4 Trust. According to the Prospectus
Supplement, C-BASS purportedly conducted a due diligence review and “evaluated`the
mortgagor’s credit standing, repayment ability and willingness to repay debt,” including the
New Century loans underlying the vC-BASS 2007-CB4 Trust. Prior to its collapse and
bankruptcy filing, New Century was one of the nation’s largest mortgage finance companies
On February 29~, 2008, Michael J. Missal, Bankruptcy Court Examiner for New Century
(“Examiner”), issued a detailed report of the various deficiencies at New Century, including lax
mortgage origination standards. The Examiner’s report detailed “serious loan quality issues at
[New Century] beginning as early as 2004”; numerous “red flags” relating to loan quality; and
the failure of New Century’s senior management and board `of directors to devote sufficient
attention to improving loan quality until it “was too late to prevent the consequences of
longstanding loan quality problems in an adversely changing market.”

144. Numerous confidential witnesses corroborate the Examiner’s findings
According to CWll, a former New Century fraud investigator and senior loan underwriter
employed from' January 1999 until April 2007 and who examined numerous New Century
mortgage loans New Century’s problems began when it “started to abandon prudent
underwriting guidelines” at the end of 2003 in order to “push more loans through” the system. ~
According to CWI 1, New Century, in effect, “stopped underwriting” and adopted an approach
that the Company would be “okay if [it] could out run [its] delinquency rate.”

145. According to CW36, a former New Century Vice President of Corporate Finance
from 20027until April 2007, starting in 2004-05 New Century changed its practice with respect

to stated income loans Although the Company had always had the program, it was originally

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used primarily with self-employed borrowers CW36 stated that New Century began allowing
- riskier stated income loans for W-2 wage earners who should have been able to verify their
stated income, but did not.

146. According to CW12, a former New Century Senior Vice President employed
from July 2005 until April 2006 in Irvine, Califomia, New Century could only meet its
increasing year-over-year sales projections if it lowered underwriting standards. According to
CW12, the former Senior Vice President of New Century would approve just about any loan
under New Century’s “wea ” underwriting standards.

147. According to CW13, a former New Century underwriting unit manager
employed from- 1998 through October 2006, underwriting standards were loosened in order to
increase sales volume. According to CW13, exceptions to New Century’s underwriting
standards were “the norm” and employees were told to make loans “work.” At one meeting in
the late spring of 2006, operations manager told CW13 and other underwriters that they had to
do what was necessary to increase volume.

l J. Additional Originators’ Underwriting Practices
148. The Prospectus Supplements stated that the following mortgage originators

contributed mortgage loans to the 19 trusts at issue:

 

 

Originators
Accredited Home Lenders, Inc. Merrill Lynch Credit Corporation
Ameriquest Mortgage Company Mortgage IT, Inc.
Argent Mortgage Company, L.L.C. Mortgage Lenders Network USA, Inc.
Fieldstone Mortgage Company People’s Choice Home Loan, lnc.
First National Bank of Nevada PHH Mortgage Corporation
First Republic Bank 'Washington Mutual Bank
GreenPoint Mortgage Funding Inc. Wilmington Finance, Inc.
IndyMac Bank, F.S.B.

 

 

 

 

149. The Prospectus Supplements set forth the underwriting standards for additional

originators who originated 20% or more of the underlying mortgages in any one trust. These

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statements were untrue and omitted material facts because many originators industry-wide
systematically failed to follow their stated underwriting guidelines

y 150. By way of background to the industry-wide failures the traditional mortgage
model involved a bank originating a loan to the borrower/homeowner and retaining the credit
(default) risk. As such, under the traditional model, the loan originator had a financial incentive
to ensure that`(l) the borrower had the financial wherewithal and ability to repay the promissory
note; and (2) the underlying property had sufficient value to enable the originator to recover its
principal and interest in the event that the borrower defaulted on the promissory note.

151. With the advent of securitization, the traditional model gave way to the
“originate to distribute” model, in which banks and originators sold the mortgages and
transferred credit risk to investors through mortgage-backed securities Securitization meant
that those originating mortgages were no longer required to hold them to maturity. By selling
the mortgages to investors the originators obtained funds enabling them to issue more loans
and generate transaction fees This increased the originators’ focus on processing mortgage
transactions rather than ensuring their credit quality.

152. Loan fees and sales revenue became the originator’s primary profit mechanism,
making the sheer quantity of loans issued more important than the quality of any particular loan.
To facilitate more loans lenders began to offer more aggressive loan products such as subprime
mortgages hybrid loans and negative amortization “option ARM” loans with little or no
documentation, As loan origination quantities increased, loan originators failed to follow their
stated underwriting and appraisal standards and other methods of risk assessment

153. Wall Street banks including Merrill Lynch, entered into the complex, high-
margin business of packaging mortgages and selling them to investors as MBS, including
mortgage pass-through certificates By buying and packaging mortgages Wall Street enabled
the lenders to extend credit even as lending practices deteriorated and the dangers grew in the

housing market. At the center of the escalation was Wall Street’s partnership with subprime

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lenders This relationship was a driving force behind the once-soaring home prices and the
spread of exotic loans that are now defaulting and foreclosing in record numbers

154. As is now evident, far too much of the lending during that time was neither
responsible nor prudent. According to Ben S. Bernanke, Chairman of the Federal Reserve
Board, in a March 14, 2008 speech at the National Community Reinvestment Coalition Annual

'» Meeting, “[t]he deterioration in underwriting standards that appears to have begun in late 2005

is another important factor underlying the current crisis A large share of subprime loans that
were originated during this time feature high combined loan-to-value ratios and, in some cases
layers of additional risk factors such as a lack of full documentation or the acceptance of very
high debt-to-income ratios.” In its March 2008 Policy Statement on Financial Market
Developments, the President’s Working Group on Financial Markets concluded that “[t]he
turmoil in financial markets clearly was triggered by a dramatic weakening of underwriting
standards for U.S. subprime mortgages beginning in late 2004 and extending into early 2007.”
(Emphasis in.original). As U.S. housing prices subsequently declined, the delinquency rate for
such mortgages soared. l

15 5. F or example, IndyMac Bank F_.S.B. (“IndyMac”) was an originator of mortgages
in the Merrill Lynch Alternative Note Asset Trust, Series 2007-F1. On July 11, 2008, IndyMac
collapsed and went into receivership of the Federal Deposit Insurance Corporation due to under-
capitalization. It was forced to retain $10.7 billion worth of loans that it could not sell in the
secondary market. A July 12, 2008 article published in the Pasadena Star-News entitled
“IndyMac Cashes Out” quoted Michael W. Perry, IndyMac’s former Chairman and CEO,
stating, “Speculators often lied about homes being owner-occupied and lenders got caught up in
the housing frenzy. We got too carried away and loosened our guidelines too far.” An~
IndyMac spokesperson represented in an interview with T he Grange County Register that
IndyMac, “given strong competition in a declining overall mortgage market . . . in order to
compete and grow, loosened its lending standards along with everyone else, though in a more-

responsible way . . .”

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EXhibit A

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156. Accredited Home Lenders Holding Co. (“Accredited”) originated loans in the
Merrill Lynch Mortgage Investors 2006-AHLI Trust. Former employees of Accredited Home
confirm the lack of underwriting and appraisal standards. According to CW14,. a Corporate
Underwriter at Accredited between June 2004 and March 2005, managers on the sales side
frequently overruled underwriting decisions CW14 noted such loans were tracked internally,
and it was well-known they performed poorly. Moreover, according to CW14, in early 2005,
Accredited approved risky loans that did not comply with its own underwriting guidelines in an
effort to reach monthly production targets

157. According to CW15, a Corporate Underwriter at Accredited between August
2003 and February 2006 in. Tampa, Florida, Operations Managers and Senior Operations
Managers constantly overruled decisions to reject loan applications According to CW15, “The
problem with the whole system was the overrides The overrides were rampant. If the borrower
breathed, he got the loan.”

15 8. According to CW16, a Corporate Underwriter at Accredited in' San Diego
between May 2002 and November 2006, Accredited’s underwriters who reviewed and approved
or denied loans were being overridden, frequently resulting in loans that did not comply with
underwriting guidelines According to CW16, the number of overrides grew so large that
Accredited was forced to institute a system to track such overrides The system included a box
on the loan file that an underwriter needed to check if a_higher-level manager approved the loan
“as a business decision”'over the recommendation of the underwriter.

159. According to CW17, a Corporate Underwriter at Accredited between June 2000
and March 2007 in both the San Diego, California, and Austin, Texas, offices “At the end of
the month, we were handed loan files and told to just sign them with no audit.”

160. According to CW18, the Chief Appraiser at Accredited for five years between
2002 and June 2007, Accredited allowed both corporate,underwriters and sales managers to
override the decisions of licensed property appraisers In many cases an appraisal reviewer

working for Accredited would reject a loan application after concluding that the appraisal

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submitted with the application was inflated. According to CW18, the account executive who
submitted the loan application would become annoyed by the rejection and appeal the decision
to a sales manager who then would overturn the appraisal reviewer’s decision without any valid
justification According to CW18, overrides of appraisers’ decisions were rampant: “As of June
2006, between 12% and 15% of our business was being done through management overrides.”

161. On May 1, 2009, Accredited filed for bankruptcy. Accredited faced huge
demands from banks to repurchase loans In bankruptcy filings Accredited stated that it faces
more than $200 million in repurchase claims The banks assert that certain loans they
purchased are defective and violate the purchase agreements they' made with Accredited
because they contain serious mistakes or borrowers defaulted too quickly.

162. Argent Mortgage Company, L.L.C. (“Argent”) originated loans in Merrill Lynch
Alternative Note Asset Trust, Series 2007-F1. According to a December 7, 2008, article in the
Miami Herala', employees of Argent ~ including a vice president named Orson Benn - actively
assisted mortgage brokers in falsifying borrowers’ financial information by “tutoring . . .
mortgage brokers in the art of fraud.” Employees “taught [brokers] how to doctor credit
reports coached them to inflate [borrower] income on loan applications and helped them invent
phantom jobs for borrowers” so that loans could be approved. According to Mr. Benn himself, n
“the accuracy of loan applications was not a priority.” The Miami Herald examined the
applications for 129 Argent loans and “found at least 103 that contained false and misleading
information” and “red flags: non-existent employers grossly inflated salaries and sudden,
drastic increases in the borrower’s net worth.” The article noted that: “The simplest way for a
bank to confirm someone’s income is to call the employer. But in at least two dozen cases the

l` applications show bogus telephone numbers for work references . . . .” Argent’s lack of
verification was so poor that a “borrower [who] claimed to work a job that didn’t exist . . . got
enough money to buy four houses.” Another borrower “claimed to Work for a company that

didn’t exist - and got a $170,000 loan.”

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163. Moreover, according to a May 11, 2008 Clevelana1 Plain Dealer article, Jacqulyn
Fishwick, who worked for more than two years at an Argent loan processing center near
Chicago as an underwriter and account manager, noted that “some Argent employees played .
fast and loose with the rules” and stated “I personally saw some stuff I didn’t agree with.” Ms.
Fishwick “saw [Argent] account managers remove documents from files and create documents
by cutting and pasting them.”

164. GreenPoint Funding, Inc. (“GreenPoint”) originated mortgages in (1) Merrill
Lynch Alternative Note Asset Trust, Series 2007-A3 and 2007-AF1; and (2) Merrill Lynch
Mortgage Investors 2006-A1. ` ln U.S. Bank v. GreenPoint, a consultant reviewed the
documentation for GreenPoint loans underlying a securitized transaction and concluded that
93% of the loans that GreenPoint sold contained errors omissions misrepresentations
negligence, fraud or similar occurrences in connection with the origination and underwriting of
the loans.z Just two years after the closing of the securitization transaction, approximately 29%
of the loans in the original pool balance had either been written down completely or were
severely delinquent

165 . According to the complaint in that action, the consultant found that loans which

GreenPoint underwrote and originated suffered from serious defects including:

¢ pervasive misrepresentations and/or negligence with respect to the statement
of the income, assets or employment of the borrower;

0 misrepresentations of the borrower’s intent to occupy the property as the
borrower’s residence and subsequent failure to so occupy the property;

0 inflated and fraudulent appraisal values; and
v pervasive violations of GreenPoint’s own underwriting guidelines and prudent

mortgage-lending practices including loans made to borrowers (i) who made
unreasonable claims as to their income, (ii) with multiple, unverified social-

 

2 See U.S. Bank Nat’l Ass’n, et al., v. GreenPoint Mortgage Funding, Inc., New York Sup. Ct.
09-600352 (Feb. 5, 2009) (“U.S. Bank v. GreenPoint”); Bank of America, N.A. v. GreenPoint
Mortgage Funding, Inc., Case No. 3:09-CV-71 (W. D. N.C. Feb. 26, 2009),

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security numbers (iii) with credit scores below the required minimum, (iv)
with debt-to-income and/or loan-to-value ratios above the allowed maximum
or (v) with relationships to GreenPoint or other non-arm’s-length
relationships

166. Similarly, numerous borrowers and former GreenPoint employees recently sued
GreenPoint for failures in its origination and underwriting practices Such actions include a
“whistleblovver” action filed in June 2008 by a former senior underwriter who GreenPoint
forced to approve mortgage loan applications containing fraudulent information by approving
applications after the underwriter had either denied such applications or made approval
contingent upon obtaining additional borrower documentation Steinmetz v. GreenPoint
Mortgage Funding, Inc., Case No. 08-civ-5367 (S.D.N.Y. June 12, 2008).

167. First National Bank of Nevada (“FNBN”) originated loans in Merrill Lynch
Alternative Note Asset Trust, Series 2007-A3. On July 25, 2008, the Office of the Comptroller
of the Currency (“OCC”) closed FNBN and named the FDIC as receiver. A press release dated
July 25, 2008 stated that the OCC acted after finding that FNBN was undercapitalized and had
experienced substantial dissipation of assets and earnings due to “unsafe and unsound” lending
practices j

168. The Mortgage Lenders Network USA, Inc. (“MLN”) originated mortgages in:
(1) Merrill Lynch Mortgage Investors Trust 2006-MLN1; (2) Merrill Lynch Alternative Note
Asset Trust, Series 2007-A3; and (3) Merrill Lynch Alternative Note Asset Trust, Series 2007-
AFl. MLN originated wholesale subprime loans and as of 3Q ’06, was the fifteenth largest
subprime lender in the United States. During 4Q ’06, MLN experienced a significant increase
in the number of early payment defaults in its subprime loans As early payment default rates
increased, MLN was forced to buy back the increasing number of loans that were subject to
repurchase requests

169. MLN was forced to shut down its wholesale loan origination business as of
December 29, 2006, At the time, MLN had a number of outstanding loan commitments that

had been closed, but not funded. Although MLN funded certain of these commitments through

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Exhibit A

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` placement with other entities not all were funded. On January 2, 2007 MLN announced that
during the prior two months lending conditions had “deteriorated dramatically,” and that it had
furloughed 80 percent of its employees On January 19, 2007, the Connecticut Banking
Commissioner issued a cease-and-desist order which, among other things ordered MLN to stop
making loans _Regulators in Massachusetts Vermont, Rhode Island, Pennsylvania, New
Hampshire, New York, Michigan, and Maine issued similar cease-and-desist orders
Ultimately, on February 5, 2007, MLN filed for bankruptcy.

170. PHH Mortgage Corporation (“PHH”) (on behalf of Merrill Lynch Credit
Corporation (“MLCC”)) originated loans in the Merrill Lynch Mortgage Investors Trust, Series
MLCC 2006-2. The MLCC 2006-2 Offering Documents represented that l\/ILCC’s
underwriting standards ~ which PHH applied in originating loans - “evaluate[d] an applicant’s
credit standing, financial condition, and repayment ability, as well as the value and adequacy of
the mortgaged property as collateral.” Likewise, the MLCC 2006-2 Offering Documents
represented that First Republic’s underwriting standards were applied “to assess the prospective
borrower’s credit standing, their ability to repay, and the value and adequacy of the mortgaged
property as collateral.” l

171. The Prospectus Supplement for the MLl\/H MLCC 2006-2 Trust represented that
the borrowers and the loans in MLMI MLCC 2006-2 were of superior quality. For example, the
MLMI MLCC 2006-2 Prospectus Supplement represented that First Republic, who originated
24% of the loans in the pool, typically loaned money to individuals “who are successful
professionals business executives and/or entrepreneurs” and those with “high liquidity and
substantial net worth.” Further, the Prospectus Supplement represented that the mortgage loans
underlying the Certificates were “primarily adjustable rate, conventional, fully amortizing,
first lien residential prime mortgage loans substantially all of which have an original term to
stated maturity of 30 years” (emphasis added). The Prospectus Supplement stated that, upon
issuance, 87.5% of the MLMI MLCC 2006-2 Certificates would be assigned investment-grade
ratings and 62.5% would be rated AAA.

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Exhibi't A

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172. The Offering Documents for MLMl MLCC 2006-2 contained materially untrue
statements and omissions regarding MLCC and First Republic’s underwriting and standards.
PHH admitted in its Form 10-Q filed August 8, 2008 to “loans with origination flaws” and that
the demand for its mortgages in the secondary market had therefore declined. The MLMI
MLCC 2006-2 Certificates have declined in value and are no longer marketable at the prices
paid by Plaintiffs and the Class. As reflected in its certification, Lead Plaintiff purchased
MLMI MLCC 2006-2 Certificates on September 6, 2006 at a price of '92.65 and sold the same
Certificates less than two years later on July 30, 2008 - a week before PHH’s admission of
“loans with origination flaws” - at 65.60, a 29% decrease in value, n

VII. THE OFFERING DOCUMENTS MISSTATED THE TRUE LTV
v RATIOS ASSOCIATED WITH THE UNDERLYING MORTGAGES

173. The Prospectus Supplements represented that the underlying mortgaged
properties would provide adequate security for the mortgage loans based in part on the l
appraised value of the properties securing the securitized mortgage loans The adequacy of the
mortgaged properties as security for repayment of the loans will have generally been determined
by appraisals conducted in accordance'with pre-established guidelines

174. ' Each securing property was to be appraised by a qualified, independent
appraiser, and each appraisal was required to satisfy applicable government regulations and be
on forms acceptable to Fannie Mae and Freddie Mac, As required by Fannie Mae and Freddie
Mac, and as represented by the underwriting standards set forth in certain of the Prospectus
Supplements the7 appraisals were to be in conformity with the Uniform Standards of
Professional Appraisal Practice (“USPAP”), as adopted by the Appraisal Standards Board of the
Appraisal Foundation. 4 v

175. With respect to real estate appraisals USPAP requires inter alia:

An appraiser must perform assignments with impartiality, objectivity, and independence,
and without accommodation of personal interests

In appraisal practice, an appraiser must not perform as an advocate for any party
or issue.

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Exhibi't A

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An appraiser must not accept an assignment that includes the reporting of
predetermined opinions and conclusions

>l¢ >l< *

lt is unethical for an appraiser to accept an assignment, or to have a
compensation arrangement for an assignment, that is contingent on any of the following:

1. ' the reporting of a predetermined result (e.g., opinion of value);

2 a direction in assignment results that favor the cause of the client;

3. the amount of a value opinion;

4 the attainment of a stipulated result; or

5 the occurrence of a subsequent event directly related to the appraiser’s

opinions and specific to the assignment’s purpose.

176. In addition, the Prospectus Supplements represented that the appraisal procedure

guidelines used by the loan originators including First Franklin and C-BASS, required an

4 appraisal report that included market data analysis based on recent sales of comparable homes
in the area. If appropriate, the guidelines required a review appraisal, consisting of an enhanced
desk, field review or automated valuation report confirming or supporting the original appraisal
value of the mortgaged property.

177. As represented in the Registration Statements and the Prospectuses, the “Loan-
_to-Value Ratio” or “LTV Ratio"’ of a mortgage loan at any given time is the ratio (expressed as
a percentage) of the then outstanding principal balance of the mortgage loan plus the principal
balance of any senior mortgage loan to the “value” of the related mortgage property. Only if
specified in a particular Prospectus Supplement may the LTV Ratio of certain mortgage loans
exceed 100%. The “value” of the mortgaged property, other than with respect to refinance
loans is generally the lesser of: (a) the appraised value determined in an appraisal by the loan
originator at the time of the origination, or (b) the sale price for such property.

178. The Prospectus Supplements also provided information regarding the weighted
averagel combined original LTV Ratio of the loans underlying the Certificates. The Combined -
LTV Ratio is provided in each Prospectus Supplement, in association with various loan

groupings including by loan type and documentation level, property type and geographical

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location. Moreover, each Prospectus Supplement made representations regarding the Combined
LTV Ratio. For example, the~MLFFML Trust Series 2007-A Prospectus Supplement stated that
“[t]he weighted average Combined Loan-to-Value Ratio of the Mortgage Loans as of the Cut-
off date was 99.54%.”

179. In retail or in-house mortgage loan originations many lenders allowed the sales
personnel or account executives to order and control the appraisals These sales personnel were
typically on a commission-only pay structure and were therefore motivated to close as many
loans as possible. These sales personnel and account executives would pressure appraisers to
appraise properties at artificially high levels or they would not be hired again, resulting in
appraisals being done on a “drive-by” basis where appraisers issued their appraisals without
reasonable bases for doing so.

180. "l`his lack of independence was noted by Alan Hummel, Chair of the Appraisal
Institute, in his testimony before the Senate .Committee on Banking. Hummel noted this

. dynamic created a “terrible conflict of interest”-where appraisers “experience systemic problems
of coercion” and were “ordered to doctor their reports” or else they would never “see work from
these parties again” and were “placed on exclusionary or ‘do-not-use’ lists.” Too often, this
pressure succeeded in generating artificially high appraisals and appraisals being done on a
“drive-by” basis where appraisers issued their appraisal without reasonable bases for doing so.

181. A 2007 survey of 1,200'appraisers conducted by October Research Corp. - a
firm in Richfield, Ohio, who publishes -Valuation Review - found that 90% of appraisers
reported that mortgage brokers and others pressured them to raise property valuations to enable
deals to go through. This figure was nearly double the findings of a similar study conducted just
three years earlier. The 2007 study also “found that 75% of appraisers reported ‘negative
ramifications if they did not cooperate, alter their appraisal, and provide a higher valuation.”
Adding to these problems was the fact that lenders for originations completed by mortgage
brokers generally lacked knowledge of the accuracy of the appraisals since they were typically

located far from the actual property and knew very little about the general area where the

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Exhibit A

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property was located. As` a result of this conduct, loans were frequently based on inflated
appraisals

182. As detailed above, CWs confirm the over-inflation of appraisals For example,
CW8, a senior underwriter at the Atlanta, Georgia, branch of Ownit from May 2005 to
December 2006, stated that appraisals were “absolutely” higher than the actual value of
properties Likewise, C'W9, a senior underwriter at the Portland, `Oregon, branch of Ownit from
February 2006 until December 2006, stated that at Ownit none of the appraisals went further
than a desk review and if an underwriter questioned the appraisal, management would just sign
off on it.

' 183. As detailed above, CWlO, a Corporate Underwriter at First Franklin from 2006
until June 2007, estimated that one in four appraisals reviewed at First Franklin was
overinflated. CW10 further stated that managers would approve loans that CW10 had rejected

7 _due to overinflated appraisals

184. In` addition, according to CW37, an account manager at Fremont’s Downers
Grove, Illinois center from January 2002 to July 2006, CW37’s superiors would call property
appraisers and request that they inflate their appraisal values by at least a few thousand dollars
and the appraisers would do so. According to CW29, while auditing loans in the Due Diligence
Department and later, in connection with CW29’s review of investor repurchase claims CW29
discovered, among other things incomplete appraisals appraisals that did not match the address
of the property, and appraisals that described the home as owner-occupied when it Was rented,
on the large majority of the loans

185. The Registration Statements and Prospectuses stated that only “[i]f specified in
the related Prospectus Supplement, the Loan-to-Value Ratio of certain Mortgage Loans may
exceed 100%.” Accordingly, each Prospectus Supplement included tabular data reflecting the
“Range of Combined Loan-to-Value Ratios” indicating the number of loans per each range of
Loan-to-Value Ratios, and the weighted average Combined Loan-to-Value Ratio for the

mortgage loans For example, the MLFFML Trust Series 2007-A Prospectus Supplement

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indicated that 4,714 loans (out of 5,004 total loans) were within the Loan-to-Value Ratio range
of 95.01% to 100%. "[lie weighted average Loan-to-Value ratiowas represented as 99‘.54%.
No loan was represented-to have a Loan-to-Value Ratio of greater than 100%. l
186. The above statements including the tabular statistics in each Prospectus
Supplement regarding the purported Loan-to-Value Ratios of the underlying mortgages were
untrue and omitted material facts because they failed to disclose that the Loan-to-Value Ratios
7 would have been higher if the underlying properties were appraised according to pre-
established, independent appraisal procedures and in accordance with USPAP, as stated in the
Prospectus Supplements Due to the inflated appraisals the LTV ratios listed in the Offering
Documents were artificially low, making it appear that the loans underlying the trusts were safer
and less risky than they really were.

VIII. THE GFFERING DOCUMENTS MISREPRESENTED THE
OVERCOLLATERALIZATION OF THE ISSUING TRUSTS

187. Defendants in structuring the Certificate tranche parameters provided for certain
“Credit Enhancement,” as set forth in the Prospectus Supplements Credit enhancement is
intended to provide protection to the holders of the Certificates against shortfalls in payments
received on the mortgage loans and helps increase the likelihood of the receipt of all payments
under the agreements pursuant to which the Certificates are issued. The Certificate
securitization and offering transactions provide various forms of credit enhancement, including
°subordination, shifting interests overcollateralization and excess interest Each form of credit
enhancement is necessarily dependent on the application and effectiveness of the originator’s
underwriting standards as well as an accurate appraisal of the mortgaged real estate and the
corresponding LTV ratio.

188. Each of _the Prospectus Supplements represented a pre-determined amount of
overcollateralization. In addition, the Certificate securitization and offering transactions were
structured such that the loans were expected to generate more interest than was needed to pay

interest on the Certificates (and related expenses of the Issuing Trust). Specifically, the

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weighted average interest rate of the mortgage loan was expected to be higher than the
aggregate of the weighted average pass-through rate on the Certificates plus the servicing fee
rate on the mortgage loans

189. The credit enhancements represented in the Prospectus Supplements directly
impact and correlate with the representations regarding the ratings assigned to each Certificate
tranche in a series offering. As stated in the Prospectus Supplements the ratings assigned to
mortgage pass-through certificates “address the likelihood of the receipt by certifcateholders of
payments required under the operative agreements.” The ratings “take into consideration the
credit quality of the mortgage pool including any credit support providers structural and legal
aspects associated with the [C]ertificates, and the extent to which the payment stream of the
mortgage pool is adequate to make payments under the [C]ertificates.” MLFFML Trust Series
2007-A Prospectus Supplement.3 As a condition to the issuance of the Certificates each
tranche in the series received respective ratings from the Rating Agency Defendants as set forth
in the Prospectus Supplements

190. The Prospectuses represented that the securitization structure of each of the
Certificate offerings was structured to include credit enhancement in the form of
overcollateralization. Each Prospectus Supplement stated a particular amount by which the
aggregate stated principal balance of the mortgage loans was greater than the aggregate class
principal of the Certificates at the time of the offering. For example, the MLFFML Trust Series
2007-A Prospectus Supplement stated:

The overcollateralization amount is the excess of the aggregate
outstanding principal balance of the mortgage loans over the
aggregate principal balance of the offered [C]ertificates and class
B-4 certificates On the closing date, the overcollateral»ization
amount will equal approximately 19.65% of the aggregate
outstanding principal balance of the mortgage loans as of the cut-
off date.

 

3 As is generally the case, the Prospectus Supplements for each Issuing Trust uniformly used
the same or substantially similar language.

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191. The Prospectuses and Prospectus Supplements stated, “Generally, because more
interest is required to be paid by the mortgagors than is necessary to pay the interest accrued on
the [C]ertificates and the expenses of the issuing entity, there is expected to be excess interest
each month. On each distribution date, subject to limited exceptions described herein, the
issuing entity will apply some or all of the excess interest as a principal payment on the most
senior classes of [C]ertificates then outstanding until the overcollateralization target is
reached....” b j

192. The above statements were untrue and misleading because, as detailed above,
they failed to disclose that many of the loan originators did not follow their underwriting and
property appraisal standards. Such failures increased the risk that many borrowers would not be
able to repay their loans; foreclosure sales would not recoup the full value of the loans; and the
aggregate expected principal payments would not, nor could they be expected to, exceed the

- aggregate class principal of the Certificates. As such, the Certificates were not protected with
the level of credit enhancement and overcollateralization represented to investors in the
Prospectus Supplements

IX. THE RATINGS AND STATEMENTS ABOUT
RATINGS MIS STATED THE OUALITY OF THE CERTIFICATES

193. The Registration Statements and Prospectuses stated that it was “a condition of
the issuance of the Offered Certificates that they be assigned” certain pre-determined ratings
from the Rating Agencies, as set forth in the Prospectus Supplements As stated:

Moody’s ratings on mortgage pass-through certificates address the
likelihood of the receipt by certificate holders of all distributions to
which such certificateholders are entitled. Moody’s ratings
opinions address the structural and legal issues associated with the
Offered Certificates including the nature of the underlying
Mortgage Loans

S&P ratings on mortgage pass-through certificates address the
likelihood of receipt by certificateholders of payments required
under the operative agreements S&P’s ratings take into
consideration the credit quality of the mortgage pool including
credit support providers structural and legal aspects associated
with the certificates and the extent to which the payment stream of

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the mortgage pool is adequate to make payments required under
the certificates

194. Each Prospectus Supplement listed the initial Ratings of the Certificates~_being
offered by the Issuing Trust. In each, certain Certificates were rated as investment-grade, in
accordance with the pre-established rating systems utilized by the Rating Agencies.' For
example, the MLFFML Trust, Series 2007-A, Prospectus Supplement included the following

chart identifying each Series 2007-A Certificate rating:

Ratings

It is a condition af the issuance of the Offered Certificates that they be assigned the ratings
designamd befow by each of hfoody*z and S&P.

 

Class of Certificates- Moodv’s S&SF
A_r nw AAA
A-Z Aza AAA
A-S Aa;a AAB'.
M~i . Aal M+
M~'.'»! ..... .. Aa?. AA
M-S ................ ._.._ Aa$ AA-
MJS» .................................. Al A+'

Class of Certificates. Moodv’s S&P
P»I-i ................................... AZ! A
M-B ................................... AS A-
B-l Bazl BBB+
B-?. ...................................... Baa? BBB
B»S .................................... Ba.a£l BBB-
R. ..................................... NR AAA

195. As detailed above, the Rating Agencies provided pre-determined ratings for the
Certificates as a condition to the issuing of the Certificates to the public. These pre-determined
credit ratings were, for virtually all tranches of the offered Certificates investment-grade The
Rating Agencies maintained investment-grade ratings on the Certificates until, at the earliest,
April 24, 2008.

196. The Offering Documents set forth ratings that were unjustifiably high and did not
represent the true risk of the Certificates as they were based on inaccurate information provided
to the Rating Agencies from the Merrill Sponsor and the Merrill Depositor and faulty
assumptions concerning how many underlying mortgages were likely to default. As a result, the

Certificates were secured by assets that had a much greater risk profile than represented

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Accordingly, Defendants were able to obtain superior ratings for the Certificates when in fact
they were not equivalent to other investments with the same credit ratings

197. The President’s Working Group on Financial Markets Policy Statement
Financial Market Developments (March 2008), confirms that there were flaws in Rating
Agencies’ assessments of subprime MBS and other complex structured financial products such
as asset-backed pass-through certificates For instance, the President’s policy statement noted
that “[a]lthough market participants had economic incentives to conduct due diligence . . . the
steps they took were insufficient.” l

198. Consequently, on June 11, 2008, the SEC proposed new rules that would, inter
alia, prohibit Rating Agencies from issuing ratings on a structured product, including mortgage
pass-through certificates unless information on_the assets underlying the product was made
available; prohibit Rating Agencies from structuring the same products they rate; and require
the public disclosure of the information used by Rating Agencies in determining a rating on a
structured product, including information on the underlying assets

199. in addition, on July 8, 2008, the SEC issued a Summary Report of Issues
Identified in the Commission Stast Examinations of Select Credit Rating Agencies
(“Summary Report”). The SEC’s Summary Report found flaws in the Rating Agencies’
procedures with respect to rating MBS products including: l

0 Rel`evant ratings criteria were not disclosed;

¢ None of the Rating Agencies examined had specific written procedures for rating
RMBS and CDOs;

0 The Rating Agencies did not always document significant steps in the rating
process - including the rationale for deviations from their models and for rating
committee actions and decisions - and they did not always document significant
participants in the ratings process;

0 Rating Agencies do not appear to have specific policies and procedures to
identify or address errors in their models or methodologies

¢ lThe rationale for deviations from the model or out of model adjustments was not
always documented in deal records As a result, in its review of rating files the 4

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Staff could not always reconstruct the process used to arrive at the rating and
identify the factors that led to the ultimate»rating; and

0 There was a lack of documentation of rating agency committee actions and-
decisions

_ 200; Furthermore, the SEC’s Summary Report stated that the Rating Agencies’
actions “make it difficult for the rating agencies’ internal compliance staff or internal audit staff
to assess compliance with the firms’ policies and procedures when conducting reviews of` rating
agency activities”

201. The Rating Agencies used models to produce the ratings for the Certificates.
These models were based upon loan performance prior to the year 2000. As detailed herein,
however, an unprecedented decline and deterioration in mortgage lending standards occurred
after the year 2000. For example, after the year 2000, lenders began to offer more aggressive
loan products such as subprime mortgages hybrid loans and negative amortization “option
ARM” loans T.he decline in lending standards and the increase in riskier exotic mortgage
products after 2000 rendered the Rating Agencies’ pre-2000 loan performance data obsolete.
The Rating Agencies did not, however, update their models to reflect these changes Thus,
when the Rating Agencies assigned “investment grade” ratings to the Certificates their
historical data no longer reflected the reality that mortgage credit quality was rapidly
deteriorating and did not reflect the reality of the performance of the riskier exotic mortgage
products

202. The Rating Agencies have admitted that the methodology used to rate mortgage-
backed securities between 2005 and 2007 was based on outdated and unreliable modeling of
borrowers’ default'risks. On October 22, 2008, in testimony before the United States House of
Representatives, Committee on Oversight and Government Reform, Deven Sharma, the
President of S&P, stated that “many of the forecasts we used in our ratings analysis of certain
structured finance securities have not been borne out.”

203. Frank Raiter, the former Managing Director and Head of Residential Mortgage

Bacl_<ed Securities Ratings at S&P, stated that credit rating modeling was not updated on a

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timely basis despite the fact that by early 2004, S&P had developed, but never implemented, a
ratings model that considered nearly 10 million loans and “covered the full spectrum of new
mortgage products particularly in the Alt-A and fixed/floating payment type categories.”
According to Mr. Raiter, a “consequence of continuing to use out-dated versions of the rating

l model was the failure to capture changes in performance of the new non-prime products As a
result, expected loss estimates no longer provided the equity necessary to support the AAA
bonds This in turn, generated the unprecedented number of AAA downgrades and subsequent
collapse of prices in the RMBS market.”

204. Mr. Raiter stated that “had these models been implemented we would have had
an earlier warning about the performance of many of the new products that subsequently lead to
such substantial losses That, in turn, should have caused the loss estimates mentioned above to
increase and could have thus caused some of these products to be withdrawn from the

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market. .. . Before the same Congressional Committee in October 2008, Jerome Fons, a
former Managing_Director of Credit Policy at Moody’s stated that the Rating Agencies “did not
update their models or their thinking” during the period of deterioration in credit standards.

205. 7 vNot only Were the ratings based on eroding standards and flawed models but the
Rating Agencies also used the faulty data about the underlying loans that the Merrill Depositor
provided to them. Such data included LTV ratios borrower credit-worthiness and ability to
repay the mortgage, and the sufficiency of the collateral. As detailed above, much of this data
was inaccurate due to the systemic violations of the underwriting standards inflated appraisals
and inaccurate LTV ratios

206. Because the Rating Agencies used flawed information and models to generate
their ratings the ratings assigned to the Certificates did not accurately reflect their risk.
Certificates were given investment grade ratings when in reality they were not of investment
grade quality. As such, the statements in the Offering Documents regarding the ratings of the

Certificates were untrue and omitted material information.

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X. EACH OFFERING DOCUl\/IENT CONTAINED
UNTRUE STATEMENTS AND MATERIAL OMISSIONS

207. As summarized in the Table of Untrue Statements below, each Prospectus
Supplement contained untrue statements of material fact or omissions regarding: (1) the
underwriting standards purportedly used in connection with the origination of the underlying
mortgages (2) the loan-to-value ratios and appraisals of the properties (3) the amount of credit

enhancement supporting the Certificates and (4) the ratings of the Certificates.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Table Of Untrue Statements
(1) (2) (3) ' (4)
Underwriting LTV Ratios And Credit Certificates’

Guidelines Appraisa|s Enhancement Ratings
Merrill Lynch First Franklin S-28-3»04 S-27, S-30-31 ' S-9 S-90
Mortgage Loan Trust 2007-A
Merrill Lynch Mortgage S-46-49, 50 . S-23, S-47-48 S-9 S-98
Investors Trust MLCC 2006-2
Merrill Lynch Alternative S-36-40 S-26-28, S-3 7-38 - S-7 S-126
Note Asset Trust 2007-F1

S-27-29 S-24-27, S-27-29 S-7-8 S-l 1 1-12
C-BASS 2007-CB4
Me,,iuLynch Mortgage s-32-35 s-31, s-33-34 s-9-10 s-113-14
Investors Trust 2006-WMC1
Me,,m LynchMmgage s-33-38 s-33, s-34~35 s-ro-rr s-105-06
Investors Trust 2006-AHL1
Merrill Lynch Mongage ' s-35-38 s¢35, s-36-37 s-11-12 s-111-12
Investors Trust 2006-MLN1
Merrill Lynch Mortgage . S-33-36 S-32, S-34-35 S-10-1 1 S-102-03
Investors Trust 2006-RM3’ ' _
Merrill Lynch Mortgage S-33-3 8 S-33, S-35-36 S-l 1-12 S-105-06
Investors Trust 2006-FM1
Merrill Lynch Mortgage S-35-38 S-34, S-36-37 S-l 1-12 S-107-08
Investors Trust 2006-RM5 '
Merrill Lynch First Franklin S'34'37 S"33, S'36'37 S'l 1'12 S'117'18
Mortgage Loan Trust 2007-2 .

 

 

 

 

 

 

 

4 “S-_” refers to the page numbers of the Prospectus Supplement.

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Table' Of Untrue Statements
(1) (2) l (3) (4)
Underwriting LTV Ratios And Credit Certificates’
Guidelines Appraisals 7 Enhancement Ratings

Merrill Lynch Firscrraru<lin S-35-39 S-34, S-38 S-11-12 s-124-25
Mortgage Loan Trust 2007-3 _
MemHLymh F,-,Stp`ranklin s-35~39 s-34, s-3s , s-11-12 s-121-22
Mortgage Loan Trust 2007-4 '
Merrill Lynch Mortgage S-32-44 S-32, S-34-35 S-10-1 1 S-l 10-1 l
Investors Trust 2006-WMCZ
Merrill Lynch Mortgage S-.25-3l S- l 7-20, S~ZS ` S-5-6 S-77-78
Investors Trust 2006-Al
Merrill Lynch Mortgage S-35-39 S-33, S-38 S-ll-l3 S-118
Investors Trust 2006-FF1
Merrill Lynch,Alfema'ti\/e S'45'55 S'35*37, S"46 S"9'10 S'155
Note Asset Trust 2007-A3 .
Merrill Lynch Alternative s-43-59 _s-32-36, s-44 s-10-11 s-170-71
Note Asset Trust 2007-AF1
Ownit Mortgage Loan Trust S-3 1-33 S-30, S-33 S-9-10 S-92
2006-2

 

 

 

 

 

 

 

XI. THE PERFORMANCE AND VALUE OF THE CERTIFICATES

208. Theratings on virtually all of the Certificates within each of the Issuing Trusts
have since been downgraded. As reflected in the chart below, which reflects the Trusts in which
the Plaintiffs purchased interests virtually all of the Certificates that were originally rated

“AAA” have been downgraded below investment grade.

 

PUBLIC EMPLOYEES’ RETIREIV[ENT SYSTEM OF MISSISSIPPI
Initial Rating Current Rating

 

 

 

 

 

Moody’s S&P Fitch Moody’s S&P Fitch

 

Merrill Lynch Aaa AAA B3 AAA
Mortgage ~

Investors

Trust MLCC

2006-2

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Merrill Lynch Aaa AAA Caal CC

Alternative
Note Asset'
Trust 2007-F1 7

 

IRON WORKERS LOCAL NO. 25 PENSION FUND

 

 

 

Initial Rating Current Rating
Moody’s S&P Fitch ' Moody’s S&P Fitch
C-BASS ' h q l v j ' '
2007-CB4 4
Trust A2D

 

WYOMING STATE TREASURER

 

Initial Rating Current Rating
Moody’s S&P Fitch Moody’s S&P Fitch

 

 

 

 

Merrill Lynch
Mortgage
Investors
Trust 2006-
Al

us
Merrill Lynch
Mortgage

Investors
Trust 2006-
AHl,l

Merrlll Lynch
Mortgage
Investors
Trust 2006-
RM3

 

Merrill Lynch Aaa AAA Ca 7 CCC
Mortgage

Investors

Trust 2006-

RM5

71

Exhibit A
80

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Memn Lynch
First Franklin

Mortgage
Loan Trust

  
 
  
 

 

CONNECTICUT CARPENTERS PENSION FUND AND CONNECTICUT CARPENTERS ANNUITY FUND
Initial Rating Current Rating
Moody’s S&P

 

    

 

 

Fitch

 

Ownit
Mortgage
Loan Trust

  

 

 

 

2006-2 M t. v
LOS ANGELES COUNTY EMPLOYEES RETIREMENT ASSOCIATION
Initial Rating Current Rating
Moody’s S&P Fitch Moody’s S&P Fitch

 

 

Merrill Lynch
Mortgage
Investors

Trust 2006-
Al

Merrill Lynch
Alternative
Note Asset
Trust 2007-

3

 

209. Further, the delinquency, foreclosure and bank ownership rates on the underlying
mortgages have soared since issuance. As reflected in the chart below, in 15 of the 19 Trusts in

which the Plaintiffs purchased interests the percentage of loans that are currently either 60 days

72
Exhibit A
t81

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or more delinquent, in foreclosure, or bank-owned exceeds 35%. In seven of these Trusts the

rate is at or above 50%.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

As of June 2010
Delinquent Delinquent Fore- '

60 days 90 days closure REO. Total
Merrill Lynch First Franklin Mortgage Loan 4.75% 7.43% 0.00% 0.00% 12.18%
Trust, Series 2007-A
Merrill Lynch Mortgage Investors Trust, Series 0.89% 3.66% 0.05% 0.18% 4.78%
MLCC 2006-2
Merrill Lynch Alternative Note Asset Trust, 3.23% 3.86% 7.90% 3.49% 18.48%
Series 2007-F1 `
C-BASS Mortgage Loan Asset-Backed 2.92% 17.21% 18.66% 7.97% 46.76%
Certificates Series 2007-CB4
Merrill Lynch Mortgage Investors Trust, Series 3.40% 26.49% 26,99% 2.62% 59.50%
2006-WMC1 '
Merrill Lynch Mortgage Investors Trust, Series 1.93% 23.58% 26.41% 3.21% 5 5 .13%
2006-AI-I]_,1 '
Merrill Lynch Mortgage Investors Trust, Series 2.44% 26.59% 28.64% 2.93% 60.60%
2006-MLN1
Merrill Lynch Mortgage Investors Trust, Series 2.53% 30.40% 13.88% 6.43% 53.24%
2006-RM3 '
Merrill Lynch Mortgage Investors Trust, Series 3.21% 24.35% 41.28% 3.83% 72.67%
2006-FM1
Merrill Lynch Mortgage Investors Trust, Series 1.87% 32.82% 31.38% 2.'95% 69.02%
2006-RM5 1 1 -
Merrill Lynch First Franklin Mortgage Loan 2.77% l6.60% 20.77% 4.79% 44.93%
Trust, Series 2007-2 '
Merrill Lynch First Franklin Mortgage Loan ‘ 3.30% - 18.25% 18'.73% 4.53% 44.81%
Trust, Series 2007-3
Merrill Lynch First Franklin Mortgage Loan 2.91% 18.19% 19.70% 4.87% 45.67%
Trust, Series 2007-4
Merrill Lynch Mortgage Investors Trust, Series 3.11% 25.45% 32.31% 2.88% 63.75%
2006-WMC2
Merrill Lynch Mortgage Investors Trust, Series 2.22% 15.92% 15 .66% 4.28% 38.08% .
2006-Al
Merrill Lynch Mortgage Investors Trust, Series 1.91% 6.40% 8.13% 1.81% 18.25%
2006-FF1

73
Exhlblt A

82

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As of June 2010
Delinquent Delinquent Fore- '

60 days 90 days closure REO Total
Merrill Lynch Alternative Note Asset Trust, 1.08% 11.24% 23.60% 6.60% 42.52%
Series 2007-A3 `
Merrill Lynch Alternative Note Asset Trust, 2.35% 14.50% 14.41% 4.14% - 35 .40%
Series 2007-AF1
Ownit Mortgage Loan Asset-Backed 3.33% 17.31% 15.33% 7.02% 42.99%
Certificates Series 2006-2

 

 

 

 

 

 

 

 

XII. MERRILL LYNCH’S CONTROL OF THE MERRILL DEPOSITOR
210. The Merrill Depositor, a wholly-owned subsidiary of Merrill Lynch, is the issuer
of the Certificates and committed primary violations of the Securities Act, as alleged herein.
Merrill Lynch had the power to director cause the direction of the management and policies of`
the Merrill Depositor. Indicia of Merrill Lynch’s control over the Merrill Depositor include, for
example, the following:l (i) Merrill Lynch created the Merrill Depositor and defined its purpose;
(ii) statements in Merrill Lynch’s SEC filings show Merrill Lynch’s control through
comprehensive involvement with the Merrill Depositor’s functional operations (iii) Merrill
Lynch directly participated in the Merrill Depositor’s issuance of the Certificates including
prominently featuring “Merrill Lynch & Co.” on the front page of each Prospectus and
Prospectus Supplement; (iv) revenue from the Merrill Depositor’s securitizations inured
exclusively to Merrill Lynch’s benefit; and (v) Merrill Lynch’s managing partner and its
difector and senior counsel signed the Merrill Depositor’s registration statements

211. Controlling the first step in the securitization process Merrill Lynch created
special-purpose entities (“SPES”), wholly-owned subsidiaries that purchased residential
mortgage loans for Merrill Lynch’s securitization business Merrill Lynch established the
Merrill Depositor to acquire the mortgage loans from the Merrill Sponsor, and to »securitize and
sell them to investors in the form of the Certificates. Merrill Lynch limited the Merrill
Depositor to only one corporate purpose that advanced the interest of Merrill Lynch’s
securitization business

According to the Offering Documents the Merrill Depositor’s

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Exhibit A
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certificate of incorporation limited its activities to “those necessary or convenient to carry out its
securitization activities.”

212. Publicly, Merrill Lynch represented that it (not the Merrill Depositor or its other
SPES) controlled Merrill Lynch’s securitization business According to Merrill Lynch’s Forrn
10-Ks for the years ended December 29, 2006 (“2006 Form 10-K”) and December 28, 2007
(“2007 Form lO-K”), “[i]n the normal course of business Merrill Lynch securitizes .
residential mortgage loans.” Merrill Lynch described its comprehensive involvement with the
operations of its SPEs, such as the Merrill Depositor. Merrill Lynch’s “involvement with SPEs
used to securitize financial assets includes structuring and/or establishing SPEs selling assets
to SPEs managing or servicing assets held by SPES; 'underwriting, distributing, and making
loans to SPES; making markets in securities issued by SPES; engaging in derivative transactions
With SPEs; owning notes or certificates issued by SPEs; and/or providing liquidity facilities and
other guarantees to, or for the benefit of, SP'Es.”

213. Merrill Lynch further controlled the Merrill Depositor through its executives and
directors Defendant Park, a managing partner of Merrill Lynch, served as the President and
Chairman of the Board of the Merrill Depositor. Defendant McGovern, a Director and Senior
Counsel at Merrill Lynch, served as a Director of the Merrill Depositor. The Merrill Depositor
did not have separate facilities outside of` Merrill Lynch. W_hen Merrill Lynch created the
Merrill Depositor, it located the Merrill Depositor’s principal place of business at the same
location as Merrill Lynch and with the identical registered agent and registered office in
Delaware.

v 214. Merrill Lynch also participated directly in the Merrill Depositor’s issuance of the
Certificates. Such issuance was done pursuant to the Prospectus Supplements Merrill Lynch’s
own corporate title - “Merrill Lynch & Co.” - was-featured prominently in oversized and bold
font on the front page of each Prospectus and Prospectus Supplementsin this case. Merrill-
Lynch, through the Merrill Depositor, used these Prospectuses and Prospectus Supplements to

market and sell the Certificates to investors

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EXhibit A
84

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7 7 $_656,531,100 (prroximatd)
Merrill Lynch'i Mortgage Investors Trust
Series 2006-151 /Primary Violator

timeliness /

     

 

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/Controlling Entity

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215. The securitization activities of the Merrill Depositor inured exclusively to the
benefit of Merrill Lynch, Revenues from the issuance and sale of Certificates were passed
through to Merrill Lynch and consolidated into its financial statements According to the 2007
Form 10-K, in 2006 and 2007, Merrill Lynch reported “cash inflows” of -$95.8 billion and
$100.2 billion, respectively, from residential mortgage loan securitization transactions
XIII. CLASS ACTION ALLEGATIONS

216. Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3), individually and on behalf of themselves and all persons or entities
who purchased or otherwise acquired beneficial interests in the following Trusts that issued

Certificates pursuant and/or traceable to the Registration Statements Merrill Lynch Alternative

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EXhibit A
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Note Asset Trust, Series 2007-A3, Merrill Lynch Alternative Note Asset Trust, Series 2007-
AFl, Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, Merrill Lynch First
Franklin Mortgage Loan Trust, Series 2007-3, Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-4, Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-A, C-
BASS 2007-CB4 Trust, Merrill Lynch Alternative Note Asset "l`rust, Series 2007-Fl, Merrill
Lynch Mortgage Investors Trust, Series 2006-MLN1, Merrill Lynch Mortgage Investors Trust,
Series 2006-FM1, Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, Merrill Lynch
Mortgage Investors Trust, Series 2006-RM5, Merrill Lynch Mortgage Investors Trust Series
MLCC 2006-2, Merrill Lynch Mortgage Investors Trust; Series 2006-AHL1, Merrill Lynch
Mortgage Investors Trust, Series 2006-RM3, Merrill Lynch Mortgage Investors Trust, Series
2006-WMC1, Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2, Merrill Lynch
Mortgage Investors Trust, Series 2006-A1, Ownit Mortgage Loan Trust, Series 2006-2 (the
“Class”). y
217 . This action is properly maintainable as a class action for the following reasons:

a) The Class is so numerous that joinder of all members is impracticable While the
exact number of Class members is unknown to Plaintiffs at this time and can
only be ascertained through discovery, Plaintiffs believe that there are thousands
of members of the proposed Class, who may be identified from records
maintained by the Issuing Defendants and/or may be notified of this action using
the form of notice customarily used in securities class actions.

b) Plaintiffs are committed to prosecuting this action and have retained competent
counsel experienced in litigation of this nature. Plaintiffs’ claims are typical of
the claims of the other members of the Class and Plaintiffs have the same
interests as the other members of the Class. Accordingly, Plaintiffs are
adequately representative of the Class and will fairly and adequately protect the

interests of the Class.

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Exhibil A
86

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c) The prosecution of separate,actions by individual members of the Class would
create the risk of inconsistent or varying adjudications With respect to individual
members of the Class, Which Would establish incompatible standards of conduct
for Defendants, or adjudications With respect to individual members of the Class
Which Would, as a practical matter, be dispositive of the interests of the other
members not parties to the adjudications or substantially impair or impede their
ability to protect their interests. l

d) A class action is superior to all other methods for a fair and efficient adjudication
of this controversy. There Will be no difficulty in the management of this action
as a class action. Furthermore, the expense and burden of individual litigation
make it impossible for members of the Class to individually redress the Wrongs
done to them.

218. There are questions of law and fact which are common to the Class and Which
predominate over questions affecting any individual class member. The common questions
include, inter alia, the following:

a) Whether Defendants violated the Securities Act;`

b) Whether statements made by Defendants to the investing public in the
Registration Statements, Prospectuses and Prospectus Supplements both omitted
and misrepresented material facts about the mortgages underlying the issuing
Trusts; and

c) The extent and proper measure of the damages sustained by the members of the

.Class.
XIV. PLAINTIFFS HAVE STANDING TO PURSUE THE CLAIMS ALLEGED

219. Plaintiffs have constitutional standing to advance the claims alleged herein. As
set forth in the attached certifications, Plaintiffs purchased Certificates, allege to have been

j damaged by Defendants, and there is at least one named plaintiff Who can assert a claim directly

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Exhibif A
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Case 1 :08-cv-1084

  
 

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against each defendant Accordingly, Plaintiffs have alleged concrete and particularized
invasions of legally protected interests for all of the claims alleged under the Securities Act.
XV. CAUSE OF ACTION l

COUNT l

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Alternative Note Asset Trust Series 2007-A3

220. Lead Plaintiff and Plaintiff LACERA assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Paul Park, Brian T. Sullivan, Michael M. McGovern and Donald
J. Puglisi on behalf of investors Who purchased or acquired Certificates in Merrill Lynch
Alternative Note Asset Trust, Series 2007-A3._ l

221. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes ofthis Count, Plaintiffs expressly exclude and disclaim any allegation ‘
that could be construed as alleging fraud 'or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act. ~

222. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Alternative Note Asset Trust, Series 2007-A3 (“MLALT
2007-A3”). The MLALT 2007-A3 Certificates Were issued pursuant or traceable to the March
Registration Statement. Individual Defendants Paul Park, Brian T. Sullivan, Michael M.
McGovern and Donald J. Puglisi each signed the March Registration Statement,

223. The Offering Documents for the MLALT 2007-A3 Certificates Were materially
misleading,' contained untrue statements of material fact, omitted to state other facts necessary n
to make the statements not misleading, and omitted to state material facts required to be~stated

therein.

79 '
Exhibit A
88

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224. The -Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

l 225 . The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLALT 2007-A3' Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

226. The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLALT 2007-A3 Offering Documents were ltrue and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

227. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLALT 2007-A3 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

228. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

229. Plaintiffs and other Class members acquired MLALT 2007-A3 Certificates
pursuant and/or traceable to the March Registration Statement At the time Plaintiffs and Class
members obtained their MLALT 2007-A3 Certificates, they did so without knowledge of the
facts concerning the misstatements and omissions alleged herein.

230. Plaintiffs and other Class members have sustained damages as a result of the

wrongful conduct alleged and the violations of the Defendants named in this Count.

80 .
' Exhibit A
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231. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Qount, as set forth in
Section ll of the Securities Act.

232. This action Was brought within one year after the discovery of the untrue
statements and omissions contained in the MLALT 2007-A3 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLALT 2007-A3 Offering Documents at an earlier time.

COUNT II

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Alternative Note Asset Trust. Series 2007-AF1

. 233. Lead Plaintiff and Plaintiff LACERA assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Paul Park, Brian T. Sullivan, Michael M. McGovern and Donald

‘J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill Lynch
Alternative Note Asset Trust, Series 2007-AF1.

234. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

235 . This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1
(“MLALT 2007-AF1”). The MLALT 2007-AF 1 Certificates were issued pursuant or traceable
to the March Registration Statement. Individual Defendants Paul Park, Brian T. Sullivan,

Michael M. McGovern and Donald J. Puglisi each signed the March Registration Statement.

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Exhibit A
90

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236. The Offering Documents for the MLALT 2007-AF1 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading, and omitted to state material facts required to be stated
therein.

237. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

23 8. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLALT 2007~AF-l Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required
to be stated in order to make the statements contained therein not misleading

239. v The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLALT 2007-AF1 Offering Documents Were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

240. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLALT 2007-AF1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts,'as set forth above,

241. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

2421 Plaintiffs and other -Class members acquired MLALT 2007-AF1 Certificates
pursuant and/or traceable to the March Registration Statement. At the time Plaintiffs and Class
members obtained their MLALT 2007-AF1 Certificates, they did so without knowledge of the

facts concerning the misstatements and omissions alleged herein.

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EXhibit A
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243. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

244. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act.

245. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLALT 2007-AF1 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLALT 2007-AFl Offering Documents at an earlier time.

` coUNT 111

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch First Franklin Mortgage Loan Trust, Series 2007-2

246. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Paul Park, Brian T. Sullivan, Michael M. McGovern and Donald
J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill Lynch First
Franklin Mortgage Loan Trust, Series 2007-2.

247. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

248. This Count is brought pursuant to Section ll of the Securities Act, on'behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2
(“MLFF 2007-2”). The MLFF 2007-2 Certificates were issued pursuant or traceable to the

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EXhibit A

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March Registration Statement, Individual Defendants Paul Park, Brian T. Sullivan, Michael M.
_McGovern and Donald J. Puglisi each signed the March Registration Statement,

249. The Offering Documents for the MLFF 2007-2 Certificates were materially
misleading, contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading, and omitted to state material facts required to be stated
therein.

250. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

251. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLFF 2007-2 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading l

252. The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLFF 2007-2 Offering Documents were true and/or that there was no omission of material
facts necessary to make the statements contained therein not misleading

253. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLFF 2007-2 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

254. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

255. Plaintiffs and other Class members acquired MLFF 2007-2 Certificates pursuant

and/or traceable to the March Registration Statement, At the time Plaintiffs and Class members

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_ Exhibit A
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obtained their MLFF 2097-2 Certificates, they did so without knowledge of the facts concerning
the misstatements and omissions alleged herein.

256. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

257. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section 11 of the Securities Act.

258 This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLFF 2007-2 Offering Documents and within three
years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in .the MLFF 2007-2 Offering Documents at an earlier time.

COUNT IV

For Violation Of Section ll Of The Securities Act Related
To Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-3

259.` Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Paul Park, Brian T. Sullivan,"Michael M. McGovern and Donald
J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill Lynch First

_ Franklin Mortgage Loan Trust, Series 2007-3.

v 260. ' Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

261. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the

Offering Documents for Merrill Lynch First Franklin Mortgage Loan Trust,' Series 2007-3

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EXhibit A
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(“MLFF 2007-3”). The MLFF 2007-3 Certificates were issued pursuant or traceable to the
March Registration Statement. Individual Defendants Paul Park, Brian T. Sullivan, Michael M.
McGovern and Donald J. Puglisi each signed the March Registration Statement

262. The Offering Documents for the MLFF 2007-3 Certificates were materially
misleading, contained untrue statements of material fact, omitted to state other facts necessary

‘ to make the statements not misleading and omitted to state material facts required to be stated
therein.

_263. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents. l

264. The Defendants named in this Count owed the Plaintiffs and other Class

' members a duty to make a reasonable and diligent investigation of the statements contained in
the MLFF 2007-3 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

265. The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLFF 2007-3 Offering Documents were true and/or that there was no omission of material
facts necessary to make the statements contained therein not misleading

266. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material .
statements to the investing public which were contained in the MLFF 2007-3 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above,

267 . By reason of the conduct alleged herein, each of the Defendants named in this

Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

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~ EXhibit A
95

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268. Plaintiffs and other Class members acquired MLFF 2007-3 Certificates pursuant
and/or traceable to the March Registration Statement, At the time Plaintiffs and Class members
obtained their MLFF 2007-3 Certificates, they did so without knowledge of the facts concerning
the misstatements and omissions alleged herein. d

269. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

270. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section 11 of the Securities Act.

271. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLFF 2007-3 Offering Documents and Within three
years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLFF 2007-3 Offering Documents at an earlier time.

MLN

For Violation Of Section 11 Of The Securities Act Related
To Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4

272. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Paul Park, Brian T. Sullivan, Michael M. McGovern and Donald
J. Puglisi on behalf of investors Who purchased or acquired Certificates in Merrill Lynch First
Franklin Mortgage Loan Tnist, Series 2007-4.

273. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

274. This Count is brought pursuant to Section ll of the Securities Act, on behalf of

Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated

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EXhibit A
96

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upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4
(“MLFF 2007-4”). The MLFF 2007-4 Certificates were issued pursuant or traceable to the
March Registration Statement Individual Defendants Paul Park, Brian T. Sullivan, Michael M.
d McGovern and Donald J. Puglisi each signed the March Registration Statement

275. The Offering Documents for'the MLFF 2007-4r Certificates were materially
misleading, contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading, and omitted to state material facts required to be stated
therein.

276. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

277. The Defendants named in this _Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLFF 2007-4 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

j 278. -The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLFF 2007-4 Offering Documents were true and/or that there Was no omission of material

, facts necessary to make the statements contained therein not misleading

279.» The Defendants named in this Count issued and disseminated, caused to be
issued _or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLFF 2007-4 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to

disclose material facts, as set forth above.

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Exhibit A
97

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280. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

. 281. Plaintiffs and other Class members acquired MLFF 2007-4 Certificates pursuant
and/or traceable to the March Registration Statement, At the time Plaintiffs and Class members
obtained their MLFF 2007-4 Certificates, they did so without knowledge of the facts concerning y
the misstatements and omissions alleged herein.

' 282. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

283. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act. d

284. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLFF 2007-4 Offering Documents and within three
years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLFF 2007-4 Offering Documents at an earlier time.

COUNT VI

For Violation Of Section 11 Of The Securities Act Related
`To Merrill Lvnch First Franklin Mortgage Loan Trust, Series 2007-A

285. Lead Plaintiff asserts this claim against the Merrill Depositor, Merrill Lynch
PFS, Paul Park, Brian T. Sullivan, Michael M. McGovern and Donald J. Puglisi on behalf of
investors who purchased or acquired Certificates in Merrill Lynch First Franklin Mortgage Loan
Trust, series 2007-A. '

286. Plaintiffs repeat and reallege`each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely

on claims of strict liability and/or negligence under the Securities Act.

89 '
EXhibit A
98

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287. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-Av
(“MLFF 2007-A”). The MLFF 2007-A Certificates were issued pursuant or traceable to the
March Registration Statement Individual Defendants Paul Park, Brian T. Sullivan, Michael M.
McGovern and Donald J. Puglisi each signed the March Registration Statement

288. The Offering Documents for the MLFF 2007-A Certificateswere materially
misleading, contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading, and omitted to state material facts required to_ be stated
therein.

289. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

- 290. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in b
the MLFF 2007-A Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be

v stated in order to make the statements contained therein not misleading

291. The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure, that statements contained in
the MLFF 2007-A Offering Documents were true and/or that there was no omission of material
facts necessary to make the statements contained therein not misleading _

292. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material

statements to the investing public which were contained in the MLFF 2007-A Offering

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Exhibit A
99

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Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

293. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

294. Plaintiffs and other Class members acquired l\/ILFF 2007-A Certificates pursuant
and/or traceable to the March Registration Statement At the time Plaintiffs and Class members
obtained their MLFF 2007-A Certificates, they did so Without knowledge of the facts
concerning the misstatements and omissions alleged herein,

295. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

296. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act.

297. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLFF 2007~A Offering Documents and within three
years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
-in the MLFF 2007-A Offering.Documents at an earlier time.

coUNr vii

For Violation Of Section ll Of The Securities Act Related
To C-BAS-S Mortgage Loan Asset-Backed Certificates. Series 2007-CB4

298. Lead Plaintiff and Plaintiff Iron Workers assert this claim against the Merrill
Depositor, Merrill Lynch PFS, J.P. Morgan, ABN AMRO, Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi on behalf of investors who purchased or acquired
Certificates in C-BASS Mortgage Loan Asset-Backed Certificates, Series 2007-CB4.

299. Plaintiffs repeat and reallege each and every allegation above as if set forth in

full herein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation

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Exhibit A
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that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

300. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’l strict liability for making untrue statements and omissions in the
Offering Documents for C-BASS Mortgage Loan Asset-Backed Certificates, Series 2007-CB4
(“C-BASS 2007-CB4”). The C-BASS 2007-CB4 Certificates were issued pursuant or traceable
to the December Registration Statement Individual Defendants Matthew Whalen, Brian T.
Sullivan, Michael M. McGovern and Donald J. Puglisi each signed the December Registration
Statement

301. The Offering Documents for the C-BASS 2007-CB4 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

302. The- Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

303. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in _
the C-BA'SS 2007-CB4 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required
to be stated in order to make the statements contained therein not misleading

304. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the C-BASS 2007-CB4 Offering Documents were true and/or that there was no omission of

material facts necessary to make the statements contained therein not misleading

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Exhibit A
101

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305. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the C-BASS 2007-CB4 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above,

306. `By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

307. Plaintiffs and other Class members acquired C-BASS 2007-CB4 Certificates
pursuant and/or traceable to the December Registration Statement, At the time Plaintiffs and
Class members obtained their C-BASS 2007-CB4 Certificates, they did so without knowledge
of the facts concerning the misstatements and omissions alleged herein,

308. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

309. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act.

310. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the C-BASS 2007-CB4 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the C-BASS 2007-CB4 Offering Documents at an earlier time.

COUNT VIII

_For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Alternative Note Asset Trust,`Series 2007-Fl

3ll. Lead Plaintiff asserts this claim against the Merrill Depositor, Merrill Lynch
PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and Donald J. Puglisi on

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Exhibit A
102

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behalf of investors who purchased or acquired Certificates in Merrill Lynch Alternative Note
Asset Trust, series 2007-rt l

312. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
_on claims of strict liability and/or negligence under the Securities Act.

313. This Count is brought pursuant tov Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated

. upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Alternative Note Asset Trust, Series 2007~Fl (“MLALT
2007-F l”). The MLALT 2007-Fl Certificates were issued pursuant or traceable to the
December Registration Statement Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement,

314. The Offering Documents for the MLALT 2007-Fl Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

315. n The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

316. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to'make a reasonable and diligent investigation of the statements contained in
the MLALT 2007-Fl Offering Documents at the time they became effective to ensure that such .
statements Were true and correct and that there Was no omission of material facts required to be
stated in order to make the statements contained therein not-misleading

317. The Defendants named in this Count failed to possess a reasonable basis for

believing and failed to make a reasonable investigation to ensure that statements contained in

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Exhibit A
103

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the MLALT 2007-Fl Offering Documents Were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

318. The Defendants named in this Count issued and disseminated, caused to ben
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which Were contained in the MLALT 2007-Fl Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above,

319. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

320. Plaintiffs and other Class members acquired MLALT 2007-Fl Certificates
pursuant and/or traceable to the December Registration Statement At the time Plaintiffs and
Class members obtained their MLALT 2007-Fl Certificates, they did so without knowledge of
the facts concerning the misstatements and omissions alleged herein,

7321. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

322. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count,_ as set forth in
Section ll of the Securities Act.

323. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLALT 2007-Fl Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLALT 2007-Fl Offering Documents at an earlier time. l

v COUNT IX

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust, Series 2006-MLN1

95 '
EXhibit A
104

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324. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and
Donald J'. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill
Lynch-Mortgage Investors Trust, Series 2006-MLN1.

325. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

1326. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1 (“MLMI
2006-MLN1”). The MLMI 2006-MLN1 Certificates were issued pursuant or traceable to the
December Regi-stration Statement Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement

327. l The Offering Documents for the MLMI 2006-MLN1 Certificates were materially
misleading contained untrue statements of material fact, omitted to state otherfacts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

328. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents. 7

329. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in

` the MLMI 2006-MLN1 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required

to be stated in order to make the statements contained therein not misleading

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Exhibit A
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330. 4 The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-MLN1 Offering Documents were true and/or that there.was no omission of
material facts necessary to make the statements contained therein not misleading

331. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 2006-MLN1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above,

332. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

333. Plaintiffs and other Class members acquired MLMI 2006-MLN1 Certificates
pursuant and/or traceable to the December Registration Statement At the time Plaintiffs and
Class members obtained their MLMI 2006'-MLN1 Certificates, they did so without knowledge
of the facts concerning the misstatements and omissions alleged herein.

334. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

335. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in

7 Section ll of the Securities Act. l

336. This action was brought within one year after then discovery of the untrue
statements and omissions contained in the MLMI 2006-MLN1 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions

in the MLMI 2006~MLN1 Offering Documents at an earlier time.

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Exhibit A

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COUNT X

For Violation Of Section ll Of The Securities,Act Related
To Merrill Lvnch Mortgage Investors Trust, Series 2006-FMl

337 . 'Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian 'I`. Sullivan, Michael M. McGovern and
Donald J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill
Lynch Mortgage Investors Trust, Series 2006-FM1.

1 338. v Plaintiffs repeat and reallege each and every allegation above as if set forth in
full Iherein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act. 4

' 339. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated '
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-FM1 (“MLMI
2006-FMl”). The MLMI 2006-FM1 Certificates were issued pursuant or traceable to the
December Registration Statement Individual Defendants 'Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement

340. The Offering Documents for the MLMI 2006-FM1 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

341. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

342. The Defendants named in this Count owed the Plaintiffs and other Class

members a duty to make a reasonable and diligent investigation of the statements contained in

98
Exhibit A

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the MLMI 2006-FM1 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained thereinnot misleading

343. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-FM1 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

344. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 2006-FM1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above. -

345. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

346.' Plaintiffs and other Class members acquired MLMI 2006~FM1. Certificates
pursuant and/or traceable to the December Registration Statement At the time Plaintiffs and
Class members obtained their MLMI 2006-FM1 Certificates, they did so without knowledge of
the facts concerning the misstatements and omissions alleged herein,

347. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

348. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act.

349. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-FM1 Offering Documents and within

three years of the Certificates being offered to the public. Despite the exercise of reasonable

99
EXhibit A

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diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-FM1 Offering Documents at an earlier time.
COUNT XI

For Violation Of Section ll Of The Securities Act Related
To Merrill LBch Mortgage Investors Trust, Series 2006-FF1

350. Lead Plaintiff and Plaintiff LACERA assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and
Donald J. Puglisi on behalf of investors Who purchased or‘acquired Certificates in Merrill
Lynch Mortgage Investors Trust, Series 2006-FF1. v

351. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

352. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-FF1 (“MLMI
2006-FF1”). The MLMI 2006-FF1 Certificates were issued pursuant or traceable to the
December Registration Statement Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement,

353. The Offering Documents for the MLMI 2006-FF1 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

354. The Defendants named in. this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and

j disseminating the Offering Documents.

100
Exhibit A

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355. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to makea reasonable and diligent investigation of the statements contained in
the MLMI 2006-FF1 Offering Documents at the-time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

356. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-FF1 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

357.` The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 2006-FF1 Offering

`Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

358. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section 11 of the Securities Act, and is.liable to Plaintiffs and the Class.

359. Plaintiffs and other Class members acquired MLMI 2006-F.Fl Certificates
pursuant and/or traceable to the December Registration Statement, At the time Plaintiffs and
Class members obtained their MLMI 2006-FF1 Certificates, they did so without knowledge of
the facts concerning the misstatements and omissions alleged herein,

360. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

361. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section 11 of the Securities Act. v n

362. This action was brought within one year after the discovery of the untrue

statements and omissions contained in the MLMI 2006-FF1 Offering Documents and within

101
Exhibit A
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three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-FF1 Offering Documents at an earlier time.

COUNT XII

For Violation Of Section 11 Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust, Series 2006-RM5

363. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and '
Donald J. Puglisi on behalf of investors who purchased or acquired Certificates in- Merrill
Lynch Mortgage Investors Trust, Series 2006-RM5

364. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein.v For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation '
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claimsof strict liability and/or negligence under the Securities Act.

3_65. This Count is brought pursuant to Section 11 of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants" strict liability for making untrue statements and 'omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-RM5 (“MLMI
2006-RM5”). The MLMI 2006-RM5 Certificates were issued pursuant or traceable to the
December Registration Statement lndividual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement

366. The Offering Documents for the MLMI 2006-RM5 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated

therein.

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Exhibi't A

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367. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

368. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLMI 2006-RM5 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

369. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-RM5 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

370. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MMI 2006-RM5 Offering
Documents, which made false and misleading statementsand/or misrepresented or failed to
disclose material facts, as set forth above.

371. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class. v

372. Plaintiffs and other Class members acquired MLMI 2006-RM5 Certificates
pursuant and/or traceable to the December Registration Statement At the time Plaintiffs and
Class members obtained their MLMI 2006-RM5 Certificates, they did so without knowledge of
the facts concerning the misstatements and omissions alleged herein,

373. Plaintiffs and other Class members have sustained damages as a result of the

wrongful conduct alleged and the violations of the Defendants named in this Count.

103
Exhibit A

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374. By virtue of the foregoing, Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act. 7

375 . This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-RM5 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable

diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-RM5 Offering Documents at an earlier time.
COUNT XIII

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust. Series MLCC 2006-2

376. Lead Plaintiff asserts this claim against the Merrill Depositor, Merrill Lynch
PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and Donald J. Puglisi on
behalf of investors Who purchased or acquired Certificates in Merrill Lynch Mortgage Investors
Trust,' series MLCC 2006-2. 7

377. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

378. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants-’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2
.(“MLMI MLCC 2006-2”). The MLMI MLCC 2006-2 Certificates were issued pursuant or
traceable to the December Registration Statement Individual Defendants Matthew Whalen,
Brian T. Sullivan, Michael M. McGovern and Donald J. Puglisi each signed the December

Registration Statement,

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Exhibit A

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379. lThe Offering Documents for the MLMI MLCC 2006-2 Certificates were
materially misleading, contained untrue statements of material fact, omitted to state other facts
necessary to make the statements not misleading, and omitted to state material facts required to
be stated therein.

380. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

381. , The Defendants named in this Count owed the Plaintiffs and other Class
members al duty to make a reasonable and diligent investigation of the statements contained in
the MLMI MLCC 2006-2 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required
to be stated in order to make the statements contained therein not misleading

382. The Defendants named in this Count failed to possess a reasonable basis for
believing, and failed to make a reasonable investigation to ensure that statements contained in
the MLMI MLCC 2006-2 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

383. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public Which were contained in the MLMI MLCC 2006-2 Offering
Documents, which made false and'misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

384. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section 11 of the Securities Act, and is liable to Plaintiffs and the Class.

385. Plaintiffs and other Class members acquired MLMI MLCC 2006-2 Certificates
pursuant and/or traceable to the December Registration Statement. At the time Plaintiffs and
Class members obtained their MLMI MLCC 2006-2 Certificates, they did so without

knowledge of the facts concerning the misstatements and omissions alleged herein,

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Exhibit A
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386. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

387. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act. v

388. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI MLCC 2006-2 Offering Documents and
within three years of the Certificates being offered to the public. Despite the exercise of
reasonable diligence, Plaintiffs could not have reasonably discovered the untrue statements and
omissions in the MLMI MLCC 2006-2 Offering Documents at an earlier time.

COUNT XIV

For Violation Of Section ll Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust. Series 2006-AI-ILI

389. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and
Donald J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill
Lynch Mortgage Investors Trust, Series 2006-AHLl.

390. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein, For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct.` 1This Count is based solely
on claims of strict liability and/or negligenceunder the Securities Act.

391. This Count is brought pursuant to Section 11 of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named 'in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch 'Mortgage Investors Trust, Series 2006¥AHL1 (“MLMI
2006-AHL1”). The MLMI 2006-AHL1 Certificates were issued pursuant or traceable to the

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EXhibit A
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December Registration Statement, Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement,
392. The Offering Documents for the MLMI '2006-AHL1 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
‘ to make the statements not misleading and omitted to state material facts required to be stated
therein. _

393. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

394. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLMI 2006-AHL1 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required
to be stated in order to make the statements contained therein not misleading

' 395. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the Ml'_,MI 2006-AHL1 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

396. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 20.06-AHL1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above,

397. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section 11 of the Securities Act, and is liable to Plaintiffs and the Class.

398. Plaintiffs and other Class members acquired MLMI 2006-AI-IL1 Certificates

pursuant and/or traceable to the December Registration Statement, At the time Plaintiffs and

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Exhibit A
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Class members obtained their MLMI 2006-AHL1 Certificates, they did so Without knowledge
of the facts concerning the misstatements and omissions alleged herein,

399. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

400. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section 11 of the Securities Act.

401. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-AHL1 Offering Documents and within
three years of the Certificates being offered to the public. >Despite the exercise of reasonable

v diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-AHLI Offering Documents at an earlier time.
COUNT XV

For Violation Of Section 11 Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust, Series 2006-RM3

402. Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern and
Donald J. Puglisi on behalf of investors who purchased or acquired Certificates in Merrill
Lynch Mortgage Investors Trust, Series 2006-RM3.

403. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. F or purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation

7 that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act. l

404. This Count is brought pursuant to Section 11 of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the

Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-RM3 (“MLMI

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Exhibi_t A
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2006-RM3”). The MLMI 2006-RM3 Certificates were issued pursuant or traceable to the
December Registration Statement. Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern and Donald J. Puglisi each signed the December Registration Statement.

1 405 . The Offering Documents for the MLMI 2006-RM3 Certificates were materially
misleading contained untrue.statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

406. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

407. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLMI 2006-RM3 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

408. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-RM3 Offering Documents were true land/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

409. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 2006-RM3 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

410. 'By reason of the conduct alleged herein, each of the Defendants named in this

Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

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EXhibii A
118

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411. Plaintiffs and other Class members acquired MLMI 2006-RM3 Certificates
pursuant and/or traceable to the December Registration Statement. At the time Plaintiffs and
Class members obtained their MLMI 2006-RM3 Certificates, they did so without knowledge of
the facts concerning the misstatements and omissions alleged herein.

412. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

413. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, las set forth in
Section ll of the Securities Act.

414. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-RM3 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-RM3 Offering Documents at’an earlier time.

COUNT XVI

For Violation Of Section ll OfThe Securities Act Related
To Merrill Lvnch Mortgage Investors Trust. Series 2006-WMC1

415. . Lead Plaintiff and Plaintiff Wyoming assert this claim against the Merrill
Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M. McGovern,
Donald .J. Puglisi and Donald C. Han on behalf of investors in l\/[errill Lynch Mortgage
Investors Trust, Series 2006-WMC1.

416. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

417 . This Count is brought pursuant to Section ll of the Securities Act, on behalf of

Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated

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Exhibi'tA
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upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1 (“MLMI
2006-WMC1”). The MLMI 2006-WMC1 Certificates were issued pursuant or traceable to the
August Registration Statement. Individual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern, Donald J. Puglisi and Donald C. Han each signed the August
Registration Statement.

418. The Offering Documents for the MLMI 2006-WMC1 Certificates were
materially misleading contained untrue statements of material fact, omitted to state other facts
necessary to make the statements not misleading and omitted to state material facts required to
be stated therein.

419. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and -
disseminating the Offering Documents.

‘ 420. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLMI 2006-WMC1 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required .
to be stated in order to make the statements contained therein not misleading

421. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-WMC1 Offering Documents were true and/or that there was no omission of
material facts necessary to make the statements contained therein not misleading

422. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI. 2006-WMC1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to

disclose material facts, as set forth above.

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EXhibit A
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423. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

424. 1 Plaintiffs and other Class members acquired MLMI 2006-WMC1 Certificates
pursuant and/or traceable to the August Registration Statement. At the time Plaintiffs and Class
members obtained their MLMI 2006-WMC1 Certificates, they did so without knowledge of the
facts concerning the misstatements and omissions alleged herein.

425. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

426. -By virtue of the'foregoing, Plaintiffs and other `1Class members are entitled to

1 damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act. v y

427. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-WMC1 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-WMC1 Offering Documents at an earlier time.

7 COUNT XvII

For Violation Of Section 11 Of The Securities Act Related
To Merrill Lvnch Mortgage Investors Trust. Series 2006-WMC2

428. Lead Plaintiff, Plaintiffs Wyoming and LACERA assert this claim-against the
Merrill Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M.
McGovern,

Donald J. Puglisi and Donald C. Han on behalf of investors who purchased or acquired
Certificates in Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2.
429. Plaintiffs repeat and reallege each and every allegation above as if set forth in

full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation

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~ ExhibitA
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that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

430. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2 (“MLMI
2006-WMC2”)..` The MLMI 2006-WMC2 Certificates were issued pursuant or traceable to the
August Registration Statement. lndividual Defendants Matthew Whalen, Brian T. Sullivan,
Michael M. McGovern, Donald J. Puglisi and Donald C. Han each signed the August
Registration Statement.

431. The Offering Documents for the MLMI 2006~WMC2 Certificates were
materially misleading contained untrue statements of material fact, omitted to state other facts
necessary to make the statements not misleading and omitted to state material facts required to
be stated therein.

432. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

433. The Defendants named in this Count owed the Plaintiffs and other yClass
members a duty to make -a reasonable and diligent investigation of the statements contained in
the MLMI 2006-WMC2 Offering Documents at the time they became effective to ensure that
such statements were true and correct and that there was no omission of material facts required
to be stated in order to make the statements contained therein not misleading

434. The Defendants named in this Count-failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the MLMI 2006-WMC2 Offering Documents were true and/or that there was no omission'of

material facts necessary to make the statements contained therein not misleading

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EXhibit A

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'435. .The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public Which~were contained in the MLMI 2006-WMC2 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

436. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Sectionll of the Securities Act, and is liable to Plaintiffs and the Class.

437. Plaintiffs and other Class members acquired MLMI 2006-WMC2 Certificates
pursuant and/or traceable to the August Registration Statement. At the time Plaintiffs and Class
members obtained their MLMI 2000-WMC2 Certificates, they did so without knowledge of the
facts concerning the misstatements and omissions alleged herein.

1 438. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

439. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this `Count, as set forth in
Section 11 of the Securities Act.

440. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLM12006-WMC2 Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the MLMI 2006-WMC2 Offering Documents at an earlier time.

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`For Violation Of Section ll Of The Securities Act Related 1
To Merrill Lvnch Mortgage Investors Trust.` Series 2006-A1

441. Lead Plaintiff, Plaintiffs Wyoming and LACERA assert this claim against the
Merrill Depositor, Merrill Lynch PFS, Matthew1Whalen, 'Brian T. Sullivan, Michael M.

McGovern,

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Exhibit A
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Donald J. Puglisi and Donald C. Han on behalf of investors who purchased or acquired
Certificates in Merrill Lynch Mortgage Investors Trust, Series 2006-A1.

442. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act. l

443. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is-predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Merrill Lynch Mortgage Investors Trust,. Series 2006-Al (“MLMI
200`6-Al”). The MLMI 2006-Al Certificates were issued pursuant or traceable to the August
Registration Statement. Individual Defendants Matthew Whalen, Brian T. Sullivan, Michael M.
McGovern, Donald J. Puglisi and Donald C. Han each signed the August Registration
Statement.

444. The Offering Documents for the MLMI 2006-Al Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein.

445. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and
disseminating the Offering Documents.

446. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the MLMI 2006-Al Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be

stated in order to make the statements contained therein not misleading

115
Exhibif A

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Case 1:08-ov-10841-g,.~<;-JLC Document 103 Filed 07/0'10 Page 121 of 128

447. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to' make a reasonable investigation to ensure that statements contained in
the MLMI 2006-Al Offering Documents were true and/or that there was no omission o_f
material facts necessary to make the statements contained therein not misleading

448. The Defendants named in this Count issued and disseminated, caused to be
issued or` disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the MLMI 2006-A1 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
disclose material facts, as set forth above.

449. By reason of the conduct alleged hereim each of the Defendants named in this
Count violated Section ll of the Securities Act,' and is liable to Plaintiffs and the Class.`

450. Plaintiffs and other Class members acquired MLMI 2006-A1 Certificates
pursuant and/or traceable to the August Registration Statement. At the time Plaintiffs and Class
members obtained their MLMI 2006-A1 Certificates, they did so without knowledge of the facts
concerning the misstatements and omissions alleged herein. -

451. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the violations of the Defendants named in this Count.

452. By virtue of the foregoing Plaintiffs'and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section 11 of the Securities Act.

453. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the MLMI 2006-Al Offering Documents and within
three years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions

in the MLMI 2006-A1 Offering Documents at an earlier time.

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Exhibit A
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COUNT Xix

For Vlolation Of Section ll Of The Securities Act Related
To Ownit Mortgage Loan Trust Series 2006-2

454. Lead Plaintiff and Plaintiff Connecticut Carpenters assert this claim against the
Merrill Depositor, Merrill Lynch PFS, Matthew Whalen, Brian T. Sullivan, Michael M.
McGovern,

_Donald J. Puglisi and Donald C. Han on behalf of investors who purchased or acquired
Certificates in Ownit Mortgage Loan Trust, Series 2006-2.

455. Plaintiffs repeat and reallege each and every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

456. This Count is brought pursuant to Section ll of the Securities Act, on behalf of
Plaintiffs and the Class, against the Defendants named in this Count. This Count is predicated
upon these Defendants’ strict liability for making untrue statements and omissions in the
Offering Documents for Ownit Mortgage Loan Trust, Series 2006-2 (“OWNIT 2006-2”). The
Ownit 2006-2 Certificates were issued pursuant or traceable to the August Registration
Statement. Individual Defendants Matthew Whalen, Brian T. Sullivan, Michael M. McGovern,
Donald J. Puglisi and Donald C. Han each signed the August Registration Statement.

457. The Offering Documents for the Ownit 2006-2 Certificates were materially
misleading contained untrue statements of material fact, omitted to state other facts necessary
to make the statements not misleading and omitted to state material facts required to be stated
therein. l

458. The Defendants named in this Count directly and indirectly participated in the
distribution of the Certificates and directly and indirectly participated in drafting and

disseminating the Offering Documents.

117 '
EXhibit A
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459. The Defendants named in this Count owed the Plaintiffs and other Class
members a duty to make a reasonable and diligent investigation of the statements contained in
the`Ownit 2006-2 Offering Documents at the time they became effective to ensure that such
statements were true and correct and that there was no omission of material facts required to be
stated in order to make the statements contained therein not misleading

460. The Defendants named in this Count failed to possess a reasonable basis for
believing and failed to make a reasonable investigation to ensure that statements contained in
the Ownit 2006-2 Offering Documents were true and/or that there was no omission of material
facts necessary to make the statements contained therein not misleading

461. The Defendants named in this Count issued and disseminated, caused to be
issued or disseminated, and participated in the issuance and dissemination of material
statements to the investing public which were contained in the Ownit 2006-2 Offering
Documents, which made false and misleading statements and/or misrepresented or failed to
idisclose'material facts, as set forth above,

462. By reason of the conduct alleged herein, each of the Defendants named in this
Count violated Section ll of the Securities Act, and is liable to Plaintiffs and the Class.

1 463. Plaintiffs and other Class members acquired Ownit 2006-2 Certificates pursuant
and/or traceable to the August Registration Statement. At the time Plaintiffs and Class
members obtained their Ownit 2006-2 Certificates, they did so without knowledge of the facts
concerning the misstatements and omissions alleged herein.

l 464. Plaintiffs and other Class members have sustained damages as a result of the
wrongful conduct alleged and the`violations of the Defendants named in this Count.

465. By virtue of the foregoing Plaintiffs and other Class members are entitled to
damages, jointly and severally from each of the Defendants named in this Count, as set forth in
Section ll of the Securities Act.

466. This action was brought within one year after the discovery of the untrue

statements and omissions contained in the Ownit 2006-2 Offering Documents and within three

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EXhibit A
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years of the Certificates being offered to the public. Despite the exercise of reasonable
diligence, Plaintiffs could not have reasonably discovered the untrue statements and omissions
in the Ownit 2006-2 Offering Documents at an earlier time.
CO_U_N_TB
For Violation Of Section lZ§a)§Z) Of The Securities Act
467. Lead Plaintiff and Plaintiffs LACERA, Iron Workers and Wyoming bring this
- count against Merrill Lynch PFS on behalf of investors who purchased or acquired Certificates
in the offerings directly from Merrill Lynch PFS, as reflected in 1118.

468. Plaintiffs repeat and reallege each and`every allegation above as if set forth in
full herein. For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation
that could be construed as alleging fraud or intentional misconduct This Count is based solely
on claims of strict liability and/or negligence under the Securities Act.

469. This Count is brought pursuant to Section 12(a)(2) of the Securities Act, on
behalf of Plaintiffs and the Class, against Merrill Lynch PFS.

470. Plaintiffs and other Class members purchased Certificates in the Offerings
directly from Merrill Lynch PFS pursuant to the Offering Documents which contained untrue
statements and omissions, as reflected in 11207. Merrill Lynch PFS sold these Certificates for its
own financial gain. n

471. The Offering Documents contained untrue statements of material fact, omitted
to state other facts necessary to make the statements not misleading regarding: (1) the
underwriting standards purportedly used in connection with the origination of the underlying
mortgages; (2) the loan-to-value ratios and appraisals of the properties; (3) the amount of credit
enhancement supporting the Certificates; and (4) the ratings of the Certificates.

472. Merrill Lynch PFS owed to Plaintiffs and the other Class members who
purchased Certificates pursuant to the Prospectus Supplements a duty to make a reasonable and
diligent investigation of the statements contained in the Prospectus Supplements, to ensure that

such statements were true and that there was no omission of material fact necessary to make the

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Exhibit A
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statements contained therein not misleading Merrill Lynch PFS, in the exercise of reasonable
care, should have known of the misstatements and omissions contained in the 'Prospectus
Supplements, as set forth herein.

473. Plaintiffs did not know, and in- the exercise of reasonable diligence could.not
have known, of the misrepresentations and omissions contained in the Prospectus Supplements.

474. By reason of the conduct alleged herein, Merrill Lynch PFS.violated Section
12(a)(2) of the Securities Act, and are liable to Plaintiffs and other Class members who
purchased Certificates in the offerings pursuant to the Prospectus Supplements.

475. Plaintiffs and other Class members were damaged by the Merrill Lynch PFS
wrongful conduct. Those Class members who have retained their Certificates have the right to
rescind and recover the consideration paid for their Certificates, as set forth in Section 12(a)(2)
of the Securities Act. Those Class members who have sold their Certificates are entitled to
rescissory damages, as set forth in Section 12(a)(2) of the Securities Act. These Plaintiffs
hereby tender their Certificates, or proceeds from the sale thereof, to Merrill Lynch PFS in
exchange for the value of the consideration paid for such Certificates, plus interest. In the
alternative, these Plaintiffs seek recovery of damages in'an amount to be proven at trial.

476. This action was brought within one year after the discovery of the untrue
statements and omissions contained in the Prospectus Supplements and within three years of the
Certificates were sold to the public. Despite the exercise of reasonable diligence, Plaintiffs
could not have reasonably discovered the untrue statements and omissions in the Prospectus
Supplements at an earlier time.

COUNT XXI
For Violation Of Section 15 Of The Securities Act

477. Plaintiffs bring this claim against Merrill Lynch on behalf of investors who

purchased Certificates in the Offerings set forth in Counts I to XIX. Plaintiffs repeat and

reallege each and every allegation above as if set forth in full herein.

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EXhibit A
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ease 8:11-<:\/-01531-31_3-|\/|¢1rig Document 1 Filed 10/12/11 Pij 1133 of/153 Page lD #:133
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478. This Count is brought against Defendant Merrill Lynch pursuant to Section 15 of
the Securities Act. Merrill Lynch, by virtue of its control, ownership, offices, directorship, and
specific acts, was at the time of the wrongs alleged herein a controlling person of the Merrill
Depositor within the meaning of Section 15 of the Securities Act.

479. Defendant Merrill Lynch controlled all aspects of the management and policies
of the Merrill Depositor. Merrill Lynch controlled the Merrill Depositor by virtue of the
following: (i) Merrill Lynch created the Merrill Depositor as its SPE for the Certificates; (ii)
revenue from the Merrill Depositor’s securitizations inured exclusively to Merrill Lynch’s
benefit; (iii) statements in Merrill Lynch’s SEC filings shows control through comprehensive
involvement with the Merrill Depositor’s operations; (iv) Merrill Lynch directly participated in
the Merrill Depositor’s issuance of the Certificates, including prominently featuring “Merrill
Lynch & Co.” on the front page of each Prospectus and Prospectus Supplement; and (v) Merrill
Lynch’s managing partner and director and senior counsel signed the Merrill Depositor’s
registration statements.

480. Because of its sole ownership of the Merrill Depositor and its control and
authority as the parent corporation, Merrill Lynch had the power and influence, and exercised
that power and influence, to cause the Merrill Depositor to engage in violations of the Securities
Act, as described herein.

48'1.. By virtue of the wrongful conduct alleged herein, Merrill Lynch is liable to
Plaintiffs and other Class members for their sustained damages.

RELIEF REQUESTED

WI~[EREFORE, Plaintiffs pray for relief and judgment, as follows:

(a) Declaring this action properly maintainable as a class action and certifying
Plaintiffs as Class representatives;

(b) Awarding compensatory and/or rescissionary damages in favor of Plaintiffs and
other Class members against all Defendants, jointly and severally, for all damages sustained as a

result of Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

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Exhibit A

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(c) Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in
this action, including counsel fees and expert fees; and .
(d) Such other relief as the Court may deem just and proper.
‘ IURY DEMAND
Plaintiffs demand a trial by jury on all claims so triable.

Dated: July 6, 2010 v BERNSTEIN LITGWITZ BE GER

&GROSSl\/IANNL
?/ -d/W'
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]l<[z'ssis.s'z;z)pi and Plaintiff Los Angeles County
Employees Retirement Associatz`on

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Retirement System of Mississippi

122

Exhibit A
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Case1:08-cv-10841-t\1_<'-JLC Document103 Filed 07/0 .J P`age128 of128

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Exhibit A
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EXHIBIT B

Exhibit B
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AO 88A (Revt 06_/09) Subpoena to Testify at a Deposi&'tin in l Civil Aet`ion
w

UNITED STATES DISTRICT COURT

 

 

for the
Central District of California
Public Employees' Retirement System of MS. et a|. )
Plainrid' )
v. ) Civil Action No. 08 ClV. 1084_»1 (JSR)
Merrill Lynch st co.. lnc.. et al. ) _ ' .
_ ) (lf the action is pending in another district. state where:
Dq'endanr ) Southem District of New York )

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: PAC|F|C INVESTMENT MANAGEMENT COMPANY. LLC
840 Newport Center Drive, Suite 100, Newport Beach. CA 92660

dres¢rmony.- You ARE coMMANoEo to appear at the time, date, and place set forth below to testify n a
deposition to be taken in this civil action. If you are an organization that is nor a party in this case, you must designate
one or more ofticers, directors, or managing agents, or designate other persons who consent to testify on your behalf
about the following matters, or those set forth in an attachment:

All topics are referenced in Schedu|e "A" attached hereto.

 

 

pia¢¢; sKAooEN. ARPs. sLArESriETA;<ZHE'§ a Ft_oM'LLP A bare and Tim¢:
300 South Grand Avenue. u te 0 . Los Ange es. C ,
90071;:¢213~)-637-5000;. Ann: christopher P. nangy' °4'12/2°" 12'3° P'"

The deposition will be recorded by this method: _§ngQmp_r]jg_al~|gugg_e_¢,J

dPr-oducrion: You, or your rcpresentatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and permit their inspection, copying,' testing, or sampling of the
material:
All topics are referenced in Schedu|e "B" attached hereto.

 

 

 

 

 

g

 

The provisions ot‘Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpocna, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are

attached
CLERKOF COURT ‘

Signarur¢ ofCIerlr ar D¢pmy Cl¢rk v v . Attorney 's tvle

Dat¢: 03131120_11_

 

The name, address, e-mail, and telephone number of the attorney representing (name afpargr)

Merrill Lynch & Co.. lnc.. et a|. , who issues or requests this subpoena, are:
Christopher P. Malloy; SKADDEN. ARPS. SLATE, MEAGHER & FLOM LLP. Four Times Square. New York, NY 10036;
christopher.malloy@skadden.oom.' (212) 735-3000

 

 

Exhibii B
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Case 8:11¢©WM59W

AO 88A (Rev_..? 06109) Subpoena m Tesdly et n Deposltion' in a Civil Actlon (Pa¢e 2)

’ civil Action No. oaclv.1oe41(JsR)

PROOF OF SERVICE
(Thr’s section should not be filed with the court unless required by Fed. R. Ct’v. P. 45.)

This subpoena for (name afmdlvtdual and rlrle, ‘tfany)
was received by me on (dare)

_....\,

 

 

m

0 l served the subpoena by delivering a copy to the named individual as follows:

 

on (dare) ; or

 

lJ l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

 

My fees are $ for travel and 5 for services, for a total of $ 0_00

mwwm.m

I declare under penalty of perjury that this information is true.

lester

..._......__.»-~-»-.»~»--~__'~~.»~~_-- .M . .- .¢.-~...... ,, .. .2.., ~~“,.._i.....__..._. .,.....__._. ..

Server’s signature

 

Prln!ed name and title

 

Server's address

Additional information regarding attempted service, etc:

Exhiblt B
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ease 8:11-@\/-0153&-`)&5-|>¢4(-17:§.:

AO SBA (Rev. 06/09) Subpoena to Tettify al a Depositl`on in a Civr`l Actiou (Page 3)
s== .

 

Federal Rule of Civil Procedure 45 (c), (d), and (e) (Ef'l`ective 12/1/07)

(c) Protectlng a Person Subject to a Subpoena,

(1) A voiding Undue Burden or Expense,' Sanctions. A party or
anomey responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena The issuing court must enforce this
duty and impose an appropriate sanction - which may include lost
earnings and reasonable attorney’s fees - on a party or attorney
who fails to comply.

(2) Command to Pro duce Mareriqls or Perml! Inspectlolt.

(A) Appearance Nor Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objectiorrs. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
lnspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises - or to producing electronically stored
information in the form or forms requested The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served lf an objection is made. the
following.rules apply:

(l) At any time. on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ll) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting ii'om compliance

(3) Quasht‘ng or Modij)lng a Subpoena

(A) When Required. On timely motion. the issuing court must
quash or modify a subpoena that:

' (i) fails to allow a reasonable time to comply;

(ll) requires a person who is neither a party nor a party's officer
to travel more than 100 miles from where that person resides, is
employed. or regularly transacts business in person - except that,
subject to Rule 45(c)(3)(B)(iii). the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held;

(iii) requires disclosure of privileged or other protected matter. if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

, (B) When Permt'ned. 'l`o protect a person subject to or affected by
a` subpoena. the issuing court may; on motion. quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information',

(ii) disclosing an unretained expen’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party _nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Spect]j)ing Condl'rions as an Alternative ln the circumstances
described in Rule 45(c)(3)(B). the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated

(d) Dutles ln Responding to s Subpoena,

(l) Produclng Documents or Elecrronlealb) Sror¢d llg/`ormsrton.
These procedures apply to producing documents or electronically
stored information:

(A) Documents A person responding to a subpoena to produce
documents must produce them as they are kept in tire ordinary
course of business or must organize and label them to correspond to
the categories in the demand

(B) Form for Producr`ng Eleelrom'cally Stored Informarion Nor
Specifieil. if a subpoena does not specify a form for producing
electronically stored information. the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Eleclronical!y Slored Informalfon Produced.t'n Om'y One
Form. The person responding need not produce the same
electronically stored information in more than one fonn.

(D) Inaccessible Elecrronically Srored Injbnnadon. The person
responding need not provide discovery of electronically stored
infon'nation from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. lf that showing is made, the court may nonetheless
order discovery ti'om such sources if the requesting party shows
good cause. considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

» (1) Claimlng Privlleg¢ or Protecrlon.

(A) Irybmran'on Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(l|) describe the nature of the withheld documents1
communications, or tangible things in a manner that, without
revealing information itself privileged or'protected, will enable the
parties to assess the claim.

(B) quorman'on Produced, lf infbrmation produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
Atier being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the in formation if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is rcsolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena A nonparty‘s failure to obey must be excised if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits ofRule 45(c)(3)(A)(ii).

Exh'ibit B
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f ' ' . lD #:140.
case2a1143#01531swszwn1§¢£xnaHnenz4-4med4uma2LmL.£znn§l4maniuid~EaaA_______.~s,n

SCHEDULE A

Q§LDITIONS

'l'. The deHnitions and rules of construction set forth in Rules 26 and 30 of the Federal Rules
of Civil Procedure and Rule 26.3 of the Local Civil Rules of the United States District
Court for the Southem District of New York are hereby incorporated and apply to this

schedule of topics for examination

' 2. "Certificates" mean mortgage pass-through certificates issued`pursuant to or traceable to
any of the following eighteen (18) offerings: (1) Merrill Lynch Alternative Note Asset
Trust, Series 2007-A3; (2) Merrill Lynch Alternative Note Asset Trust, Series 2007-AF|;
(3)Mel_11‘ll Lynch First Franklin Mortgage Loan Trust, Series 2007~2; (4) Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-3; (5) Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-4; (6) Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-A; (7) Merrill Lynch Altemative Note Asset Trust, Series 2007-Fl; (8)
Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1; (9) Merrill Lynch
Mortgage Investors Trust, Series 2006-FM l; (10) Merrill Lynch Mortgage Investors v
Trust, Series 2006-FF1; (1 l) Mem`ll Lynch Mortgage Investors Trust, Series 2006-RM5;
(12) Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2; (13) Mem'll Lynch
Mortgage Investors Trust, Series 2006-AHL1; (l4) Merrill Lynch Mortgage Investors
Trust, Series 2006-RM3; (15) Men'ill Lynch Mortgage Investors Trust, Series 2006»
WMCl; (16) Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2; (17) Merrill
Lynch Mortgage Investors Trust, Series 2006-Al; and (18) Ownit Mortgage Loan Trust,
Series 2006-2.

`.ExmbuB
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CASE Sill-CV-OlBSl-.]LS-|\/|<CG\._X

 

"Defendants" mean Merrill Lynch & Co., lnc.;` Merrill Lynch Mortgage lnvestors, Inc.;
Merrill Lynch, Pierce; Fenner & Smith Incorporated; Matthew Whalen; Paul Park; Brian

T. Sullivan; Michael M. McGovern; Donald J. Puglisi; and Donald C. Han.

"Originators" mean the banks, financial companies or other entities that originated the
loans held by any of the trusts that issued any of the Certificates, including but not

limited to any of the following entities and their affiliates: GreenPoint Mortgage Funding,

vInc.; First National Bank of Nevada; Mortgage Lenders Network USA, Inc.; American

Home Mortgage Corp.; Countrywide Home Loans, Inc.; Wachovia Mortgage
Corporation; ~Ameriquest Mortgage Company; IndyMac Bank, F.S.B.; First Franklin
Financial Corporation; Mortgagel'l`, Inc.; Washington'Mutual Mortgage Securities Corp.;
Accredited Home Lenders, Inc.; Fremont Investment & Loan; ResMAE Mortgage
Corporation; WMC Mortgage Corp.; First Republic Bank; Merrill Lynch Credit

Corporation (via PHH Mortgage Corporation); and Ownit Mortgage Solutions, Inc.

-"Plaintiffs" mean the Public Employees' Retirement System of Mississippi, the Wyoming
State Treasurer, the Los Angeles County Employees Retirement Association, and the
Connecticut Carpenters Pension Fund and Connecticut Carpenter’s Annuity Fund or any

owner, director, officer, employee, agent, trust, custodian, parent, subsidiary, affiliate,

 

predecessor, successor, attorney, accountant, representative, or other persons purporting

to act on their behalf.

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TOPICS FQR EMINATION

l. Pacitic Investment Management Company, LLC’s research, analysis, evaluation, advice,
valuation, projections, forecasts, estimates or modeling concerning any actual or
contemplated transaction by Plaintiffs in mortgage-backed securities, including the

Certificates.

' Z. Paciiic Investment Management Company, LLC’s research, analysis, evaluation, advice,
valuation, projections, forecasts, estimates or modeling concerning the Certificates and

the loans underlying the Certificates.

3; The procedures and methodologies used by Paciiic Investment Management Company,
LLC in researching, analyzing, evaluating, advising, valuing, projecting estimating or
modeling any actual or contemplated transactions by Plaintiffs in mortgage-backed

securities, including the Certificates.

4. Pacilic Investment Management Company, LLC’s analysis, due diligence, evaluation, §

research or review of the financial condition or lending practices of any of the Originators, !
including but not limited to underwriting guidelines, loan-to-value ratios, debt-to-income !

ratio, appraisals and securitizations.

5, Paci:tic Investment Management Company, LLC’s analysis, evaluation, research or
review of the investment ratings provided for any residential`mortgage-backed sccurities,

including the Certificates.

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Paciiic Investment Management Company, LLC’s analysis, evaluation, research or

review of the accuracy of residential property appraisals

Communications between Paciiic investment Management Company, LLC and Plaintiffs
concerning investment in mortgage-backed securities, including but not limited to

investment in the Certificates.

Plaintiffs' strategies including, but not limited to investment, risk tolerances, hedging and
trading strategies, and including, but not limited to, the development of such strategies,

changes to those strategies and implementation of those strategies
Pacific Investment Management Company, LLC valuations of the Certiiicates.

Paciiic Investment Management Company, LLC’s analysis, evaluation, research or
review of any realized losses Plaintiffs incurred or declines in value of Plaintiti`s' _

investment in any of the Certificates and the causes thereof,

Paciiic Investment Management Company, LLC’s analysis of or advice relating to the
secondary market for the Certificates, including but not limited.to any analysis comparing
the demand for or performance of the Certificates relative to other mortgage-backed

securities

Information provided by Paciiic Investment Management Company, LLC to Plaintiffs

that formed the basis of Plaintiffs' claims against Defendants.

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The Subpoena to which this Schedule is attached requires you to produce for

inspection and copying all of the following requested documents and materials within your

possession, custody or control.

l. Documents sufficient to identify your departments, business units, oHicers and
employees involved in researching, evaluating monitoring, valuing, making or

recommending any investment decision related to the Certificates.

2. All communications and documents relating to your proposed, contemplated or
completed purchase, acquisition, management, sale, conversion or transfer of any
Certificates on behalf of Plaintiffs or any Potential Class Members, or your
recommendations to any of the Plaintiffs or Potential Class Members concerning any

Certificates.

3-. All communications with Plaintiffs or Potential Class Members regarding any proposed

or completed purchase, acquisition, sale, conversion or transfer of the Certificates.

4. All memoranda, models, reports or other documents reflecting any analysis of the
Certificates or the loans or other collateral held by the trusts that issued the Certificates,

including any such documents presented to any credit, investment or similar committee

 

’ See ‘*Detinitions and Insuuctions,” below.

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All documents you reviewed, were available to you for review or upon which you relied,

in whole or in part, in making any decision or recommendation to hold, purchase, acquire,
sell, convert or transfer any Certiticates, including any prospectuses, memoranda or other
offering materials, computational materials, models, analyses, loan tapes, analysts’
reports,-brietings, presentations, television, radio or internet interviews, magazines,
newspapers, periodicals, newsletters or other written materials read, reviewed or acquired

by you.

All documents relating to any hedging, risk transfer or leveraging strategy recommended
or executed on behalf of any of the Plaintiffs or Potential Class Members relating to such

Plaintiffs' or Potential Class Members’ investment in the Certificates.

All analyst reports, magazines, newspapers, periodicals, newsletters or other written

materials read, reviewed or acquired by you relating to the financial performance or value

of the Certificates.

All documents relating to your valuation of the Certificates and your analysis of the

market for the Certiiicates.

All memoranda notes iiom site visits or industry events, presentation materials

distributed by any of the Originators, reports of surveillance performed by you or on your

behalf, communications, analyst reports, magazines, newspapers, periodicals, newsletters

or other documents analyzing or referring to the financial condition or lending practices

Exhibit B
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of any of the Originators, including but not limited to underwriting guidelines, loan-to-

value ratios, debt-to~income ratios, appraisals and-securitizations.

All documents related to any review, audit, inspection, research or due diligence relating

to any of the Originators or any of the Defendants

All documents relating to any evidence or investigation of "the outright degradation of
underwriting standards” referred to by l’aul McCulley in testimony before the National
Commission on the Causes of the Financial and Economic Crisis in the United States

Financial Crisis Inquiry Commission.

All memoranda, communications analyst reports,'magazines, newspapers, periodicals,
newsletters or other documents analyzing or referring to the investment ratings provided

for any residential mortgage-backed securities

All memoranda, communications, analyst reports, magazines, newspapers, periodicals,
newsletters or other documents analyzing or referring to the accuracy of the residential

property appraisals

Documents suflicient to identify the date, amount and price of every purchase or sale of
residential mortgage-backed securities by you on behalf of Plaintiffs, including but not

limited to monthly brokerage and account statements

All documents concerning the procedures and methodologies used in.researching,

analyzing, evaluating, advising, valuing, projecting, estimating or` modeling any actual or

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v against the Defendants.

 
 

contemplated transactions by Plaintiffs in mortgage-backed securities, including the

Certificates.

All documents concerning any research or analysis you did comparing the Certiiicates to
other mortgage-backed securities issued by Defendants' peers or competitors, including

but not limited to charts, graphs, presentations and reports.

All documents analyzing, referring or reflecting any realized losses Plaintiii`s or any
Potential Class Member incurred or declines in value of Plaintiffs’ or Potential Class

Members’ investment in any of the Certificates and the causes thereof,

All documents reflecting any communications by you with any representatives of any of

the Plaintiffs concerning the Certiiicates, including but not limited to possible litigation

All connects and other agreements you entered into with any of the Plaintiffs relating to
your management or supervision of any investment account that holds or held mortgage-

backed securities

 

Documents suiiicient to identify (i) each person on whose behalf you engaged in or to
whom you recommended any purchase, acquisition, sale, conversion or transfer of any of i

the Certificates; and (ii) the details of such transaction,

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All pleadings and all documents you produced in any case concerning mortgage;backed
securities in which Paciiic Investment Management Company, LLC has been involved as

a party or third party witness

Documents evidencing any sworn or attested statement or testimony by you concerning
Plainti&`s' or any other person’s or entity’s investment in mortgage-backed securities,
including but not limited to any aftidavits, deposition testimony or testimony at a hearing

trial or arbitration

DEFINIT!ONS AND lNSTRU§TIONS.

This Schedule incorporates the Uniform Dciinitions set forth in Rule 26.3 of the Local

Civil Rules of the United States District Court for the Southern District of New York.

"Amended Complaint" means the Amended Class Action Complaint filed on July 7, 2010,
in the action captioned Public Employees Retirement System of Mississippi, et al. v.
Merrill Lynch & Co., Inc., et al., No. 08 Civ. l084l (JSR), pending in the United States

District Court for the Southern District of New York. -

"Certificates" mean mortgage pass-through certificates issued pursuant to or traceable to . l
any of the following eighteen (18) offerings: (1) Merrill Lynch Alternative Note Asset

Trust, Series 2007-A3; (2) Merrill Lynch Alternative Note Asset Trust, Series 2007-AFl; 4

l (3) Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2; (4) Merrill Lynch l

First Franklin Mortgage Loan Trust, Series 2007-3; (5) Merrill Lynch First Franklin

Mortgage Loan Trust, Series 2007-4; (6) Merrill Lynch First Franklin Mortgage Loan
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Trust, Series 2007-A; (7) Merrill Lynch Alternative Note Asset Trust, Series 2007-Fl; (8)
Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1; (9) Merrill Lynch
Mortgage Investors Trust, Series 2006-FM1; ( l 0) Merrill Lynch Mortgage Investors v
Trust, Series 2006-FF1; (l l) Merrill Lynch Mortgage Investors Trust, Series 2006-RMS;
(12) Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2; (13) Merrill Lynch
Mortgage Investors Trust, Series 2006-AHL1; (l4) Merrill Lynch Mortgage investors
Trust, Series 2006-RM3; (15) Merrill Lynch Mortgage Investors Trust, Series 2006-
WMCl; (16) Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2; (17) Merrill
Lynch Mortgage Investors Trust, Series 2006-Al; and (18) Ownit Mortgage Loan Trust,
Series 2006-2.

"Originators" mean the banks, financial companies or other entities that originated the
loans held by any of the trusts that issued any_ofthe Certificates, including but not
limited to any of the following entities and their affiliates: GreenPoint Mortgage Funding,
Inc.; First National Bank ofNevada; Mortgage Lenders Network USA, lnc.; American
Home Mortgage Corp.; Countrywide Home Loans, Inc.; Wachovia Mortgage
Corporation; Ameriquest Mortgage Company; IndyMac Bank, F.S.B.; First Franklin
Financial Corporation; Mortgagel'l`, Inc.; Washington Mutual Mortgage Securities Corp.;
Accredited Home Lenders, Inc.; Fremont Investment & Loan; ResMAE Mortgage
Corporation; WMC Mortgage Corp.; First Republic Bank; Merrill Lynch Credit

Corporation (via PHH Mortgage Corporation); and Ownit Mortgage Solutions, Inc.

The terms "ret`erring to" or "relating to" mean constituting, consisting of, regarding,
associated with, or in any way connected with the matter discussed, in whole or in part.
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"Plaintiffs" mean the Public Employees' Retirement System ofMississippi, the Wyoming
State Treasurer, the Los Angeles County Employees Retirement Association, and the
Connecti cut Carpenters Pension Fund and Connecticut Carpenter’s Annuity Fund or any
owner, director, ofticer, employee, agent, trust, custodian, parent, subsidiary, aftiliate,
predecessor, successor, attorney, accountant, representative or other persons purporting

to act on their behale

"Potential Class Members" mean all persons or entities who purchased or otherwise
acquired beneficial interests in the Certificates up until the filing of the complaint in the

above-referenced action on December 12, 2008.

"Def`endants" mean Merrill Lynch & Co., Inc.; Merrill Lynch Mortgage Investors, Inc.;
Merrill Lynch, Pierce, Fenner & Smith lncorporated; Matthcw Whalen; Paul Park; Brian
r. sullivan Michael M. McGovem'; Donald J. Puglisi; and Donald c. Han.

The terms '"representative" or "representatives” means any person who has worked or is
working for you, or has acted or is now acting on your behalf including, without
limitation, any agent, ofiicial, director, employce, trustee, ofticer, attorney, attorney-in-
fact, consultant,_accountant, servant, limited partner, general partner, investigator,

investment advisor, analyst, broker, broker-dealer or dealer.

The terms "you" and "your" refer collectively and individually to Paciiic Investment

Management Company, LLC and any of its representatives

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The singular includes the plural and vice versa; the words "and" and "or" shall be both
conjunctive and disjunctive and shall be construed broadly to bring within the scope of
this request any and all documents and tangible things which otherwise might be outside
the scope of this request; the words "any" and "all" mean "any and all"; the word

"including" means "including without limitation."

Unless otherwise stated or agreed upon among counsel, this Subpoena seeks the
production of documents created during or otherwise concerning, or relevant to the

period from January l, 2005, to the present.

EXhibii B
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PUBLIC EMPLOYEES' RETIREMENT sYSTEM = DL")C ,,,-
oF MIssIssIPPI et al. , z DATB W-“`Z;~`~`D"__°'

Plaintiffs,

-v- = 08 civ. 10841 (JSR)
MERRILL LYNCH a co. INc. et al.,

v QRDER

Defendants.
JED S. RAKOFF, U.S.D.J.

Defendants have moved to compel non~party Pacific Investment
Management Company LLC (“PIMCO") to comply with a subpoena to produce
documents served on March 3, 2011. The instant subpoena, however, is
duplicative of a subpoena issued from the Central District of

California dated March 31; 2011. Compare Letter brief of nonparty

 

PIMCO dated August 17, 2011§ Ex. 1 (S.D.N.Y. subpoena), with id. Ex. 3
(C.D. Cal. subpoena). Accordingly, defendants’ motion to compel is
hereby denied without prejudice to pursuing their subpoena in the

Central District of California.

SO ORDERED.

Wr/L¢L

JEDVS. RAM, U..s.DJ.

Dated: New York, New York
` October 3, 2011

Exhibit .C
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